                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DISTRICT

In Re:

JOSEPH DuMOUCHELLE FINE                                    Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.                                 Chapter 7
                                                           Hon. Lisa S. Gretchko
          Debtor,
_________________________________________/
  FIRST APPLICATION OF SCHAFER AND WEINER, PLLC, COUNSEL FOR
 DEBTOR FOR FEES AND REIMBURSEMENT OF EXPENSES FOR SERVICES
         RENDERED IN ADVERSARY PROCEEDING NO. 21-04023

                                           SUMMARY COVERSHEET

                            Date of Current                             Total Fees/ Expenses
                 Fee Application and Period Covered                          Requested
               Period:                                           Fees:       $293,883.50
               July 14, 2020 – July 19, 2023                     Expenses:   $ 2,781.73


           Name of Professional/            Title      Year         Hourly    Total Hours       Total Fees
             Paraprofessional                         Admitted       Rate      (Current
                                                         to                   Application)
                                                      Practice
         John J. Stockdale, Jr.            Partner        2004       390.00       0.60               234.00
         John J. Stockdale, Jr.            Partner        2004       430.00       0.10                43.00
         Kim K. Hillary                    Partner        2004       345.00      130.90           45,160.50
         Kim K. Hillary                    Partner        2004       360.00       66.10           23,796.00
         Kim K. Hillary                    Partner        2004       385.00       29.20           11,242.00
         Michael E. Baum                   Partner        1978       495.00       0.50               242.50
         Jeffery J. Sattler                Partner        2009       330.00       5.30             1,749.00
         Joseph K. Grekin                  Partner        1995       395.00       72.30           28,558.50
         Joseph K. Grekin                  Partner        1995       410.00      149.50           61,295.00
         Joseph K. Grekin                  Partner        1995       450.00       54.30           24,435.00
         Daniel J. Weiner                  Partner        1980       485.00       3.90             1,891.50
         Daniel J. Weiner                  Partner        1980       495.00       0.50               247.50
         Daniel J. Weiner                  Partner        1980       590.00       10.90            6,431.00
         Brandi M. Blasses                Associate       2019       280.00      114.20           31,976.00
         Brandi M. Blasses                Associate       2019       290.00      191.10           55,419.00
         Paralegal-NM                                                160.00        3.40              544.00
         Paralegal-NM                                                170.00        2.70              459.00
         Law Clerk - DP                                              160.00        1.00              160.00
         TOTAL FEES                                                              836.50         $293,883.50
         Blended Attorney Rate                                      $352.93
         (excluding paraprofessionals)

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      19-56239-lsg        Doc 307        Filed 07/21/23    Entered 07/21/23 10:58:50           Page 1 of 171
                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DISTRICT

In Re:

JOSEPH DuMOUCHELLE FINE                            Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.                         Chapter 7
                                                   Hon. Lisa S. Gretchko
          Debtor,
_________________________________________/

 FIRST APPLICATION OF SCHAFER AND WEINER, PLLC, COUNSEL
FOR TRUSTEE FOR FEES AND REIMBURSEMENT OF EXPENSES FOR
 SERVICES RENDERED IN ADVERSARY PROCEEDING NO. 21-04023

          Schafer and Weiner, PLLC, (“Applicant”), counsel for Mark H. Shapiro (the

“Trustee”), for its First Application for Fees and Reimbursement of Expenses for

Services Rendered in Adversary Proceeding No. 21-04023 (the “Fee Application”)

states:

                I.      Statement of Fees Request

          1.    Applicant requests approval of fees in the amount of $293,883.50 for

services rendered during Adversary Proceeding No. 21-04023 (the “Adversary

Proceeding”).1


1
 This is not a final fee application because the Applicant also rendered services in
the main bankruptcy case. The Applicant is filing this Application, which seeks fees
only related to the Adversary Proceeding based on the Agreement for Assignment of
Rights and Proceed Sharing dated September 2, 2020 and approved by this Court at
Docket No. 198 (the “Assignment Agreement”). The Assignment Agreement
provides that the Applicant is entitled to payment for its allowed fees generated in
connection with its pursuit of the claims brought in the Adversary Proceeding from

{01012179.2}
    19-56239-lsg     Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 2 of 171
         2.    Applicant requests reimbursement in the amount of $2,781.73 for

expenses incurred during the Adversary Proceeding.

         3.    Applicant received a $10,000 retainer in this case from William Noble

Rare Jewels, LP (“Noble”) pursuant to the Assignment Agreement.


               II.      Time period during which services were
                        rendered

         4.    The Fee Application covers the period from July 14, 2020 through July

19, 2023 (the “Application Period”).


               III. Narrative Summary of Services Provided and Benefit to the
                    Estate

                        THE INVESTIGATION AND THE COMPLAINT

         5.    Prior to the Petition Date, the Debtor operated a jewelry store and

accompanying business of buying and selling jewelry.




the amounts recovered from the Adversary Proceeding (the “Adversary Proceeding
Proceeds”) before subsequent distribution to the Estate and to Noble (defined
therein). See Assignment Agreement, Exhibit 1. In contrast, fees unrelated to the
Adversary Proceeding are not recoverable from the Adversary Proceeding Proceeds
until after they are distributed to the Estate in accordance with the Assignment
Agreement. As a result, fees the Applicant charged related to the Adversary
Proceeding have a substantially different priority than fees unrelated to the
Adversary Proceeding.

While the Applicant does have substantial unpaid fees unrelated to the Adversary
Proceeding, it is possible that the Applicant will not file a separate fee application
for fees because it appears unlikely that the Estate will have the money to pay them.

{01012179.2}                                2
19-56239-lsg         Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 3 of 171
         6.    The Debtor’s creditors filed an involuntary bankruptcy petition against

the Debtor on November 17, 2019 (“Petition Date”) [DN 1, Main Case]. The Court

entered its Order for Relief Granting Involuntary Petition on December 16, 2019

[DN 31, Main Case].

         7.    The Trustee was appointed as Interim Chapter 7 Trustee of the Debtor’s

bankruptcy estate (the “Estate”) on November 27, 2019 [DN 52, Main Case].

         8.    The Trustee subsequently investigated whether the Estate had causes of

action against various parties who received transfers from the Debtor prior to the

Petition Date.

         9.    The Applicant assisted the Trustee in this investigation by reviewing

financial and other documents of the Debtor.           The Applicant also spoke to

representatives of the Debtor’s principal and certain creditors and coordinated with

the Trustee.

         10.   The Trustee concluded after his investigation that Zeidman’s Jewelry

and Loan of Michigan, Inc. or one of its related entities (collectively, the

“Defendants”) received jewelry from the Debtor without paying reasonably

equivalent value in the 90 days prior to the Petition Date.

         11.   The Applicant extensively researched causes of action based on the

Trustee’s investigation and drafted the adversary proceeding complaint (the

“Complaint”) against Defendants on the Trustee’s behalf.



{01012179.2}                             3
19-56239-lsg     Doc 307    Filed 07/21/23   Entered 07/21/23 10:58:50   Page 4 of 171
         12.   Prior to filing the Complaint, the Applicant drafted a demand letter

which the Applicant sent to the Defendants’ counsel. The demand letter did not

produce useful settlement discussions.

         13.   As a result, the Applicant filed the Complaint on the Trustee’s behalf

on December 17, 2020, and subsequently served the Defendants [DN 1]2. The

Complaint contained counts alleging that the Defendants fraudulently transferred

certain jewelry (the “Jewelry”), that the Defendants were liable for statutory and

common law conversion of the Jewelry and/or aiding and abetting the conversion of

the Jewelry, and that the Trustee was entitled to the delivery of the Jewelry through

claim and delivery.

                 MOTION TO DISMISS AND ADDITIONAL PLEADINGS

         14.   The Applicant filed and responded to several motions on the Trustee’s

behalf during the Adversary Proceeding.

         15.   On March 8, 2021, in response to the Complaint, the Defendants filed

a Motion to Dismiss [DN 11]. The Motion to Dismiss requested that the Adversary

Proceeding be dismissed based on the argument that the Estate lacked a perfected

lien under the Uniform Commercial Code, that title to the Jewelry had passed to the




2
  Unless otherwise specified, all references to a docket number (“DN”) shall be a
reference to the Adversary Proceeding docket.

{01012179.2}                            4
19-56239-lsg     Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 5 of 171
Defendants, and that the Estate was barred from recovery based on the wrongful

conduct rule.

         16.   The Applicant did extensive research on each of these issues and filed

a lengthy response to the Motion to Dismiss [DN 16].

         17.   The Defendants filed a reply brief [DN 22] which the Applicant

reviewed and researched. After reviewing the Defendant’s reply brief, the Applicant

drafted and then filed a motion for permission to file a sur-reply brief [DN 25], which

was granted.

         18.   As a result of the Applicant’s work, the Motion to Dismiss was denied.

         19.   The Applicant subsequently filed an Amended Complaint [DN 38] to

further address the issues the Defendants raised in their Motion to Dismiss.

         20.   The Defendants responded to the Amended Complaint by filing an

Answer and Affirmative Defenses [DN 41] which the Applicant reviewed and

analyzed.

                       INITIAL DISCLOSURES AND DISCOVERY

         21.   The Applicant worked with the Defendants to draft and file a report

with this Court in accordance with Fed.R.Bankr.P. 7026(f) [DN 103], and as

amended at [DN 107].       The Applicant represented the Trustee in the subsequent

scheduling conference with the Court.




{01012179.2}                            5
19-56239-lsg     Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 6 of 171
         22.   The Applicant drafted and filed initial disclosures in accordance with

Fed.R.Bankr.P. 7026(a) [DN 55]. The Applicant also reviewed the Defendants’

initial disclosures.

         23.   The Defendants served extensive discovery requests on the Trustee,

which included a First Set of Interrogatories and a First Request for Production of

Documents (together, the “Defendants’ First Discovery Requests”) [DN 51 and 52].

The Applicant assisted the Trustee in responding to the Defendants’ First Discovery

Requests and producing the requested documents and filing the Certificate of

Service [DN 60].

         24.   The Defendants’ counsel subsequently sent correspondence to the

Applicant arguing that the Trustee’s responses to the Defendants’ First Discovery

Requests were inadequate. The Applicant responded to the letter on the Trustee’s

behalf. The Applicant met and conferred with the Defendants’ counsel over the

telephone, during which the Trustee’s responses were discussed at length.

         25.   The Defendants subsequently filed an unusually complicated twenty-

two-page long Motion to Compel related to the Defendants’ First Discovery

Requests [DN 62].

         26.   The Applicant filed a brief in response to the Motion to Compel on the

Trustee’s behalf [DN 65]. Applicant subsequently reviewed the Defendants’ reply




{01012179.2}                            6
19-56239-lsg     Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 7 of 171
brief [DN 70] and prepared oral argument and represented the Trustee at the hearing

on the Motion to Compel, which was granted in part and denied in part.

         27.   The Applicant subsequently assisted the Trustee in revising his

responses to certain of the Defendants’ First Discovery Requests in accordance with

the Court’s order on the Motion to Compel.

         28.   The Applicant also served discovery requests on the Defendants on the

Trustee’s behalf, including a First Set of Interrogatories, Document Requests, and

Requests for Admissions (the “Trustee’s First Discovery Requests”) [DN 61]. The

Defendants filed responses to and produced documents in response to the Trustee’s

First Discovery Requests, which the Applicant reviewed and analyzed [DN 63].

         29.   The Applicant drafted correspondence to Defendants on the Trustee’s

behalf setting forth in detail each of the ways in which the Trustee believed that the

Defendants’ responses to the Trustee’s First Discovery Requests were inadequate

and not in accordance with the Federal Rules of Bankruptcy Procedure. The

Applicant subsequently met and conferred with the Defendants’ counsel related to

the Defendants’ responses to the Trustee’s First Discovery Requests.              The

Defendants supplemented their discovery responses to address the issues the

Applicant raised and the Applicant reviewed and analyzed the supplemental

responses received from the Defendants.




{01012179.2}                            7
19-56239-lsg     Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 8 of 171
         30.   The parties subsequently participated in substantial additional

discovery. The Defendants served a First Set of Requests for Admission to Plaintiff

[DN 110], a Second Set of Interrogatories to Plaintiff [DN 111], a Second Request

for Production of Documents to Plaintiff [DN 112], a Third Set of Interrogatories to

Plaintiff [DN 175], and a Third Request for Production of Documents to Plaintiff

[DN 176]. The Applicant assisted the Trustee in responding to all of these discovery

requests and in producing the requested documents.

         31.   The Applicant also drafted the Plaintiff’s Second Discovery Requests

to Defendants and Request for Admissions [DN 120] and the Plaintiff’s Third

Interrogatories and Third Request to Produce to Defendants [DN 121].             The

Applicant served these discovery requests on the Defendants, reviewed the

responses to the requests, and reviewed the documents produced.

                               ADDITIONAL MOTIONS

         32.   After reviewing the Defendants’ responses to certain of the Trustee’s

First Discovery Requests, the Applicant drafted and filed on the Trustee’s behalf (1)

a Motion for Possession Pending Final Judgment [DN 78/79] (“Possession

Motion”), and (2) a Motion Requesting Adverse Inference Due to Spoliation of

Evidence [DN #75] (“Adverse Inference Motion”).

         33.   The Defendants filed responses to both motions [DN 87 and 88].




{01012179.2}                            8
19-56239-lsg     Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 9 of 171
         34.   The Applicant reviewed and analyzed the Defendants’ responses and

prepared oral argument and participated in the hearings on the Possession Motion

and the Adverse Inference Motion.

         35.   In response to the Court’s ruling and suggestions on the Possession

Motion, the Applicant drafted and negotiated with the Defendants the terms of a

Stipulated Order which required certain jewelry to be kept in a safety deposit box

for the duration of the litigation [DN 119].

         36.   The Court held there were questions of fact related to the Adverse

Inference Motion, entered a scheduling order for discovery, and set the matter for an

evidentiary hearing [DN 122].

         37.   The Applicant subsequently drafted Plaintiff’s Request for Admission,

Interrogatories and Requests to Produce Re: Trustee’s Motion Requesting Adverse

Inference Due to Spoliation of Evidence and served the requests on the Defendants

[DN 108].

         38.   Defendants responded to these discovery requests and produced

documents.

         39.   The Applicant reviewed and analyzed the Defendants’ responses to

these discovery requests, including the documents the Defendants produced.

         40.   The Defendants served the Trustee with their First Requests for

Admission, First Interrogatories, and First Requests for Production of Documents to



{01012179.2}                            9
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50   Page 10 of 171
Plaintiff re: Motion Requesting Adverse Inference Due to Spoliation [DN 115, 116,

and 117]. The Applicant assisted the Trustee in drafting responses to these discovery

requests, and reviewed and produced the documents the Trustee believed were

responsive to the requests.

                           EXPERT WITNESS AND REPORT

         41.   The Applicant met with the Trustee and determined that retention of an

expert witness was necessary to assist with a determination of value of the Jewelry

and to advise the Trustee on issues related to the jewelry business. The Applicant

sought numerous leads to secure an expert qualified to advise the Trustee in this case

and was ultimately introduced to Charles Kuperwasser (“Mr. Kuperwasser”).

         42.   The Applicant drafted an application to employ Mr. Kuperwasser [DN

232] and sought the concurrence of the United States Trustee’s Office which was

granted.

         43.   The Applicant met with Mr. Kuperwasser on numerous occasions to

inform him about the history of the case and the factual and legal issues in the case,

and to seek his input regarding issues related to the Jewelry and the jewelry business.

         44.   The Applicant assisted Mr. Kuperwasser in drafting his preliminary

expert report which the Applicant then used to support the Trustee’s claims relating

to the spoilation issue, fraudulent transfer issues and other issues in dispute in the

case.



{01012179.2}                            10
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50    Page 11 of 171
                   MEDIATION, NEGOTIATIONS, AND SETTLEMENT

         45.   The litigation of this case was delayed due to difficulties obtaining

documents. Joseph DuMouchelle, who controlled the Debtor prior to the Petition

Date, was under federal indictment, and the Department of Justice had seized the

Debtor’s business records. The Applicant negotiated the terms of a stipulation to

mediate the Adversary Proceeding during the delay, and to postpone certain

discovery and litigation deadlines to do so [DN 140].

         46.   To prepare for mediation, the Applicant drafted a Mediation Brief and

continued to assist Mr. Kuperwasser to draft a preliminary expert report.

         47.   The Defendants filed a mediation brief which the Applicant reviewed,

researched and analyzed in preparation for the mediation. The Applicant also

discussed the Defendants’ mediation brief with the Trustee and Mr. Kuperwasser

(the Defendants’ mediation brief referred extensively to the findings of the

Defendants’ expert witness, which were set forth in a report that was not attached to

the brief but was provided to the mediator).

         48.   Mediation took place on July 20, 2022. The Applicant represented the

Trustee at the mediation. The mediation took an entire day, but the parties did not

reach a settlement at the mediation.

         49.   The parties did, however, continue to negotiate after mediation. The

parties exchanged several detailed correspondences and conducted several phone



{01012179.2}                            11
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50   Page 12 of 171
calls attempting to bridge the gap between their settlement positions. The Applicant

represented the Trustee in these extensive negotiations.

         50.   After three months of negotiations, the parties requested that the Court

provide an additional extension of the discovery period and certain litigation

deadlines to allow the parties to assess the value of a particular piece of jewelry

referred to as the Oval Diamond Ring in order to assist the parties in settlement

negotiations.

         51.   The Applicant negotiated the terms of the proposed stipulation,

represented the Trustee at the hearing related to the proposed stipulation, and drafted

changes to the stipulation ordered by the Court.

         52.   This Court entered the stipulated order on November 8, 2022 [DN 186].

The Applicant then assisted the Trustee in arranging for the Oval Diamond Ring to

be removed from the safety deposit box in which it had been kept since this Court’s

order related to the Trustee’s Possession Motion, transported to New York,

examined by the Gemological Institute of America, valued by the Trustee’s expert,

transported back to Michigan, and returned to the safety deposit box.

         53.   After the valuation of the Oval Diamond Ring, the parties engaged in

additional settlement negotiations, in which the Applicant represented the Trustee.

         54.   After several more weeks of negotiations in which the Applicant

represented the Trustee, the parties eventually reached a settlement in principle. The



{01012179.2}                            12
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50     Page 13 of 171
Applicant subsequently drafted a proposed settlement agreement and a proposed

motion to compromise the claims against the Defendants. The Applicant negotiated

the terms of these documents with the Defendants’ counsel on the Trustee’s behalf.

The parties exchanged several drafts of both the proposed settlement agreement and

the proposed motion.

         55.   During the process of negotiating the settlement agreement, the

Defendants requested that as part of the settlement Noble sign the settlement

agreement between the Trustee and the Defendants and release any claims against

the Defendants. The Defendants proposed that Noble’s release and signature on the

settlement agreement be made a term of the settlement.

         56.   In response, the Applicant approached Noble’s counsel on the Trustee’s

behalf in an effort to secure his release.

         57.   In return for his release, Noble sought to re-negotiate the payment

waterfall in the Assignment Agreement.

         58.   The Applicant assisted the Trustee in negotiating with Noble related to

the proposed modification of the waterfall under the Assignment Agreement. The

Applicant analyzed various proposals from Noble, discussed these proposals with

the Trustee, and communicated counter-proposals to Noble’s counsel.

         59.   The Applicant was eventually able to assist the Trustee in obtaining an

agreement with Noble to modify the Assignment Agreement in a manner acceptable



{01012179.2}                            13
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50    Page 14 of 171
to both Noble and the Trustee, and secured Noble’s agreement to execute the

proposed settlement agreement.

         60.   After successfully negotiating this three-party settlement, the Applicant

revised the proposed motion to compromise and the accompanying proposed order

to incorporate the terms of the modification of the Assignment Agreement and

obtained the approval of the form of the motion and the order from both the

Defendants and Noble.

         61.   As a result of these negotiations the Applicant ultimately filed the

motion to compromise on the Trustee’s behalf [DN 293] in the Main Case.

         62.   Applicant prepared for and participated in a hearing on its motion to

compromise and the Court ultimately entered an order approving the settlement [DN

191].

                               BENEFIT TO THE ESTATE

         63.   The Applicant’s work investigating, drafting, filing and prosecuting

and resolving the Adversary Proceeding on the Trustee’s behalf (including the

pursuit of spoliation and possession issues) benefited the Estate because it resulted

in $330,000 being paid into the Estate in addition to several diamonds and a piece

of jewelry with the approximate total value of $200,000.




{01012179.2}                            14
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50     Page 15 of 171
         64.   The agreed-upon proceeds of the Adversary Proceeding and the piece

of jewelry have been distributed to Noble in accordance with the Assignment

Agreement, as modified by the settlement.

         65.   The remaining funds, and the proceeds from the sale of the diamonds,

will be available for distribution to creditors and for administration of the Estate.

         66.   Without Applicant’s identification, investigation, prosecution, and

resolution of the claims against the Defendants, the Estate would not have recovered

any of the value from the settlement.

               IV.   Adversary Proceedings

         67.   Other than the work performed in the Adversary Proceeding that is the

subject of this Application, the Applicant has not represented the Trustee in any other

adversary proceeding in this case.

               V.    Current Status

         68.   The Debtor’s case is open and the Trustee continues to administer the

Estate.

         69.   As a result of the settlement of the Adversary Proceeding, the Estate is

in possession of several loose diamonds which the Trustee is required to liquidate.

The Trustee intends to liquidate the diamonds as soon as practicable.

         70.   The Trustee is required to distribute the Estate’s assets to creditors

according to their priority. This will require the Trustee to review and analyze at



{01012179.2}                            15
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50      Page 16 of 171
least one additional fee application, that of Mr. Kuperwasser. It may also require

the Trustee to object to one or more claims.

         71.      Once the assets presently in the Estate are liquidated and distributed,

the Trustee intends to close the Estate.


                  VI.   Services to Be Rendered in the Future

         72.      The Applicant does not anticipate providing additional services to the

Trustee in connection with the Adversary Proceeding. However, the Applicant

may represent the Trustee in his continued administration of the Estate. In

particular, the Applicant may represent the Trustee with regard to liquidating and

distributing the assets in the Estate.

                  VII. Amount and Nature of Accrued Unpaid Administrative
                       Expenses

               • Mr. Kuperwasser. Contemporaneous with the filing of this Motion,
                 the Applicant filed an application for payment of administrative
                 expenses on behalf of Mr. Kuperwasser in the amount of $8,266.60.

               • Trustee Mark Shapiro. Upon disbursing the funds in the Estate, the
                 Trustee will be entitled to seek payment of a commission, estimated at
                 $20,657.99.

               • Steinberg Shapiro & Clark. Steinberg Shapiro & Clark have
                 estimated unpaid fees and costs in the amount of $47,000.

               • Subchapter V Trustee. The Subchapter V Trustee will assert an
                 administrative claim against the Estate, the amount of which is
                 currently unknown.




{01012179.2}                               16
19-56239-lsg        Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50      Page 17 of 171
               • R.J. Montgomery and Associates, Inc. (“RJ”). RJ will asserted an
                 administrative claim against the Estate in the amount of $3,908.14 [DN
                 263, Main Case], which claim was allowed by order of the Court [DN
                 271, Main Case].

               • Wesler & Associates CPA, PC (“Wesler”). The Trustee has filed two
                 fee application on behalf of his accountant, Wesler, in the total amount
                 of $4,053.18. [DNs 264 and 285]. The Court granted these fee
                 applications [DNs 268 and 288].

               • Schafer and Weiner, PLLC. In addition to the fees requested in this
                 Application, the Applicant may assert additional administrative claims
                 against the Estate for work performed on behalf of the Trustee in the
                 Main Case, and for work which Applicant may perform for the Trustee
                 going forward. The Applicant may not assert these claims, however,
                 out of deference to other creditors of the Estate.


                  VIII. Services of More than One Attorney and Paralegal
         73.      During the Application Period, there were several instances where more

than one attorney or paralegal necessarily met together, attended conferences, or

appeared in court in which both charged for their time. Each of these meetings were

necessary and either (i) allowed Applicant to utilize the talents of more than one of

its attorneys on particularly difficult issues; or (ii) facilitated the delegation of duties

to attorneys with lower hourly rates, reducing the overall cost to the Estate. In many,

if not most, of these instances, only one of the professionals charged for his or her

time and the other professionals did not charge.




{01012179.2}                               17
19-56239-lsg        Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50     Page 18 of 171
               IX.   Prior Fee Applications

         74.   There has been no prior fee application filed in this case by the

Applicant.

               X.    No Agreements for Sharing of Compensation

         75.   No agreements or understandings exist between Applicant and any

other person or firm for the sharing of any compensation received for services

rendered in this matter other than agreements or understandings relating to the

division of compensation among the partners and associates of Applicant.

               XI.   Trustee’s Approval of Fee Application

         76.   The Applicant provided this Application to the Trustee for his review

and the Trustee provided his written approval of the fee Application.

               XII. Exhibits in Support of Application

         77.   In support of this request, Applicant has attached:

               Exhibit 1: The proposed order granting the Application.

               Exhibit 2: The order appointing Applicant as counsel for the Trustee.

               Exhibit 3: N/A

               Exhibit 4: A summary of the number of hours and services rendered
                          by each attorney/paraprofessional totaled individually and
                          by category, the hourly rate of each and the blended hourly
                          rate of the professionals (excluding paraprofessionals).

               Exhibit 5: A listing of the Applicant’s time records which set forth in
                          chronological order each specific service for which an
                          award of compensation is sought pursuant to the Fee

{01012179.2}                            18
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50     Page 19 of 171
                           Guidelines promulgated by the United States Trustee
                           Program, 28 C.F.R. Part 58 Appendix, Subparagraph
                           (b)(4) entitled “Project Billing Format.”

               Exhibit 6: A brief biography of each attorney who performed
                          services for the Debtors.

               Exhibit 7: An itemized statement         of     expenses   for   which
                          reimbursement is sought.


         WHEREFORE, Applicant respectfully requests that it be awarded the

following as final compensation for services rendered in Adversary Proceeding No.

21-04023 under 11 U.S.C. § 330:

               Fees – Application Period            $293,883.50

               Costs –Application Period            $ 2,781.73

               Total Final Request                  $296,665.23


                                     Respectfully submitted,

                                     SCHAFER AND WEINER, PLLC

                                     /s/Joseph K. Grekin
                                     Joseph K. Grekin (P52165)
                                     Attorneys for Trustee
                                     40950 Woodward Avenue, Suite 100
                                     Bloomfield Hills, MI 48304
                                     (248) 540-3340
 Dated: July 21, 2023                jgrekin@schaferandweiner.com




{01012179.2}                            19
19-56239-lsg     Doc 307   Filed 07/21/23 Entered 07/21/23 10:58:50   Page 20 of 171
                         EXHIBIT

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19-56239-lsg
{00595473.1}   Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 21 of 171
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DISTRICT

In Re:

JOSEPH DuMOUCHELLE FINE                         Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.                      Chapter 7
                                                Hon. Lisa S. Gretchko
          Debtor,
_________________________________________/

     ORDER ALLOWING FIRST APPLICATION OF SCHAFER AND
       WEINER, PLLC, COUNSEL FOR TRUSTEE FOR FEES AND
    REIMBURSEMENT OF EXPENSES FOR SERVICES RENDERED IN
             ADVERSARY PROCEEDING NO. 21-04023

         The Court has reviewed Schafer and Weiner, PLLC’s (“Applicant”), as

Counsel for the Trustee (the “Trustee”), First Application for Fees and

Reimbursement of Expenses for Services Rendered for Services Rendered in

Adversary Proceeding No. 21-04023 (the “Application”), which was filed with this

Court pursuant to Sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Fed. R. Bankr. P. 2016, and LBR 2016-1 (E.D. Mich.);

Applicant requests an order allowing the fees and reimbursement of costs for services

rendered as requested in the Application.

         Notice of the Application and the relief requested in the Application has been

provided to all creditors and parties in interest required to be served pursuant to Fed.

R. Bankr. P. 2002(a)(7); no other parties have filed objections thereto; and the Court

being fully advised in the premises;

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19-56239-lsg     Doc 307    Filed 07/21/23   Entered 07/21/23 10:58:50   Page 22 of 171
         NOW THEREFORE, IT IS HEREBY ORDERED that the Application is

granted and Schafer and Weiner, PLLC, Counsel for the Trustee, is awarded its fees

in the amount of $293,883.50 for services rendered and $2,781.73 for reimbursement

of expenses for a total award of $296,665.23.

         IT IS FURTHER ORDERED that this fee award be awarded as final

compensation under 11 U.S.C. §330(a).




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19-56239-lsg   Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 23 of 171
                         EXHIBIT

                                          2




19-56239-lsg
{00595473.1}   Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 24 of 171
                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN

In Re:

JOSEPH DuMOUCHELLE FINE                       Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.
                                              Hon. Phillip J. Shefferly
         Debtor
                                              Chapter 7
__________________________/

ORDER GRANTING TRUSTEE’S APPLICATION FOR AUTHORITY TO
 EMPLOY SCHAFER AND WEINER, PLLC, AS SPECIAL COUNSEL,
       NUNC PRO TUNC TO THE APPOINTMENT DATE

         The Court has reviewed the Application for Authority to Employ Schafer and

Weiner, PLLC as Special Counsel, Nunc Pro Tunc to the Appointment Date, filed

by Schafer and Weiner as proposed counsel to Mark Shapiro, the Chapter 7 Trustee

(the “Application”); the Court has read the Application and the supporting Affidavit

submitted by Daniel J. Weiner, and the Court being otherwise fully advised in the

premises,

         NOW THEREFORE, IT IS HEREBY ORDERED that Schafer and

Weiner, PLLC, is employed as counsel for the Trustee nunc pro tunc to December

16, 2019, pursuant to the terms outlined in the Application.




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19-56239-lsg
  19-56239-pjsDoc
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                              01/21/20 Entered
                                        Entered07/21/23
                                                01/21/2010:58:50
                                                         14:57:58 Page
                                                                   Page25
                                                                        1 of 171
                                                                             2
         IT IS FURTHER ORDERED that Schafer and Weiner, PLLC, shall be

compensated for its services after proper application is made to, and authorized by,

the Court.


Signed on January 21, 2020




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19-56239-lsg
  19-56239-pjsDoc
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                    52 Filed
                        Filed07/21/23
                              01/21/20 Entered
                                        Entered07/21/23
                                                01/21/2010:58:50
                                                         14:57:58 Page
                                                                   Page26
                                                                        2 of 171
                                                                             2
                         EXHIBIT

                                          3




19-56239-lsg
{00595473.1}   Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 27 of 171
                                          N/A




19-56239-lsg   Doc 307   Filed 07/21/23    Entered 07/21/23 10:58:50   Page 28 of 171
                         EXHIBIT

                                          4




19-56239-lsg
{00595473.1}   Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 29 of 171
SUMMARY OF NUMBER OF HOURS AND SERVICES RENDERED BY EACH
             PROFESSIONAL/PARAPROFESSIONAL



            Name of                    Rate/hour           Hours              Fees
  Professional/Paraprofessional

 Brandi M. Blasses                       290.00            191.10             $55,419.00
 Brandi M. Blasses                       280.00            114.20               31,976.00
 Daniel J. Weiner                        590.00             10.90                6,431.00
 Daniel J. Weiner                        495.00             0.50                     247.50
 Daniel J. Weiner                        485.00             3.90                 1,891.50
 Law Clerk – DP                          160.00             1.00                     160.00
 Jeffery J. Sattler                      330.00             5.30                 1,749.00
 John J. Stockdale, Jr.                  430.00             0.10                      43.00
 John J. Stockdale, Jr.                  390.00             0.60                     234.00
 Joseph K. Grekin                        450.00             54.30               24,435.00
 Joseph K. Grekin                        410.00            149.50               61,295.00
 Joseph K. Grekin                        395.00             72.30               28,558.50
 Kim K. Hillary                          385.00             29.20               11,242.00
 Kim K. Hillary                          360.00             66.10               23,796.00
 Kim K. Hillary                          345.00            130.90               45,160.50
 Michael E. Baum                         495.00             0.50                     242.50
 Paralegal-NM                            170.00             2.70                     459.00
 Paralegal-NM                            160.00             3.40                     544.00
 TOTAL                                                     836.50         $293,883.50
 Blended Attorney Rate                  $352.93




{01007983.2}

   19-56239-lsg       Doc 307   Filed 07/21/23    Entered 07/21/23 10:58:50   Page 30 of Exhibit
                                                                                         171 4
                         EXHIBIT

                                          5




19-56239-lsg
{00595473.1}   Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 31 of 171
Schafer and Weiner, PLLC
40950 Woodward Ave.
Suite 100
Bloomfield Hills, Ml 48304
(248) 540-3340




Invoice submitted to:




July 19, 2023
                                                                                    DUE UPON RECEIPT



Invoice #58640




             Professional Services


                                                                                          Hrs/Rate          Amount

 7/14/2020 JG       Strategize re causes of action against Zeidman's                          0.50
                                                                                            450.00/hr

             KH     Calls with Bill Noble re: claims against Zeidmans and ownership of        0.40
                    claims.                                                                 385.00/hr

            KH      Call with Joe Grekin re: potential aiding conversion claims.              0.50
                                                                                            385.00/hr

 9/29/2020 DJW      Multiple internal e-mails re: litigation status re: Zeidmans              0.30      NO CHARGE
                                                                                            590.00/hr

 10/5/2020 KH       Receive, review and respond to email from Cauchi re: claim to             0.40
                   jewelry. Follow up email to Trustee re: same.                            385.00/hr

            JG     Strategize re complaint, next steps, factual issues to be addressed        0.40      NO CHARGE
                                                                                           450.00/hr

 10/6/2020 KH      Call with Bill Noble re: claim against Zeidmans.                           0.40
                                                                                           385.00/hr

            KH      Brief research re: conversion claim against Zeidman's.                    0.60
                                                                                            385.00/hr

 10/8/2020 KH      Call with Patricia @ Noble re: claims against Zeidmans                     0.40
                                                                                           385.00/hr

10/11/2020 KH      Call with Joe Grekin re: claims against Zeidmans                          0.30
                                                                                           385.00/hr




      19-56239-lsg       Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50      Page 32 of 171
                                                                                                    Page       2

                                                                                       Hrs/Rate            Amount

10/14/2020 KH   Call with Bill Noble, Barren Cass and Gary Hanson re: potential           1.00
                recoveries from Zeidmans.                                               385.00/hr

10/19/2020 JG   Strategize re next steps in planned lawsuit, 2004                         0.20    NO CHARGE
                                                                                        450.00/hr

          KH    Begin drafting Complaint re: Zeidmans including review of                 1.90
                documents and factual development.                                      385.00/hr

          DJW   Review (summary) of Adversary proceedings filings re: filing related      0.40
                matters                                                                 590.00/hr

 11/8/2020 KH   Research and continue drafting Zeidman's complaint.                       3.80
                                                                                        385.00/hr

 11/9/2020 KH   Continue drafting Zeidman's complaint.                                    3.20
                                                                                        385.00/hr

11/10/2020 KH   Continue drafting Adversary Proceeding complaint.                         2.10
                                                                                        385.00/hr

11/12/2020 KH   Call with client re: various claims.                                      0.30
                                                                                        385.00/hr

11/16/2020 KH   Call with Noble and various jewelers re: lawsuit against Zeidman's.       0.50
                                                                                        385.00/hr

 12/1/2020 KH   Call with client re: Zeidman's claims and follow up re: discovery         0.30
                from JD.                                                                385.00/hr

 12/2/2020 KH   Call with Noble and team, re: claim against Zeidmans.                     0.20
                                                                                        385.00/hr

 12/7/2020 KH   Continue drafting Complaint re: Zeidman's.                                1.70
                                                                                        385.00/hr

          JG    Review complaint                                                          0.10
                                                                                        450.00/hr

          NM    Research for K. Hillary re: Ziedman's                                     1.10
                                                                                        170.00/hr

12/8/2020 JG    Review and assist in revising complaint                                   1.10
                                                                                        450.00/hr




    19-56239-lsg     Doc 307        Filed 07/21/23      Entered 07/21/23 10:58:50       Page 33 of 171
                                                                                                     Page       3
                                                                                        Hrs/Rate            Amount

 12/8/2020 KH   Continue drafting complaint against Zeidman's.                             3.10
                                                                                         385.00/hr

12/10/2020 JG   Review and revise complaint                                                0.60
                                                                                         450.00/hr

          KH    Call with Joe Grekin re: strategy for Zeidman's complaint.                  0.30
                                                                                         385.00/hr

12/17/2020 JG   Assist in finalizing complaint, strategize re overture to Zeidman's        0.30
                                                                                         450.00/hr

  1/8/2021 JG   Strategize re settlement negotiations, necessity of filing complaint,      0.30
                next steps                                                               450.00/hr

          KH    Call with Jason Conti re: response to lawsuit and refusal to turn          0.30
                over jewelry.                                                            385.00/hr

          KH    Email to Mark re: email from and conversation with Conti re: refusal       0.30
                to hand over jewelry.                                                    385.00/hr

 1/10/2021 JG   Call with Mark re next steps re complaint                                  0.40
                                                                                         450.00/hr

 1/13/2021 KH   Email to Conti re; law regarding security interests.                       0.60
                                                                                         345.00/hr

1/20/2021 JG    Strategize re service of complaint, possible motion for possession         0.20
                pending judgment or injunction                                           450.00/hr

          KH    Attend to filing of lawsuit.                                               0.70    NO CHARGE
                                                                                         345.00/hr

          KH    Strategize re: motion for possession pending final judgment.               0.70
                                                                                         345.00/hr

1/21/2021 KH    Attend to service of Zeidman's complaint.                                  0.40
                                                                                         345.00/hr

1/22/2021 JG    Strategize re service of complaint, review correspondence re same          0.20    NO CHARGE
                                                                                         450.00/hr

          KH    Emails to and from J. Conti re: service of complaint.                      0.30
                                                                                         345.00/hr




    19-56239-lsg      Doc 307        Filed 07/21/23      Entered 07/21/23 10:58:50       Page 34 of 171
                                                                                                 Page       4
                                                                                    Hrs/Rate            Amount

1/28/2021 KH   Receive and review notice of improper service of summons, review        0.30
               order, complaint, summons and POS documents, place call to            345.00/hr
               court.

1/29/2021 KH   Call with court clerk re: notice of improper service. Attend to         0.50
               matters re: reissuing summons and serving on registered agent.        345.00/hr

         JG    Strategize re deposition strategy re nieces                             0.10    NO CHARGE
                                                                                     395.00/hr

 2/1/2021 KH   Receive and review email from Amanda Gall with Noble's office re:       0.40
               ownership of consigned jewels.                                        345.00/hr

         KH    Call with Mark Shapiro re: issues related to ownership of jewelry.      0.40
                                                                                     345.00/hr

         NM    Assistance to KKH re: exhibits for review                               0.70    NO CHARGE
                                                                                     170.00/hr

 2/2/2021 KH   Research re: ownership and consignment.                                 0.80
                                                                                     345.00/hr

         KH    Review Noble records re: consigned jewelry                              0.70
                                                                                     345.00/hr

2/11/2021 KH   Receive and review Stipulation and order regarding deadline to          0.20
               answer complaint.                                                     345.00/hr

2/12/2021 KH   Research re: basis for motion for preliminary injunction and/or         3.40
               possession pending final judgment.                                    345.00/hr

2/25/2021 KH   Continue research re: common law conversion and knowledge               1.50
               requirement.                                                          345.00/hr

         NM    LEXIS case searches for KKH                                             0.90
                                                                                     160.00/hr

 3/9/2021 KH   Email to and from client re: Zeidman's suit.                            0.20
                                                                                     345.00/hr

         KH    Begin review of Zeidman's Motion to Dismiss.                            1.30
                                                                                     345.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50     Page 35 of 171
                                                                                                  Page       5
                                                                                     Hrs/Rate            Amount

3/11/2021 KH   Call with Brandi Dobbs re: wrongful conduct legal argument and           0.30
               research needed.                                                       345.00/hr

         BB    Phone call with K. Hillary regarding the wrongful conduct rule.          0.20
                                                                                      290.00/hr

         KH    Begin drafting Response to Motion to Dismiss.                            0.80
                                                                                      345.00/hr

3/12/2021 JG   Assist in drafting response to motion to dismiss                         0.20
                                                                                      395.00/hr

         BB    Research regarding Michigan's wrongful conduct rule.                     1.50
                                                                                      290.00/hr

3/15/2021 BB   Draft email memorandum regarding the wrongful conduct rule.               1.00
                                                                                      290.00/hr

         NM    Noble UCC searches in various states                                     0.90
                                                                                      160.00/hr

3/16/2021 BB   Research regarding the wrongful conduct rule as a question of fact.      1.00
                                                                                      280.00/hr

3/17/2021 KH   Research issues related to Zeidman's Motion to dismiss.                  5.30
                                                                                      345.00/hr

3/18/2021 DP   research consignment/bailment/innocent buyer                             1.00
                                                                                      160.00/hr

         NM    LEXIS searches, other online searches (per K. Hillary)                   1.60
                                                                                      160.00/hr

         KH    Continue research and drafting re: Response to Zeidman's Motion          6.20
               to Dismiss.                                                            345.00/hr

3/19/2021 KH   Continue drafting of Response to Motion to Dismiss.                      6.30
                                                                                      345.00/hr

3/21/2021 KH   Continue researching and drafting response to Zeidman's Motion to        8.10
               Dismiss.                                                               345.00/hr

3/22/2021 JG   Review motion to dismiss                                                 0.40
                                                                                      395.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50       Page 36 of 171
                                                                                                     Page       6
                                                                                        Hrs/Rate            Amount

3/22/2021 JG    Review and revise response to motion to dismiss                            1.20
                                                                                         395.00/hr

          KH    Finalize and file Response to Motion to Dismiss.                           3.20
                                                                                         345.00/hr

         JSA    Revise draft of Rule 12(b)(6) response.                                    1.50
                                                                                         330.00/hr

3/24/2021 KH    Receive and review notice of hearing on Motion to Dismiss, review          0.50
                rules for deadline to file reply brief and availability of sir reply.    345.00/hr

3/25/2021 KH    Call with Bill Noble re: update on litigation. Follow up email re:         0.30
                same.
                                                                                         345.00/hr

4/21/2021 KH    Receive and review re-assignment to Judge Gretchko. Send same              0.40
                to client with brief correspondence. Send same to Noble with brief       345.00/hr
                correspondence.

4/23/2021 JG    Strategize re need for injunction                                          0.20    NO CHARGE
                                                                                         395.00/hr

         KH     Strategize with Joe Grekin re: transfer of case to timing and              0.30
                injunction issues.                                                       345.00/hr

5/14/2021 DJW   Review status of adversary proceedings with Zeidmans, assets,              1.00
                initiatives and next steps                                               485.00/hr

5/19/2021 JG    Preparation for strategy meeting                                           0.10    NO CHARGE
                                                                                         395.00/hr

 6/9/2021 BB    Review and analyze pleadings related to motion to dismiss.                 0.80
                                                                                         280.00/hr

         KH     Review standard for filing Surreply brief                                  0.40
                                                                                         345.00/hr

6/10/2021 JG    Strategize re hearing on motion to dismiss                                 0.10    NO CHARGE
                                                                                         395.00/hr

         BB     Research regarding bailment and consignment.                               3.80
                                                                                         280.00/hr

         BB     Draft Motion for Leave to File surreply.                                   1.00
                                                                                         280.00/hr




   19-56239-lsg      Doc 307       Filed 07/21/23          Entered 07/21/23 10:58:50     Page 37 of 171
                                                                                                     Page       7
                                                                                        Hrs/Rate            Amount

6/10/2021 BB    Review and revise Motion for Leave to File Surreply and related            1.00
                Surreply.                                                                280.00/hr

         BB     Various phone calls with K. Hillary regarding surreply and motion for      0.40
                leave to file surreply.                                                  280.00/hr

         J SA   Research reasonableness of a lienor's search for competing liens           2.50
                under suspicious circumstances and identify Augello case (1 .4);         330.00/hr
                assist in drafting response to MTD based on results of research
                (1.1).

         KH     Research and draft Surreply Brief and Motion for authority to file          5.90
                Surreply.                                                                345.00/hr

         KH     Draft Corrected Motion for Surreply.                                        1.90
                                                                                         345.00/hr

6/11/2021 BB    Draft order denying defendants motion to dismiss.                          0.40
                                                                                         280.00/hr

         JG     Strategize re order following hearing on motion to dismiss                 0.20    NO CHARGE
                                                                                         395.00/hr

         BB     Attend hearing on Motion to Dismiss.                                       3.60    NO CHARGE
                                                                                         280.00/hr

         BB     Various phone calls with K. Hillary regarding hearing and                  0.10
                subsequent order.                                                        280.00/hr

         JSA    Research law re priority of unperfected security interest in goods         1.30
                verses buyer of such goods with knowledge of said interest (1.1);        330.00/hr
                provide KH with resulting argument and supporting citations (.2).

         KH     Prepare for and attend hearing on Zeldman's motion to dismiss.             5.90
                                                                                         345.00/hr

6/15/2021 JG    Strategize re amending complaint, results of motion to dismiss, next       0.90      NO CHARGE
                steps, call with Mark re same                                            395.00/hr

         BB     Meeting with K. Hillary and J. Grekin regarding litigation strategy.       0.40    NO CHARGE
                                                                                         280.00/hr

         KH     Strategize with Joe Grekin and Brandi Dobbs re: amended                    0.80
                complaint and other issues.                                              345.00/hr




   19-56239-lsg      Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50       Page 38 of 171
                                                                                                 Page       8

                                                                                    Hrs/Rate            Amount

6/15/2021 KH   Call with Mark Shapiro re: amendment to complaint and other              0.40
               issues.                                                               345.00/hr

         KH    Draft stipulation and order granting authority to file an amended       0.40
               complaint and giving 14 days to answer.                               345.00/hr

         JG    Strategize re order re amending complaint                               0.20    NO CHARGE
                                                                                     395.00/hr

6/16/2021 BB   Research regarding sufficiency of financing statement filed in          3.20
               another state.                                                        280.00/hr

         KH    Finalize and attend to filing stipulation to amend complaint with       0.20    NO CHARGE
               answer deadline                                                       345.00/hr

6/17/2021 BB   Research regarding case law related to duty to investigate lien         1.50
               status.                                                               280.00/hr

6/18/2021 BB   Review and analyze dismissal hearing transcript with particular          3.00
               attention to issues and questions raised by the Judge.                280.00/hr

6/21/2021 JG   Call with potential expert                                              0.20    NO CHARGE
                                                                                     450.00/hr

         BB    Draft memorandum regarding hearing transcript and development           3.80
               of issues raised.                                                     280.00/hr

         MB    Discussion with Joe re: strategizing re: possible expert testimony      0.30
                                                                                     485.00/hr

         MB    Conference call with potential expert witness relative to value of      0.20
               diamond and analysis of sale of same                                  485.00/hr

6/24/2021 JG   Preparation for strategy meeting, review Brandi's memorandum re         0.90
               same                                                                  395.00/hr

         KH    Prepare for status meeting with Dan Weiner re: DuMouchelle case         1.10
               and Zeldman's lawsuit.                                                385.00/hr

         BB    Meeting w/DJW, JG, KH, and BD re: case update and strategy              1.10    NO CHARGE
               moving forward                                                        280.00/hr

         JG    Meeting w/DJW, JG, KH, and BD re: case update and strategy              1.10    NO CHARGE
               moving forward                                                        395.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50     Page 39 of 171
                                                                                                    Page       9

                                                                                       Hrs/Rate            Amount

6/24/2021 KH   Meeting w/DJW, JG, KH, and BD re: case update and strategy                 1.10    NO CHARGE
               moving forward                                                           345.00/hr

         DJW   Meeting w/DJW, JG, KH, and BD re: case update and strategy                 1.10
               moving forward                                                           485.00/hr

6/25/2021 BB   Review and analyze document productions 1-3.                               3.50
                                                                                        280.00/hr

6/28/2021 BB   Review and analyze additional documents and memoranda                      2.00
               establishing the value of relevant jewelry.                              280.00/hr

         BB    Draft chart regarding various statements of value for relevant pieces      1.50
               of jewelry.                                                              280.00/hr

         BB    Research regarding methods of valuation of jewelry in fraudulent           1.00
               transfer actions.                                                        280.00/hr

6/29/2021 KH   Review Transcript of hearing re: Motion to Dismiss.                        1.50
                                                                                        345.00/hr

         KH    Continue drafting Amended Complaint.                                       1.30
                                                                                        345.00/hr

         BB    Review and revise chart of jewelry value.                                  2.00
                                                                                        280.00/hr

         KH    Email to Anthony Kochis re: possession of Noble Jewelry.                   0.20
                                                                                        345.00/hr

         JG    Review portions of hearing transcript, review and revise wherefore         0.30
               clause for amended complaint                                             395.00/hr

6/30/2021 KH   Draft and file Amended Complaint.                                          2.60
                                                                                        345.00/hr

 7/1/2021 KH   Call with William Noble and Barron Cass re: status of lawsuit and          0.40
               valuation issues.                                                        345.00/hr

7/13/2021 KH   Receive and review answer to complaint and jury demand, begin              0.70
               drafting objection to jury demand.                                       345.00/hr

7/14/2021 JG   Strategize re jury demand, related issues                                  0.30    NO CHARGE
                                                                                        395.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50         Page 40 of 171
                                                                                                        Page      10
                                                                                           Hrs/Rate            Amount

7/14/2021 KH   Begin research re: jury trial issues.                                           0.80
                                                                                            345.00/hr

          KH   Begin drafting Spoilation/litigation hold letter                               1.60
                                                                                            345.00/hr

7/23/2021 JG   Review and revise preservation letter                                          0.20
                                                                                            395.00/hr

         KH    Finalize and send preservation letter to Anthony Kochis.                       0.70
                                                                                            345.00/hr

 8/2/2021 JG   Strategize re 26f                                                              0.10
                                                                                            395.00/hr

 8/3/2021 KH   Prepare for and meet with Anthony and Joe re: 26f report.                      1.50
                                                                                            345.00/hr

         JG    Prepare for and participate in 26f conference                                   1.40
                                                                                            395.00/hr

 8/5/2021 KH   Review Model ESI rules and prepare for call with opposing counsel              0.90
               re: same.
                                                                                            345.00/hr

         KH    Draft 26f report and send same to Kochis with correspondence.                  0.90
                                                                                            345.00/hr

 8/6/2021 BB   Phone call with K. Hillary regarding jury trials in the bankruptcy court.      0.10
                                                                                            280.00/hr

         KH    Call with Anthony Kochis re: ESI and model rules.                              1.20
                                                                                            345.00/hr

 8/9/2021 KH   Receive, review and strategize re: email from Kochis re: stay of               0.50
               litigation.                                                                  345.00/hr

8/10/2021 JG   Review defendant's inserts to 26f report and suggest changes to                0.20
               our portions of the report                                                   395.00/hr

         BB    REview and analyze Rule 26 report.                                             0.50
                                                                                            280.00/hr

         JG    Review and suggest revisions to 26f, strategize re same                        0.40
                                                                                            395.00/hr




   19-56239-lsg     Doc 307        Filed 07/21/23        Entered 07/21/23 10:58:50          Page 41 of 171
                                                                                                   Page      11
                                                                                      Hrs/Rate            Amount

8/10/2021 JG   Strategize re jury issue and timing of raising                            0.20    NO CHARGE
                                                                                       395.00/hr

         JG    Review proposed changes to 26f report from opposing counsel and           0.20
               suggest additional changes                                              395.00/hr

         JG    Review research re jury demand issue                                      0.10
                                                                                       395.00/hr

         BB    Research regarding the right to a jury trial in bankruptcy court.          3.20
                                                                                       280.00/hr

         BB    Phone call with A. Kochis regarding Rule 26(f) report.                    0.10
                                                                                       280.00/hr

         KH    Revise 26f report.                                                        1.30
                                                                                       345.00/hr

         KH    Call with Joe and Brandi re: 26f report.                                  0.20
                                                                                       345.00/hr

8/12/2021 JG   Initial preparation for 26f scheduling conference                         0.30
                                                                                       395.00/hr

         KH    Call with Joe and email to Brandi Dobbs re: research needed for           0.40
               initial status conference.                                              345.00/hr

         KH    Email to client re: Zeidman's efforts to stay case and discovery          0.20
               issues.                                                                 345.00/hr

8/13/2021 BB   Draft email memorandum regarding the right to a jury trial in             3.00
               bankruptcy court,                                                       280.00/hr

8/14/2021 JG   Review memorandum re jury rights, brief research re same                  0.40
                                                                                       395.00/hr

8/16/2021 JG   Preparation for scheduling conference, review 26f report, complaint,      1.50
               answer, brief research re equitable causes of action and defenses       395.00/hr
               and jury demand

         JG    Participation in scheduling conference                                    1.60
                                                                                       395.00/hr

         KH    Call with Joe Grekin to prepare for 26f conference.                       0.40
                                                                                       345.00/hr




   19-56239-lsg     Doc 307         Filed 07/21/23        Entered 07/21/23 10:58:50    Page 42 of 171
                                                                                                  Page      12
                                                                                     Hrs/Rate            Amount

8/16/2021 KH   Draft revised 26f report and send same to Grekin with comment.           1.10
                                                                                      345.00/hr

         KH    Draft correspondence to Noble                                             0.80
                                                                                      345.00/hr

8/17/2021 JG   Review and revise preservation correspondence to Noble                   0.30
                                                                                      395.00/hr

         JG    Review and revise 26f per court's instructions                            0.20
                                                                                      395.00/hr

         JG    Strategize re various issues                                             0.10    NO CHARGE
                                                                                      395.00/hr

         BB    Review and analyze chart regarding jewelry value.                        0.10
                                                                                      280.00/hr

         KH    Finalize 26f report and send to Kochis with correspondence.              0.20
                                                                                      345.00/hr

         JG    Prepare for and participate in litigation team meeting with Kim and      0.70
               Brandi.                                                                395.00/hr

         BB    Conference with K. Hillary and J. Grekin regarding case status,          0.50    NO CHARGE
               strategy, and next steps.                                              280.00/hr

         JG    Draft correspondence to Mark re scheduling conference, next steps        0.10
                                                                                      395.00/hr

         JG    Strategize with Dan Weiner re status update                              0.10    NO CHARGE
                                                                                      395.00/hr

         KH    Conference with B. Dobbs and J. Grekin regarding case status,            0.50      NO CHARGE
               strategy, and next steps.                                              345.00/hr

8/19/2021 JG   Review correspondence from opposing counsel and proposed                 0.10
               changes to 26f                                                         395.00/hr

         JG    Strategize re scheduling issues                                          0.30      NO CHARGE
                                                                                      395.00/hr

         JG    Review correspondences from Bill Noble, exchange                         0.20
               correspondence with Bill re location of jewelry                        395.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50       Page 43 of 171
                                                                                                  Page      13
                                                                                     Hrs/Rate            Amount

8/19/2021 JG   Call with Mark re expert issues, government document/Joe D               0.60
               testifying issues, draft brief memorandum re same                      395.00/hr

         KH    Finalize and send letter to Noble                                        0.40
                                                                                      345.00/hr

         KH    Strategize re: 26f report and number of depositions.                     0.20
                                                                                      345.00/hr

         KH    Email to Ryan H and Bill N re: request for call, information needed      0.30
               and location of jewelry.                                               345.00/hr

         KH    Draft email to Anthony Kochis re: dispute over number of                 0.20
               depositions.                                                           345.00/hr

8/20/2021 JG   Exchange correspondence with Kochis re number of depositions             0.20
                                                                                      395.00/hr

         JG    Exchange correspondence with Kochis re depositions                       0.10
                                                                                      395.00/hr

8/23/2021 BB   Conference with D. Weiner and J. Grekin regarding case status and        1.00    NO CHARGE
               next steps.                                                            280.00/hr

         JG    Strategy meeting with Dan and Brandi re status update, forthcoming       1.00    NO CHARGE
               issues                                                                 395.00/hr

         JG    Exchange correspondence re 26f report with opposing counsel              0.10
                                                                                      395.00/hr

         JG    Calls with opposing counsel, judge's clerk re revised 26f                0.50
                                                                                      395.00/hr

         DJW   Attend litigation strategy meeting re: Ziedmans                          1.00
                                                                                      485.00/hr

8/24/2021 JG   Exchange correspondence with opposing counsel re call with court         0.10
                                                                                      395.00/hr

         JG    Initial review of discovery requests                                     0.20
                                                                                      395.00/hr

         JG    Strategize with Kim re various issues                                    0.30    NO CHARGE
                                                                                      395.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50      Page 44 of 171
                                                                                                  Page      14
                                                                                     Hrs/Rate            Amount

8/24/2021 BB   Conference with K. Hillary, J. Grekin, W. Noble, R. Heilman, and M.      1.00    NO CHARGE
               Baum regarding case status and next steps.                             280.00/hr

         JG    Review documents in preparation for call with Noble                      0.20
                                                                                      395.00/hr

         JG    Call with Noble, follow up re various issues                             1.00    NO CHARGE
                                                                                      395.00/hr

         BB    Review various documents to determine initial owner of jewelry and       0.50
               revise value chart to reflect the same.                                280.00/hr

         KH    Begin drafting Initial Disclosures.                                      1.10
                                                                                      345.00/hr

         KH    Call with Bill Noble, Ryan Heilman, Michael Baum (from Noble's           0.70    NO CHARGE
               team), Joe Grekin and Brandi Dobbs re: expectations for discovery      345.00/hr
               and litigation.

         KH    Meet with Joe and Brandi re: strategy and steps moving forward.          0.40
                                                                                      345.00/hr

         KH    Draft outline of items needing to be accomplished, assignment to         0.60
               attorneys and deadline for completion.                                 345.00/hr

         KH    Prepare for Noble call, begin compiling information supporting           0.90
               claims.                                                                345.00/hr

         JG    Strategize re potential expert                                           0.10    NO CHARGE
                                                                                      395.00/hr

         JG    Review and revise chart of tasks and obligation dates                    0.20
                                                                                      395.00/hr

         JG    Strategize re overall case strategy                                      0.30    NO CHARGE
                                                                                      395.00/hr

         BB    Draft common interest agreement.                                         2.00
                                                                                      280.00/hr

         DJW   Continue to strategize litigation approach                               0.50
                                                                                      485.00/hr

         DJW   Litigation strategy meeting                                              0.30
                                                                                      485.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50      Page 45 of 171
                                                                                                 Page      15
                                                                                    Hrs/Rate            Amount

8/25/2021 JG   Review correspondence from Ryan Heilman and Wolfe complaint             0.20
                                                                                     395.00/hr

         JG    Review and revise initial disclosures                                   0.30
                                                                                     395.00/hr

         JG    Call with Mark re discovery requests from defendants                    0.10
                                                                                     395.00/hr

         JG    Review documents from Baron Cass                                        0.10
                                                                                     395.00/hr

         JG    Review and revise joint offense agreement                               0.30
                                                                                     395.00/hr

8/26/2021 JG   Preparation for call with Court re 26f                                  0.10
                                                                                     395.00/hr

         JG    Call with Court re 26g report and scheduling matters, follow up         0.40
               correspondence to opposing counsel re same                            395.00/hr

         JG    Draft correspondence to Mark re discovery requests                      0.10
                                                                                     395.00/hr

         JG    Review discovery from defendants                                        0.50
                                                                                     395.00/hr

         BB    Review and revise value chart to include insurance evaluation.          0.40
                                                                                     280.00/hr

         KH    Call with Joe Grekin re: responses to discovery, pattern.               0.20
                                                                                     345.00/hr

         JG    Call with Ryan Heilman re information re consignment                    0.20
               jewelry/discovery requests                                            395.00/hr

         BB    Compare replacement value of jewelry to complaint and draft note        0.20
               regarding the same.                                                   280.00/hr

8/27/2021 JG   Review chart re values                                                  0.10
                                                                                     395.00/hr

         JG    Revise initial disclosures and strategize re same, call with Ryan       0.50
               Heilman re value of Baron Cass necklace, draft follow-up              395.00/hr
               correspondence




   19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 46 of 171
                                                                                                  Page      16

                                                                                     Hrs/Rate            Amount


8/27/2021 JG   Begin responses to discovery requests                                    0.20
                                                                                      395.00/hr

8/30/2021 JG   Review initial disclosures draft                                         0.20    NO CHARGE
                                                                                      395.00/hr

         JG    Exchange correspondence with Mark re initial disclosures,                0.20
               discovery requests, review comments on initial disclosures             395.00/hr

         JG    Review file re Yellow Rose diamond                                       0.20    NO CHARGE
                                                                                      395.00/hr

         JG    Review briefs re yellow rose diamond, criminal complaint, discovery      0.60    NO CHARGE
               requests re yellow rose diamond                                        395.00/hr

         JG    Exchange correspondence with Mark re responding to discovery             0.10
               requests                                                               395.00/hr

         JG    Draft responses to discovery requests                                    1.10
                                                                                      395.00/hr

         JG    Review defendants' initial disclosures, draft correspondence to          0.20
               opposing counsel re insurance policy                                   395.00/hr

         BB    Review court rule regarding possession pending judgment.                 0.40
                                                                                      280.00/hr

         KH    Make final revisions to initial disclosures and file same.               0.40
                                                                                      345.00/hr

8/31/2021 JG   Strategize re responses to discovery requests                            0.10    NO CHARGE
                                                                                      395.00/hr

         JG    Review insurance policy produced by Zeidman's                            0.20
                                                                                      395.00/hr

         BB    Research regarding possession pending final judgment.                    3.30
                                                                                      280.00/hr

 9/1/2021 JG   Review scheduling order                                                  0.10
                                                                                      395.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50     Page 47 of 171
                                                                                               Page      17
                                                                                  Hrs/Rate            Amount

9/1/2021 BB   Research regarding federal court authority to grant motions for        0.80
              possession pending final judgment.                                   280.00/hr

        JG    Review research re possession pending final judgment, conversion       0.10
                                                                                   450.00/hr

        JG    Continue working on responses to discovery                             0.40
                                                                                   395.00/hr

        KH    Strategize with Joe Grekin re: responses to discovery requests.        0.30    NO CHARGE
                                                                                   345.00/hr

        BB    Review and analyze common interest agreement.                          0.20
                                                                                   280.00/hr

        KH    Call with JKG and Mark Shapiro re: discussions with federal            0.20    NO CHARGE
              government and production of documents                               345.00/hr

        JG    Call with KH and Mark Shapiro re: discussions with federal             0.20
              government and production of documents                               395.00/hr

9/2/2021 BB   Draft correspondence to A. Kochis regarding the Noble Jewelry and      2.00
              escrow.                                                              280.00/hr

        JG    Strategize re motion for possession pending judgment                   0.20    NO CHARGE
                                                                                   395.00/hr

        KH    Email with Karen Reynolds re: request for information.                 0.20
                                                                                   345.00/hr

9/3/2021 JG   Strategize re common interest agreement                                0.10    NO CHARGE
                                                                                   395.00/hr

        JG    Review and revise escrow letter                                        0.10    NO CHARGE
                                                                                   395.00/hr

9/6/2021 JG   Revise letter requesting escrow                                        0.20
                                                                                   395.00/hr

        JG    Draft correspondence to Mark re common interest agreement              0.10
                                                                                   395.00/hr

9/8/2021 JG   Review forfeiture pleadings, review correspondence from Mark re        0.60
              same, common interest agreement, review common interest              395.00/hr
              agreement re Mark's questions and draft response to Mark




  19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50     Page 48 of 171
                                                                                                    Page      18
                                                                                       Hrs/Rate            Amount


 9/8/2021 JG   Review pleading in Dery v Noble                                            0.10
                                                                                        395.00/hr

         JG    Revise letter requesting jewelry in escrow                                 0.10    NO CHARGE
                                                                                        395.00/hr

 9/9/2021 JG   Exchange correspondence with Mark re joint interest agreement              0.10
               and inquiry to DOJ re forfeiture, draft correspondence to counsel for    395.00/hr
               Noble re former

         BB    Research regarding proper valuation method for jewelry.                    2.80
                                                                                        280.00/hr

9/10/2021 BB   Additional research regarding valuation of jewelry.                        1.00
                                                                                        280.00/hr

         BB    Review and analyze various documents regarding adversary                   1.00
               proceeding 21-04041, Dery v. Noble.                                      280.00/hr

9/12/2021 JG   Review correspondence from Mark and DOJ re judgment of                     0.10
               forfeiture, draft response to Mark                                       395.00/hr

9/13/2021 JG   Strategize re responses to discovery                                       0.10    NO CHARGE
                                                                                        395.00/hr

         JG    Review memo re determination of value                                      0.20
                                                                                        395.00/hr

9/14/2021 BB   Research and draft memorandum regarding the right to a jury.                3.00
                                                                                        280.00/hr

         JG    Exchange correspondence with Mark re contact DOJ by Foley                  0.10
                                                                                        395.00/hr

9/15/2021 JG   Review memo re jury rights                                                 0.20
                                                                                        395.00/hr

         JG    Draft correspondence to opposing counsel re escrowing jewelry              0.10
                                                                                        395.00/hr

         JG    Exchange correspondence with opposing counsel re escrow, review            0.10
               correspondence from Mark re inquiry from Foley to DOJ                    395.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50         Page 49 of 171
                                                                                                  Page      19
                                                                                     Hrs/Rate            Amount

9/15/2021 JG   Strategize re Foley issue                                                0.10    NO CHARGE
                                                                                      395.00/hr

         JG    Strategize re responses to discovery                                     0.10    NO CHARGE
                                                                                      395.00/hr

         KH    Begin drafting response to Interrogatories.                               1.50
                                                                                      345.00/hr

9/17/2021 JG   Assist in drafting discovery responses                                   0.20
                                                                                      395.00/hr

         JG    Review correspondence from opposing counsel re escrow request            0.10
               and follow-up re denial                                                395.00/hr

9/20/2021 KH   Continue drafting responses to Discovery                                  3.90
                                                                                      345.00/hr

         JG    Call with counsel for Noble re responses to discovery                    0.10    NO CHARGE
                                                                                      395.00/hr

         JG    Strategize re responses to discovery requests                            0.20    NO CHARGE
                                                                                      395.00/hr

         JG    Assist in drafting responses to discovery requests                       0.50
                                                                                      395.00/hr

9/21/2021 JG   Assist in drafting discovery responses                                   0.60      NO CHARGE
                                                                                      395.00/hr

         KH    Finalize responses to Interrogatories and send to client for review      0.60
               and execution.                                                         345.00/hr

         JG    Review memorandum re complaint against Noble                             0.10
                                                                                      395.00/hr

         KH    Continue drafting responses to Zeidman's Request to Produce              6.90
                                                                                      345.00/hr

9/22/2021 JG   Strategize re discovery responses                                        0.10    NO CHARGE
                                                                                      395.00/hr

         BB    Review and revise requests to admit and interrogatories.                 1.70
                                                                                      280.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23         Entered 07/21/23 10:58:50     Page 50 of 171
                                                                                                  Page      20
                                                                                     Hrs/Rate            Amount

9/22/2021 KH   Finalize and serve responses to discovery.                               1.70
                                                                                      345.00/hr

         KH    Continue drafting Discovery to Zeidmans.                                 2.10
                                                                                      345.00/hr

         JG    Review various correspondence, draft correspondence re possible          0.10    NO CHARGE
               delay in sentencing                                                    395.00/hr

9/23/2021 JG   Review, and revise discovery requests, draft additional requests          1.60
                                                                                      395.00/hr

         KH    Finalize discovery requests to Zeidman's                                 3.90
                                                                                      345.00/hr

9/24/2021 JG   Review and revise discovery requests                                      0.70
                                                                                      395.00/hr

         KH    Finalize discovery requests to Zeidmans and send same to client          0.80
               for review.                                                            345.00/hr

         JG    Call with Mark re status of criminal matter and effect on discovery      0.30
                                                                                      395.00/hr

         KH    Call with client and Joe re: status of DuMouchelle sentencing and        0.30    NO CHARGE
               retrieval of documents from feds.                                      345.00/hr

9/26/2021 JG   Exchange correspondence with opposing counsel re meet and                0.10
               confer                                                                 395.00/hr

9/27/2021 JG   Review correspondence from opposing counsel re meet and confer           0.10
               re discovery responses                                                 395.00/hr

9/28/2021 BB    Draft brief in support of motion for possession pending final           3.70
               judgment.                                                              280.00/hr

9/29/2021 JG   Strategize re Noble discovery                                            0.10      NO CHARGE
                                                                                      395.00/hr

         KH    Call with Ryan Heilman re: Noble's response to prior email re:           0.20
               interrogatories.                                                       345.00/hr

10/1/2021 JG   Call with opposing counsel re responses to discovery requests            0.80
                                                                                      395.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50      Page 51 of 171
                                                                                                    Page      21

                                                                                       Hrs/Rate            Amount

 10/1/2021 KH   Telephone conversation with Anthony Kochis and JKG re: discovery          0.80    NO CHARGE
                responses                                                               345.00/hr

10/12/2021 JG   Assist in responding to discovery requests                                 0.20
                                                                                        395.00/hr

          BB    Research regarding discovery obligations of a plaintiff-assignee and      1.50
                trustee.                                                                280.00/hr

          BB    Conference with K. Hillary and J. Grekin re discovery responses.          0.10
                                                                                        280.00/hr

          BB    Determine proper format for production of documents.                       0.30
                                                                                        280.00/hr

10/13/2021 JG   Review memorandum re responsibility to produce Zeidman's                  0.20
                documents                                                               395.00/hr

          JG    Assist in review of documents re response to document requests,           1.20
                call with Heilman re same                                               395.00/hr

          BB    Review documents regarding requests to produce for                        4.90
                responsiveness and privilege.                                           280.00/hr

          KH    Document review and production analysis.                                  7.10
                                                                                        345.00/hr

10/14/2021 JG   Assist in responding to discovery requests                                1.20
                                                                                        395.00/hr

          BB    Review and analyze various documents for responsiveness to                3.40
                requests to produce.                                                    280.00/hr

          JG    Draft correspondence to opposing counsel re doc production                0.10
                                                                                        395.00/hr

          JG    Strategize re preparation of response to demand re discovery              0.20    NO CHARGE
                requests from opposing counsel                                          395.00/hr

10/15/2021 JG   Exchange correspondence with opposing counsel re document                 0.10
                production                                                              395.00/hr

          BB    Review and analyze additional documents regarding                         1.50
                responsiveness to discovery requests.                                   280.00/hr




    19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50        Page 52 of 171
                                                                                                     Page      22
                                                                                        Hrs/Rate            Amount

10/15/2021 BB   Finalize document production.                                              2.00
                                                                                         280.00/hr

10/19/2021 BB   Additional research regarding the scope of discovery obligations           2.00
                applicable to a trustee in bankruptcy and to an assignee of a claim.     280.00/hr

          BB    Draft email to A. Kochis regarding objections to requests to produce.      0.50
                                                                                         280.00/hr

          JG    Review and revise response to Kochis demand re production of               0.50
                documents of others                                                      395.00/hr

          JG    Exchange correspondence with opposing counsel                              0.10
                                                                                         395.00/hr

          JG    Strategize re various issues including motion for possession               0.10
                pending judgment                                                         395.00/hr

          BB    Review and revise email to A. Kochis re document production.               0.10
                                                                                         280.00/hr

10/21/2021 JG   Exchange correspondence with Mark re latest from DOJ                       0.10
                                                                                         395.00/hr

          JG    Review and revise motion for possession pending judgment                   0.50    NO CHARGE
                                                                                         395.00/hr

10/27/2021 JG   Strategize re motion for possession pending judgment                       0.20
                                                                                         395.00/hr

          BB    Conference with J. Grekin re Motion for Possession.                        0.20
                                                                                         280.00/hr

          JG    Review motion to compel, analyze same issue by issue, plan                 1.70
                response, meeting with Mark re same                                      395.00/hr

          BB    Conference with K. Hillary re Motion to Compel.                            0.40    NO CHARGE
                                                                                         280.00/hr

          BB    Review and analyze Motion to Compel.                                       0.60
                                                                                         280.00/hr

          KH    Discuss Yellow Rose Diamond and related discovery issues with              0.40
                Brandi.                                                                  345.00/hr




    19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50         Page 53 of 171
                                                                                                 Page      23
                                                                                    Hrs/Rate            Amount

10/27/2021 JG   Call with Tracy Clark re response to motion to compel                  0.10
                                                                                     395.00/hr

10/29/2021 JG   Begin drafting response to motion to compel                            0.20
                                                                                     395.00/hr

          KH    Begin drafting privilege log, and continued review of documents.        1.50
                                                                                     345.00/hr

10/30/2021 JG   Draft response to motion to compel, research re same                   1.50
                                                                                     395.00/hr

10/31/2021 JG   Draft response to motion to compel                                     2.60
                                                                                     395.00/hr

 11/1/2021 JG   Draft response to motion to compel                                     2.30
                                                                                     395.00/hr

 11/2/2021 JG   Draft response to motion to compel                                     3.40
                                                                                     395.00/hr

          BB    Review and analyze motion to compel discovery and compare to           2.30
                documents produced to defendant.                                     280.00/hr

          KH    Receive, review and respond to email from Brandi Dobbs re:             0.30
                response to Motion to Compel.                                        345.00/hr

          BB    Email to J. Grekin and K. Hillary regarding analysis of discovery      0.20
                issues presented in motion to compel.                                280.00/hr

          BB    Review and analyze attachments to produced emails.                     0.30
                                                                                     280.00/hr

 11/3/2021 JG   Review document re possible production as supplement in                0.20
                response to motion to compel                                         395.00/hr

          BB    Review and analyze various memoranda pertaining to pieces of           1.00
                Noble jewelry as compared to documents produced.                     280.00/hr

 11/4/2021 JG   Call with Ryan Heilman re status of various issues, payments to        0.30
                Noble from Dumouchelle                                               395.00/hr

          BB    Draft portion of response to Motion to Compel regarding                0.80
                miscellaneous alleged deficiencies.                                  280.00/hr




    19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50     Page 54 of 171
                                                                                                       Page      24
                                                                                          Hrs/Rate            Amount

 11/4/2021 JG   Review and revise response to motion to compel                               2.60
                                                                                           395.00/hr

 11/5/2021 JG   Review and respond to motion to compel                                       0.30
                                                                                           395.00/hr

           BB   Review and revise response to motion to compel.                              0.60
                                                                                           280.00/hr

          JG    Revise response to motion to compel                                          0.20
                                                                                           395.00/hr

          JG    Assist in preparing exhibits for filing re response to motion to compel      0.30
                                                                                           395.00/hr

          BB    Review and revise response to motion for protective order.                   3.00
                                                                                           280.00/hr

          KH    Draft revisions to Response to Motion to Compel.                             3.10
                                                                                           345.00/hr

 11/9/2021 KH   Finalize privilege log, and production of documents.                         3.90
                                                                                           345.00/hr

          JG    Assist in drafting privilege log                                             0.20
                                                                                           395.00/hr

          JG    Assist in drafting privilege log                                             0.30
                                                                                           395.00/hr

          JG    Exchange correspondence with opposing counsel re re-scheduling               0.20
                motion to compel, call to chambers re same                                 395.00/hr

          JG    Call with Ryan Heilman re joint defense agreement                            0.10
                                                                                           395.00/hr

11/10/2021 JG   Draft proposed stipulated order adjourning hearing on motion to              0.30
                compel, correspondence with opposing counsel re same                       395.00/hr

11/11/2021 BB   Review and revise motion for possession pending final judgment.              2.00
                                                                                           280.00/hr

11/12/2021 JG   Review order re adjourning hearing on motion to compel                       0.10
                                                                                           395.00/hr




    19-56239-lsg     Doc 307        Filed 07/21/23      Entered 07/21/23 10:58:50          Page 55 of 171
                                                                                                    Page      25
                                                                                       Hrs/Rate            Amount

11/12/2021 JG   Strategize re motion to object to jury                                    0.10
                                                                                        395.00/hr

          BB    Conference with K. Hillary and J. Grekin re jury right.                   0.10    NO CHARGE
                                                                                        280.00/hr

          BB    Review and analyze jury trial research.                                   0.30
                                                                                        280.00/hr

          JG    Review memorandum re jury trial issues                                    0.20
                                                                                        395.00/hr

          JG    Call with Mark re jury demand, update on DOJ and sentencing               0.20
                                                                                        395.00/hr

11/23/2021 BB   Review and analyze discovery responses.                                   2.50
                                                                                        280.00/hr

11/30/2021 KH   Review discovery responses and begin drafting correspondence re:          3.30
                shortcomings.                                                           345.00/hr

 12/1/2021 BB   Draft memorandum email to K. Hillary and J. Grekin regarding              0.80
                issues related to Defendant's discovery responses.                      280.00/hr

 12/2/2021 JG   Review memorandum re discovery responses                                  0.20
                                                                                        395.00/hr

          JG    Review responses to discovery, strategize re same                         0.70
                                                                                        395.00/hr

          JG    Review and revise motion for possession pending judgment,                 0.80
                strategize re motion for spoliation                                     395.00/hr

          KH    Meet with Brandi re: responses to discovery.                              0.50
                                                                                        345.00/hr

          KH    Call with Ryan Heilman re: Zeidman's discovery responses.                 0.20
                                                                                        345.00/hr

          BB    Conference with K. Hillary to discuss various discovery issues and        0.50    NO CHARGE
                next steps.                                                             280.00/hr

 12/3/2021 BB   Review and analyze documents produced by defendants with                  2.00
                particular attention to documents related to value and sale of Noble    280.00/hr
                jewelry.




    19-56239-lsg     Doc 307       Filed 07/21/23         Entered 07/21/23 10:58:50     Page 56 of 171
                                                                                                     Page      26
                                                                                        Hrs/Rate            Amount


12/6/2021 JG   Call with potential expert                                                  0.40
                                                                                         395.00/hr

         JG    Strategize re expert witness                                                0.10
                                                                                         395.00/hr

         JG    Call with Mark re payment for expert witness, follow up re same             0.20
                                                                                         395.00/hr

         JG    Call with Ryan Heilman re expert witness issue                              0.10
                                                                                         395.00/hr

         JG    Call with Ryan re opinion on motion to dismiss                               0.10
                                                                                         395.00/hr

         BB    Draft letter to A. Kochis regarding various discovery issues.               1.60
                                                                                         280.00/hr

12/7/2021 JG   Review and revise meet and confer letter                                    0.40
                                                                                         395.00/hr

         JG    Review and revise motion for possession pending final judgment              0.70
                                                                                         395.00/hr

         JG    Call with potential expert re hiring, fees                                  0.30
                                                                                         395.00/hr

         BB    Review and revise letter to A. Kochis re discovery issues.                  0.10
                                                                                         280.00/hr

         KH    Brief review of motion.                                                     0.30
                                                                                         345.00/hr

         JG    Strategize re motion to compel                                              0.20    NO CHARGE
                                                                                         395.00/hr

12/8/2021 JG   Review reply brief re motion to compel, draft brief notes re same           0.50
                                                                                         395.00/hr

         JG    Strategize re hearing on motion to compel                                   0.10    NO CHARGE
                                                                                         395.00/hr

12/9/2021 KH   Finalize meet and confer letter to Kochis                                   0.50
                                                                                         345.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23            Entered 07/21/23 10:58:50    Page 57 of 171
                                                                                                    Page      27

                                                                                       Hrs/Rate            Amount

 12/9/2021 BB   Research regarding discovery of a third party in an adversary             1.20
                proceeding.                                                             280.00/hr

          BB    Attention to various discovery issues outlined in defendant's motion      0.80
                to compel.                                                              280.00/hr

          KH    Assist Joe Grekin to prepare for hearing on Zeidman's Motion to           1.20
                Compel.                                                                 345.00/hr

          JG    Preparation for hearing on motion to compel                                0.20
                                                                                        395.00/hr

12/10/2021 BB   Review case law regarding turnover in adversary proceedings.               0.30
                                                                                        280.00/hr

          JG    Prepare for and participate in hearing on motion to compel                6.80
                                                                                        395.00/hr

          BB    Research regarding spoliation of evidence.                                3.20
                                                                                        280.00/hr

12/11/2021 JG   Exchange correspondence with opposing counsel re meet and                 0.10
                confer                                                                  395.00/hr

          JG    Review various correspondence                                             0.10    NO CHARGE
                                                                                        395.00/hr

12/13/2021 JG   Follow up re hearing on motion to compel, organize files re same          0.10
                                                                                        395.00/hr

          BB    Conference with J. Grekin re spoliation motion.                           0.20      NO CHARGE
                                                                                        280.00/hr

          JG    Strategize re discovery issues, spoliation                                0.20    NO CHARGE
                                                                                        395.00/hr

          JG    Call with potential expert witness                                        0.20
                                                                                        395.00/hr

          BB    Draft spoliation motion.                                                  3.50
                                                                                        280.00/hr

12/14/2021 BB   Revise discovery responses to conform with discovery production.          2.00
                                                                                        280.00/hr




    19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50       Page 58 of 171
                                                                                                  Page      28
                                                                                     Hrs/Rate            Amount

12/14/2021 JG   Call with Mark re status update, expert, motion to compel                0.30
                                                                                      395.00/hr

          JG    Attention to production issues to opposing counsel - follow up re       0.10
                hearing on motion to compel                                           395.00/hr

          BB    Coordinate sending discovery items to A. Kochis.                         0.60     NO CHARGE
                                                                                      280.00/hr

12/15/2021 JG   Review and revise draft of spoliation motion                             0.80
                                                                                      395.00/hr

          JG    Review defendants' responses to discovery requests and prepare          1.20
                for meet and confer                                                   395.00/hr

          JG    Call with opposing counsel re meet and confer                            0.30
                                                                                      395.00/hr

          BB    Review and revise spoliation motion.                                     3.00
                                                                                      280.00/hr

          DJW   Strategize case theories and approaches                                 1.10
                                                                                      590.00/hr

12/16/2021 JG   Review and revise spoliation motion, strategize re same                 2.30
                                                                                      395.00/hr

          BB    Review and revise spoliation motion.                                    2.30
                                                                                      280.00/hr

          DJW   Strategize motion for presumption/spoliation of evidence                1.00
                                                                                      590.00/hr

12/17/2021 JG   Review and revise spoliation motion                                     1.00
                                                                                      395.00/hr

12/19/2021 JG   Call with expert re terms of retention                                  0.10
                                                                                      395.00/hr

12/20/2021 JG   Review and revise spoliation motion                                     0.40
                                                                                      395.00/hr

          JG    Draft Kuperwasser retainer agreement, draft correspondence to           1.20
                Mark re same                                                          395.00/hr




    19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 59 of 171
                                                                                                   Page      29
                                                                                      Hrs/Rate            Amount

12/21/2021 JG   Draft correspondence to Anthony re meet and confer follow up,
                                                                                         0.20
                concurrence requests on motion for spoliation and motion for           395.00/hr
                possession

          JG    Exchange correspondence with Anthony re response to issues re
                                                                                         0.10
                discovery responses                                                    395.00/hr

          JG    Preparation of motions for filing                                        0.10
                                                                                       395.00/hr

          BB    Draft Motion for possession pending final judgment.                      0.30
                                                                                       280.00/hr

          BB    Draft Motion re spoliation of evidence.                                  0.30
                                                                                       280.00/hr

          JG    Review and revise spoliation brief re new facts                          1.60
                                                                                       395.00/hr

          JG    Exchange correspondence with Anthony re responses to discovery           0.10
                requests                                                               395.00/hr

          BB    Research regarding adverse inferences related to spoliation.             1.00
                                                                                       280.00/hr

          KH    Draft revisions to Spoliation Motion.                                    2.30
                                                                                       345.00/hr

          BB    Research regarding spoliation of evidence via sale thereof.              0.60
                                                                                       280.00/hr

12/22/2021 JG   Review correspondence and release related to spoliation motion,          0.80
                review research re same, revise spoliation motion re same              395.00/hr

          BB     Prepare draft orders re spoliation and possession pending final         0.40
                judgment.                                                              280.00/hr

          JG    Review and revise motion for possession pending judgment, order          3.00
                for same, order re motion for spoliation                               395.00/hr

          BB    Review and revise spoliation motion                                      0.50
                                                                                       280.00/hr




    19-56239-lsg     Doc 307       Filed 07/21/23         Entered 07/21/23 10:58:50    Page 60 of 171
                                                                                                   Page      30
                                                                                      Hrs/Rate            Amount

12/22/2021 KH   Continue review of exhibits and assist with factual development for      1.30
                Spoiliation Motion.                                                    345.00/hr

12/23/2021 JG   Exchange correspondence with Anthony re requested extension of           0.10
                time to respond to motions for spoliation and for possession           395.00/hr
                pending final judgment

          JG    Review proposed order re extension of time to respond to motions         0.10
                and approve same                                                       395.00/hr

  1/3/2022 JG   Exchange correspondence with Mark re engagement letter                   0.10
                                                                                       410.00/hr

          JG    Exchange correspondence with Mark re various issues, follow up re        0.10
                sale of jewelry                                                        410.00/hr

          JG    Review correspondence from Kochis re response to meet and                0.20
                confer, draft correspondence to Mark re same                           410.00/hr

          BB    Review and analyze letter from A. Kochis re discovery issues.            0.30
                                                                                       290.00/hr

  1/4/2022 JG   Review correspondences from opposing counsel re supplemental             0.10
                production                                                             410.00/hr

          JG    Review and revise letter per instructions from Mark, draft               0.30
                correspondence to Mark re same                                         410.00/hr

          JG    Conference with Brandi and Kim re various issues, including              0.40
                retaining expert and reviewing supplemental discovery production       410.00/hr

          BB    Conference with K. Hillary and J. Grekin re discovery status and         0.40    NO CHARGE
                next steps.                                                            290.00/hr

          BB    Review and analyze discovery responses.                                  0.40    NO CHARGE
                                                                                       290.00/hr

          JG    Draft correspondence to Mark re sale of jewelry                          0.10
                                                                                       410.00/hr

          KH    Meet with Joe and Brandi re: next steps.                                 0.40    NO CHARGE
                                                                                       360.00/hr




    19-56239-lsg     Doc 307          Filed 07/21/23   Entered 07/21/23 10:58:50       Page 61 of 171
                                                                                                Page      31
                                                                                   Hrs/Rate            Amount

 1/5/2022 JG   Exchange correspondence with Mark re motion to employ expert,          0.10
               review correspondence re held jewelry                                410.00/hr

         JG    Call with Mark re various issues, follow up on same, research and      0.70
               witness issues                                                       410.00/hr

         BB    Begin drafting motion to employ.                                       1.30
                                                                                    290.00/hr

 1/6/2022 JG   Draft correspondence to potential expert re proposed retainer          0.20
               agreement
                                                                                    410.00/hr

         BB    Finish drafting motion to employ and related exhibits.                 1.60
                                                                                    290.00/hr

         JG    Exchange correspondence with Mark re valuing jewelry in estate         0.10
               and selling same                                                     410.00/hr

         JG    Exchange correspondence with potential expert re retainer              0.10
               agreement                                                            410.00/hr

 1/7/2022 JG   Review correspondence from opposing counsel, motion to extend          0.20
               dates and expedite hearing, draft correspondence to Mark re same     410.00/hr

         BB    Conference with K. Hillary regarding potential witnesses and           0.10
               affidavits.                                                          290.00/hr

1/10/2022 JG   Call with expert witness re retainer agreement                         0.20
                                                                                    410.00/hr

         JG    Review order re motion to expedite hearing re motion to adjourn        0.10
               dates                                                                410.00/hr

         JG    Draft correspondence to opposing counsel re proposed 90 day            0.10
               extension of dates'                                                  410.00/hr

         JG    Strategize re response to motion to extend dates                       0.20    NO CHARGE
                                                                                    410.00/hr

         JG    Revise retainer agreement per requests of potential expert, draft      0.20
               correspondence to Mark re same                                       410.00/hr

         BB    Review and analyze produced discovery to confirm completeness.         0.50
                                                                                    290.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23      Entered 07/21/23 10:58:50     Page 62 of 171
                                                                                                    Page      32
                                                                                       Hrs/Rate            Amount

1/10/2022 BB   Email to A. Kochis re discovery production.
                                                                                           0.10
                                                                                        290.00/hr

         JG    Call with opposing counsel re motion to extend dates                       0.20
                                                                                        410.00/hr

1/11/2022 BB   Review and analyze additional documents for discovery production.
                                                                                          0.80
                                                                                        290.00/hr

         JG    Exchange correspondence with opposing counsel re motion to
                                                                                          0.10
               extend dates
                                                                                        410.00/hr

         JG    Assist in drafting response to motion to extend dates                      0.20
                                                                                        410.00/hr

         BB    Phone call with J. Larsen re stipulation.
                                                                                          0.10
                                                                                        290.00/hr

         BB    Review and analyze stipulation to extend.                                  0.20
                                                                                        290.00/hr

         BB    Review and analyze discovery requests and potential supplemental           0.50
               documents.                                                               290.00/hr

         BB    Phone call with JKG regarding response.
                                                                                          0.20    NO CHARGE
                                                                                        290.00/hr

1/12/2022 JG   Review correspondences from opposing counsel re                            0.20
               supplementation to discovery, review documents at issue as               410.00/hr
               attachments not produced

         JG    Draft correspondence to potential expert with re retainer letter           0.10
               revised                                                                  410.00/hr

         JG    Exchange correspondence with expert re retainer agreement, draft
                                                                                          0.10
               correspondence to Mark re same                                           410.00/hr

         BB    Draft response to motion to extend dates.                                  1.50
                                                                                        290.00/hr

         JG    Review and revise motion to retain expert                                  0.30
                                                                                        410.00/hr

         JG    Review and suggest revisions to response to motion to extend dates         0.20
                                                                                        410.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23           Entered 07/21/23 10:58:50    Page 63 of 171
                                                                                                       Page      33
                                                                                          Hrs/ Rate           Amount
1/12/2022 JG   Call with opposing counsel re extending dates
                                                                                              0.10
                                                                                           410.00/hr

         KH    Draft revisions to Response to Motion to Compel extension of
                                                                                              2.20
               discovery dates.
                                                                                           360.00/hr

1/13/2022 JG   Strategize re reply briefs re motions for spoliation instruction and for
                                                                                             0.10    NO CHARGE
               possession pending final judgment
                                                                                           410.00/hr

         JG    Draft proposed order re motion to extend dates
                                                                                             0.30
                                                                                           410.00/hr

1/14/2022 JG   Strategize re analysis of discovery requests
                                                                                             0.20    NO CHARGE
                                                                                           410.00/hr

         KH    Attend to discovery, expert, case strategy and next steps.
                                                                                             0.30
                                                                                           360.00/hr

         JG    Strategize re response to motion for spoliation presumption and
                                                                                              0.30
               assist in drafting reply
                                                                                           410.00/hr

         JG    Call with Mark re various issues
                                                                                              0.20
                                                                                           410.00/hr

         JG    Review and revise proposed order re motion to extend dates, draft
                                                                                              0.20
               correspondence to opposing counsel re same
                                                                                           410.00/hr

         BB    Review and analyze responses to Motions for Spoliation and
                                                                                             1.10
               Possession.
                                                                                           290.00/hr

         JG    Exchange correspondence with Mark re motion for possession
                                                                                             0.10
               pending judgment
                                                                                           410.00/hr

         JG    Exchange correspondence with opposing counsel re proposed
                                                                                              0.10
               resolution to motion to extend, also supplementation of interrogatory       410.00/hr
               7

         JG    Review correspondence from opposing counsel re supplemental
                                                                                             0.10
               production and follow up re same
                                                                                           410.00/hr

         BB    Draft supplemental interrogatory responses.
                                                                                             0.40
                                                                                           290.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50          Page 64 of 171
                                                                                                  Page      34
                                                                                     Hrs/Rate            Amount

1/14/2022 JG   Preparation for hearing re motion to extend dates, hearing on            2.20
               motion to compel, motion to extend dates                               410.00/hr

         JG    Review and revise supplemental answer to interrogatory 7
                                                                                        0.10
                                                                                      410.00/hr

1/16/2022 JG   Review and revise motion to hire Kuperwasser, order, declaration,        0.70
               draft correspondence to Kuperwasser re same                            410.00/hr

         JG    Review proposed order re motion to extend dates, draft                   0.10
               correspondence to Anthony re same                                      410.00/hr

1/17/2022 JG   Review responses to motions for possession pending final                  1.90
               judgment and spoliation, review exhibits, review complaint and         410.00/hr
               original motions, strategize re replies

         JG    Assist in drafting verification of interrogatory                         0.20      NO CHARGE
                                                                                      410.00/hr

         BB    Review response to spoliation motion and next steps.                     0.40
                                                                                      290.00/hr

         JG    Strategy conference re motion for spoliation, motion for possession      0.90
               pending judgment                                                       410.00/hr

         BB    Conference with K. Hillary and J. Grekin re spoliation motion and        1.00      NO CHARGE
               next steps.
                                                                                      290.00/hr

         KH    Call with Joe and Brandi re: information needed for response in          0.90    NO CHARGE
               support of Spoiliation motion.                                         360.00/hr

         KH    Receive and review response to spoliation motion.                        0.90
                                                                                      360.00/hr

         KH    Call with John Leone re: negotiations with Zeidman's re: ECG green       0.50
               diamond.                                                               360.00/hr

         JG    Review and revise supplemental response to interrogatory #7              0.20
                                                                                      410.00/hr

         JG    Call with Charles Kuperwasser re application to retain expert            0.20
                                                                                      410.00/hr




   19-56239-lsg      Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 65 of 171
                                                                                                      Page      35
                                                                                         Hrs/Rate            Amount

1/17/2022 JG       Exchange correspondence with Kuperwasser re application to
                                                                                            0.10
                   employ, draft correspondence to Mark re supplemental response          410.00/hr

         KH        Follow up call with Joe Leone re: Zeidman's demand for trustee           0.40
                   release.                                                               360.00/hr

         KH        Email to client re: Zeidman's demand that trustee release claims.        0.20
                                                                                          360.00/hr

         KH        Review various email correspondence relating to Zeidman's                0.70
               .   knowledge of T rustee's claims to pawned jewelry.                      360.00/hr

         JG        Review correspondence from Mark, draft return, re knowledge of           0.10    NO CHARGE
                   Zeidman's                                                              410.00/hr

1/18/2022 JG       Draft correspondence to Ryan Heilman re motion for adverse               0.10
                   inference                                                              410.00/hr

         KH        Call with John Leone and receive and review follow up email in lieu      0.20
                   of subpoena re: Ziedman's demand for Trustee release in                360.00/hr
                   connection with green diamond.

         KH        Review proofs of Zeidman's demand for trustee release in                 0.20
                   connection with green diamond.                                         360.00/hr

         JG        Call with Ryan Heilman and Bill Noble re response to spoliation          0.60
                   motion                                                                 410.00/hr

         JG        Strategize re possible support re knowledge of Zeidman's re trustee      0.80    NO CHARGE
                   pursuing claims                                                        410.00/hr

         KH        Review proofs related to spoliation.                                     0.90
                                                                                          360.00/hr

         BB        Conference with JKG regarding factual development of reply to            0.10
                   spoliation motion.                                                     290.00/hr

1/19/2022 JG       Correspondence to opposing counsel re supplemental response to           0.10
                   interrogatory 7                                                        410.00/hr

         JG        Review various correspondences re reply brief re motion re               0.10
                   spoliation                                                             410.00/hr




   19-56239-lsg          Doc 307      Filed 07/21/23      Entered 07/21/23 10:58:50       Page 66 of 171
                                                                                                     Page      36

                                                                                        Hrs/Rate            Amount

1/19/2022 JG   Exchange correspondence with opposing counsel re supplemental               0.10
               response to interrogatory 7                                               410.00/hr

          BB   Finalize motion to employ Kuperwasser.                                      0.20
                                                                                         280.00/hr

         JG    Exchange correspondence with opposing counsel re interrogatory              0.10
               supplement 7                                                              410.00/hr

          BB   Research regarding service and notice requirements related to an            0.40    NO CHARGE
               application to employ.                                                    280.00/hr

         BB    Attention to application to employ Kuperwasser.                             1.00    NO CHARGE
                                                                                         280.00/hr

         JG    Draft reply brief re motion for possession pending final judgment           0.70
                                                                                         410.00/hr

         BB    Draft reply brief re spoliation motion.                                     2.80
                                                                                         290.00/hr

         NM    Attention to finalizing and filing application/exhibits and consent to      1.00
               employ expert witness, email filed documents to UST for review and        170.00/hr
               approval

1/20/2022 JG   Review order re motion to compel                                            0.10
                                                                                         410.00/hr

         JG    Draft reply brief re motion for possession                                  1.90
                                                                                         410.00/hr

         JG    Exchange correspondence with Ryan re reply brief                            0.20
                                                                                         410.00/hr

         JG    Attention to supplemental discovery responses                               0.20
                                                                                         410.00/hr

         BB    Draft reply to spoliation motion.                                           1.10
                                                                                         290.00/hr

1/21/2022 JG   Call with Ryan re Noble affidavit, follow up re same                        0.50
                                                                                         410.00/hr

         JG    Call with Kuperwasser re affidavit to support reply brief                   0.30
                                                                                         410.00/hr




    19-56239-lsg    Doc 307        Filed 07/21/23        Entered 07/21/23 10:58:50       Page 67 of 171
                                                                                                     Page      37
                                                                                        Hrs/Rate            Amount

1/21/2022 BB   Phone call with C. Kuperwasser.                                              0.20     NO CHARGE
                                                                                         290.00/hr

          BB   Draft affidavit of C. Kuperwasser.                                          0.50
                                                                                         290.00/hr

         JG    Draft correspondence to opposing counsel re supplement to                   0.10
               interrogatory 7                                                           410.00/hr

         JG    Strategize re reply brief and affidavits re spoliation motion               0.20    NO CHARGE
                                                                                         410.00/hr

         KH    Assist with drafting Affidavits in support of jewelry value and             0.70
               spoliation.                                                               360.00/hr

         BB    Continue drafting reply brief for motion re spoliation.                     5.50
                                                                                         290.00/hr

1/22/2022 JG   Draft reply brief re motion for possession                                  2.40
                                                                                         410.00/hr

         BB    Review and revise draft reply brief re spoliation motion.                   2.80
                                                                                         290.00/hr

1/23/2022 JG   Review and revise reply brief re spoliation motion, draft                   1.30
               correspondence to Ryan re affidavit                                       410.00/hr

         JG    Review and revise reply brief re motion for possession                      0.50
                                                                                         410.00/hr

         BB    Review and revise reply re spoliation motion with particular attention      1.10
               to necessary exhibits.                                                    290.00/hr

1/24/2022 JG   Research re reply re motion for possession pending final judgment,          0.60
               attention to exhibits and other details re reply brief re spoliation      410.00/hr
               motion

         JG    Exchange correspondence with Mark re insolvency issue                       0.10
                                                                                         410.00/hr

         JG    Strategize re Hillary affidavit, exhibits, reply briefs                     0.40    NO CHARGE
                                                                                         410.00/hr

         JG    Finalize reply brief, motion for possession                                 0.80
                                                                                         410.00/hr




   19-56239-lsg      Doc 307        Filed 07/21/23         Entered 07/21/23 10:58:50     Page 68 of 171
                                                                                                      Page      38

                                                                                         Hrs/Rate            Amount

1/24/2022 JG     Review correspondence from Ryan and Anthony re current status of           0.10
                 criminal proceedings                                                     410.00/hr

          JG     Finalize reply brief re spoliation motion, strategize re affidavit         0.50
                                                                                          410.00/hr

          BB     Review and revise reply re spoliation motion.                              1.20
                                                                                          290.00/hr

          KH     Draft Affidavit in support of Spoliation Motion.                           1.60
                                                                                          360.00/hr

          NM     Review email received from UST re: expert witness employment               0.20
                 and forward same to J KG for review                                      170.00/hr

          NM     Notarize spoliation brief for KKH                                          0.40    NO CHARGE
                                                                                          170.00/hr

1/25/2022 JG     Review correspondence from UST and direct answer to same,                  0.10
                 review correspondence from Mark                                          410.00/hr

          JG     Review correspondence from opposing counsel re assignment                  0.20
                 agreement, consignment agreement, review assignment agreement            410.00/hr

          BB     Email to UST re application to employ.                                     0.10
                                                                                          290.00/hr

1/26/2022 J SA   Assist NM in researching Rule 6003 related issues.                         0.30    NO CHARGE
                                                                                          345.00/hr

          BB     Phone call with Heidi from Foley re application to employ.                 0.10
                                                                                          290.00/hr

          NM     Research re: USCS Bankruptcy Rule 6003 re: expert witness                  0.90    NO CHARGE
                 employment                                                               170.00/hr

          NM     Finalize concurrence re: expert witness, file same and upload order        0.40
                 to judge                                                                 170.00/hr

1/27/2022 JG     Review notice re hearing re application to hire expert, strategize re      0.20
                 same                                                                     410.00/hr

          JG     Initial preparation for motion hearings - spoliation, possession           0.70
                                                                                          410.00/hr




    19-56239-lsg        Doc 307      Filed 07/21/23        Entered 07/21/23 10:58:50      Page 69 of 171
                                                                                                  Page      39
                                                                                     Hrs/Rate            Amount

1/27/2022 KH   Strategize re: hearing scheduled on App to Employ Expert.                0.20    NO CHARGE
                                                                                      360.00/hr

1/28/2022 JG   Review research re motion for spoliation                                 1.00
                                                                                      410.00/hr

         JG    Preparation for motion for spoliation                                    0.40    NO CHARGE
                                                                                      410.00/hr

         JG    Review objection to application to employ
                                                                                        0.20
                                                                                      410.00/hr

         JG    Review allegations in complaint and responses in answer re
                                                                                        0.10
               pawning of jewelry                                                     410.00/hr

         JG    Review correspondence from Zeidman's counsel re jewelry debtor           0.30
               pawned, matching with affidavit of Zeidman's and complaint             410.00/hr

         JG    Review affidavit supporting Zeldman's response to motion spoliation      0.40
                                                                                      410.00/hr

         BB    Research regarding standing of insolvent chapter 7 debtor to object      2.00
               to applications to employ.                                             290.00/hr

         BB    Review and analyze Debtor's objection to application to employ.          0.20
                                                                                      290.00/hr

         BB    Review and analyze Defendant's Answer, with particular attention to      0.40
               answers regarding pawn transactions.                                   290.00/hr

         BB    Review and analyze attachments to spoliation response.                   0.20
                                                                                      290.00/hr

         BB    Revise motion to employ Kuperwasser.                                     0.50
                                                                                      290.00/hr

         KH    Receive and review Foley's objection to application to employ            1.80
               expert. Prepare for and attend hearing on Application to Employ        360.00/hr
               Kupperwaser.

         KH    Review evidentiary support for pawn transactions instead of sales.       0.40
                                                                                      360.00/hr




   19-56239-lsg     Doc 307         Filed 07/21/23     Entered 07/21/23 10:58:50      Page 70 of 171
                                                                                                  Page      40
                                                                                     Hrs/Rate            Amount

1/28/2022 JG   Preparation for hearings on spoliation motion, motion for
                                                                                        1.60
               possession, also assist re application to employ                       410.00/hr

         JG    Hearing re application to employ, motions for possession and
                                                                                        3.60
               adverse inference                                                      410.00/hr

         JG    Strategize re outcomes of motions for possession and for adverse         0.30    NO CHARGE
               inference                                                              410.00/hr

         JG    Call Mark re results of hearings, next steps                             0.30
                                                                                      410.00/hr

1/30/2022 JG   Strategize re results of hearings                                        0.10    NO CHARGE
                                                                                      410.00/hr

         JG    Review notices related to hearings on motions for possession and         0.10
               spoliation, application to employ, draft correspondence to opposing    410.00/hr
               counsel re scheduling issue

         JG    Exchange correspondence with opposing counsel re various issues          0.10
                                                                                      410.00/hr

1/31/2022 JG   Attention to scheduling issues                                           0.10    NO CHARGE
                                                                                      410.00/hr

         JG    Attention to post-motion organization                                    0.10    NO CHARGE
                                                                                      410.00/hr

         JG    Draft order re application to retain Kuperwasser                         0.10
                                                                                      410.00/hr

         JG    Draft notes re safekeeping protocol and discovery issues re              0.60
               spoliation                                                             410.00/hr

         JG    Strategize re settlement approach                                        0.20
                                                                                      410.00/hr

         JG    Call with judge's clerk re mis-scheduling of scheduling conference       0.10
                                                                                      410.00/hr

         JG    Call with expert witness and follow up re order re application to        0.30
               employ                                                                 410.00/hr

         JG    Call with Ryan Heilman re various issues                                 0.40
                                                                                      410.00/hr




   19-56239-lsg      Doc 307      Filed 07/21/23        Entered 07/21/23 10:58:50     Page 71 of 171
                                                                                                      Page      41
                                                                                         Hrs/Rate            Amount

1/31/2022 DJW   Internal settlement approach strategy
                                                                                            0.40
                                                                                          590.00/hr

         KH     Draft revised language to order granting Application to Employ              0.40
                expert.                                                                   360.00/hr

2/1/2022 BB     Review and analyze chart of closed pawn tickets as compared to              0.50
                the Noble Jewelry.                                                        290.00/hr

         BB     Conference with J. Grekin and K. Hillary regarding discovery and            0.80    NO CHARGE
                next steps.                                                               290.00/hr

        JG      Meeting re spoliation contested matter and related issues                   0.80
                                                                                          410.00/hr

        BB      Review and compile documents to be reviewed by C. Kuperwasser.              0.80
                                                                                          290.00/hr

        KH      Meet with Brandi and Joe re: discovery issues and action items.
                                                                                            0.80    NO CHARGE
                                                                                          360.00/hr

        BB      Review and revise proposed order granting Kuperwasser                       0.50
                application.                                                              290.00/hr

        BB      Email to UST re Kuperwasser application.                                    0.10
                                                                                          290.00/hr

2/2/2022 BB     Email to UST regarding consent for employment order.                        0.10
                                                                                          290.00/hr

        JG      Review correspondence from opposing counsel re safekeeping                  0.40
                protocol and scheduling issues re 26 f, draft response                    410.00/hr

        JG      Call with opposing counsel re 26f report re spoliation issues, related      0.80
                issues, safety protocol                                                   410.00/hr

        JG      Revise 26f report per call with opposing counsel                            0.20
                                                                                          410.00/hr

        KH      Begin researching Spoliation standard.                                      1.90
                                                                                          360.00/hr

2/3/2022 JG     Draft subpoena and attachments to Noble                                     0.20
                                                                                          410.00/hr




   19-56239-lsg      Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50        Page 72 of 171
                                                                                                Page      42

                                                                                   Hrs/Rate            Amount

2/3/2022 JG   Review filing re Kuperwasser, draft correspondence to opposing
                                                                                      0.10
              counsel re 26f report                                                 410.00/hr

        JG    Review and revise subpoena to Noble                                     0.10
                                                                                    410.00/hr

        JG    Finalize subpoena, draft correspondence to Heilman re same               0.10
                                                                                    410.00/hr

        BB    Review and analyze documents turned over in discovery.                  1.00
                                                                                    290.00/hr

2/4/2022 JG   Exchange correspondence with expert re documents to review, next        0.10
              steps                                                                 410.00/hr

        JG    Draft correspondence to Kuperwasser re order appointing, draft          0.10
              correspondence to Mark re executing agreement for Kuperwasser         410.00/hr

        JG    Draft discovery requests re spoliation                                  2.00
                                                                                    410.00/hr

2/5/2022 JG   Review correspondence from opposing counsel re various issues,          0.30
              draft return, review proposed changes to 26 f report re spoliation    410.00/hr
              issues, propose revisions to opposing counsel

2/6/2022 JG   Review supplemental discovery produced by opposing counsel              0.20
                                                                                    410.00/hr

2/7/2022 JG   Review correspondence from opposing counsel, review document            0.60
              requests, interrogatories, order compelling, draft response           410.00/hr

        JG    Exchange correspondence with opposing counsel re various issues         0.10
                                                                                    410.00/hr

        JG    Exchange correspondence with opposing counsel re 26f report,            0.20
              modify same re correspondence exchange and file same                  410.00/hr

        KH    Strategize with Joe Grekin and Brandi Dobbs re: Eli M. release          0.20
              information.                                                          360.00/hr

        JG    Strategize re approach to ECG                                           0.20    NO CHARGE
                                                                                    410.00/hr




  19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 73 of 171
                                                                                                 Page      43
                                                                                    Hrs/Rate            Amount

 2/7/2022 JG   Call with Mark re various issues including mediation and jewelry        0.20
               protocol                                                              410.00/hr

         JG    Draft correspondence to opposing counsel re jewelry protocol            0.10
                                                                                     410.00/hr

 2/8/2022 JG   Preparation for call with opposing counsel re jewelry protocol and      0.50
               discovery to Noble, call and follow up re additional subpoena to      410.00/hr
               Noble

         JG    Call with Heilman re various issues                                     0.40
                                                                                     410.00/hr

         JG    Exchange correspondence with Mark re ECG and with                       0.10
               Kuperwasser re document review                                        410.00/hr

 2/9/2022 JG   Review correspondence from Mark re ECG, follow up re need to            0.10
               subpoena                                                              410.00/hr

         JG    Draft subpoena to Noble                                                 0.20
                                                                                     410.00/hr

2/11/2022 JG   Review proposed order re motion for possession, draft proposed          0.30
               change, draft correspondence to Mark re same                          410.00/hr

         JG    Review and revise document requests and subpoena to Noble, call         0.40
               with Ryan re same                                                     410.00/hr

         JG    Review correspondence from Mark re proposed order, draft                0.10
               correspondence to opposing counsel re same                            410.00/hr

         JG    Draft correspondence to Ryan Heilman re second subpoena                 0.10
                                                                                     410.00/hr

         JG    Review correspondence from Mark re selling jewelry left in estate,      0.10
               draft correspondence to Charles re same                               410.00/hr

         JG    Review correspondence from Heilman and Noble responses to               0.10
               Zeldman's discovery requests                                          410.00/hr

         JG     Exchange correspondence with Mark and Charles re sale of small         0.20
               jewelry                                                               410.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50      Page 74 of 171
                                                                                                Page      44
                                                                                   Hrs/Rate            Amount

2/11/2022 JG   Exchange correspondence with opposing counsel re order re safety       0.10
               protocol, review changes made by opposing counsel
                                                                                    410.00/hr

         JG    Exchange correspondence with opposing counsel re wording of            0.10
               proposed order re safety protocol                                    410.00/hr

         KH    Brief review of proposed order resolving motion for possession
                                                                                      0.20
               pending final judgment.                                              360.00/hr

         JG    Strategize re discovery issues and next steps                          0.20
                                                                                    410.00/hr

         KH    Meet with Joe Grekin and Brandi Dobbs re: discovery and research       0.20    NO CHARGE
               update.
                                                                                    360.00/hr

2/14/2022 JG   Draft discovery requests re spoliation issue                           1.00
                                                                                    410.00/hr

         JG    Exchange correspondence with Anthony re proposed order re              0.10
               motion for possession                                                410.00/hr

         JG    Preparation for status conference                                      0.20
                                                                                    410.00/hr

         JG    Status conference re spoliation issue                                  1.60
                                                                                    410.00/hr

         JG    Review and revise order re possession motion, draft
                                                                                      0.10
               correspondence to Anthony re same                                    410.00/hr

         BB    Review and analyze supplemental document production..                  2.80
                                                                                    290.00/hr

2/15/2022 JG   Review notice re sentencing, draft correspondence to Mark re same
                                                                                      0.10
                                                                                    410.00/hr

         JG    Exchange correspondence with Mark re interview with Joe                0.10
               Dumouchelle, review correspondence from Mark to DuMouchelle's        410.00/hr
               lawyer

         JG    Review correspondence from Mark re interview with debtor, draft        0.10
               correspondence to debtor's counsel re same                           410.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50    Page 75 of 171
                                                                                                Page      45

                                                                                   Hrs/Rate            Amount

2/15/2022 JG   Exchange correspondence with counsel for Joe DuMouchelle re            0.10
               informal interview                                                   410.00/hr

         JG    Review correspondence re litigation funding, draft correspondence      0.10
               to Mark re same                                                      410.00/hr

         JG    Review and revise discovery requests re spoliation                     0.60
                                                                                    410.00/hr

         BB    Draft memorandum regarding analysis of supplemental document           1.00
               review.                                                              290.00/hr

         JG    Exchange correspondence with opposing counsel re 26f report            0.10
               amended                                                              410.00/hr

         JG    Review and revise proposed order resolving motion for possession       0.20
               and draft correspondence to Mark re same                             410.00/hr

         JG    Revise 26f report re spoliation issues per scheduling conference       0.20
                                                                                    410.00/hr

2/16/2022 JG   Review correspondence from Mark re order re motion for                 0.10
               possession, draft correspondence to opposing counsel re same         410.00/hr

         JG    Finalize discovery requests re spoliation                              0.10
                                                                                    410.00/hr

         JG    Review memoranda from Brandi re documents produced, chart of           0.30
               issues related to spoliation                                         410.00/hr

         JG    Zoom with Mark re various issues including status of DuMouchelle       0.30
               sentencing                                                           410.00/hr

         JG    Draft correspondence to counsel for DuMouchelle re informal            0.10
               meeting                                                              410.00/hr

2/17/2022 BB   Review and analyze documents produced for completeness.                1.50
                                                                                    290.00/hr

         JG    Call with Mark re scheduling DuMouchelle meeting, draft                0.10
               correspondence re same to counsel for DuMoucelle                     410.00/hr

         JG    Exchange correspondence with DuMouchelle counsel and schedule          0.10
               zoom meeting                                                         410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50    Page 76 of 171
                                                                                                 Page      46
                                                                                    Hrs/Rate            Amount

2/18/2022 JG   Review filings of discovery requests, due dates                         0.10
                                                                                     410.00/hr

         JG    Review correspondence from opposing counsel, review order re            0.20
               motion to possession and proposed changes, draft correspondence       410.00/hr
               to Mark re same

         JG    Exchange correspondence with Mark and opposing counsel re               0.10
               order re motion for possession                                        410.00/hr

         JG    Strategize re discovery issues, documents produced and not              0.20    NO CHARGE
               produced by Zeidman's                                                 410.00/hr

         BB    Additional review and analysis of discovery production.                 2.20
                                                                                     290.00/hr

2/19/2022 JG   Review supplemental discovery from Zeidman's, review                     0.50
               memoranda re discovery responses and missing items                    410.00/hr

         JG    Review and revise order, exchange correspondence with opposing           0.20
               counsel, re possession, cancelling status conference re same          410.00/hr

2/20/2022 JG   Exchange correspondence with opposing counsel re stipulated             0.10
               order, follow up re filing of same                                    410.00/hr

2/21/2022 JG   Attention to stipulation for order re possession                        0.10
                                                                                     410.00/hr

2/22/2022 JG   Strategize re documents produced, follow up and next steps              0.60      NO CHARGE
                                                                                     410.00/hr

         BB    Conference with J. Grekin re documents produced in discovery.           0.60
                                                                                     290.00/hr

2/24/2022 JG   Exchange correspondence with Charles re meeting, timing, next           0.10
               steps                                                                 410.00/hr

         BB    Conference with JKG and KH re meeting with DuMouchelle.                 0.50
                                                                                     290.00/hr

         JG    Preparation for call with DuMouchelle                                   0.90
                                                                                     410.00/hr




    19-56239-lsg       Doc 307    Filed 07/21/23        Entered 07/21/23 10:58:50    Page 77 of 171
                                                                                                 Page      47
                                                                                    Hrs/Rate            Amount

2/24/2022 BB   Review and analyze documents showing pictures of the Noble              0.30
               Jewelry.                                                              290.00/hr

          KH   Assist with preparation for call with J. DuMouchelle.                   0.40
                                                                                     360.00/hr

         JG    Zoom with DuMouchelle and counsel, Zoom with Mark                       2.00
                                                                                     410.00/hr

         KH    Discussion with Mark Shapiro, Joe Grekin and Brandi Dobbs re:           0.50    NO CHARGE
               nature of paymetn to Zeidmans and other issues. Follow up email       360.00/hr
               to Joe and Brandi re: information from Bank of America subpoena.

         BB    Meeting with J. DuMouchelle, M. Shapiro, and JKG.                       1.60    NO CHARGE
                                                                                     290.00/hr

         BB    Conference with JKG, KH, and M. Shapiro regarding next steps.           0.40    NO CHARGE
                                                                                     290.00/hr

2/25/2022 JG   Exchange correspondence with Charles                                    0.10
                                                                                     410.00/hr

         BB    Begin drafting affidavit of Joseph DuMouchelle.                         0.50
                                                                                     290.00/hr

         BB    Begin drafting additional discovery to Defendants.                      0.80
                                                                                     290.00/hr

2/26/2022 KH   Begin research re: Bene Esse depositions.                               0.50
                                                                                     360.00/hr

         KH    Continue spoliation research.                                           0.60      NO CHARGE
                                                                                     360.00/hr

         KH    Begin drafting discovery related to wire transfer.                      0.50
                                                                                     360.00/hr

         JG    Call with Charles re various issues - value, conclusions                1.70
                                                                                     410.00/hr

2/27/2022 JG   Exchange correspondence with Ryan Heilman re protective order           0.10
                                                                                     410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 78 of 171
                                                                                                  Page      48
                                                                                     Hrs/Rate            Amount

2/27/2022 JG   Review correspondence from Heilman re obtaining documents to             0.10
               produce from former counsel                                            410.00/hr

         JG    Exchange correspondence with opposing counsel re motion to sell          0.10
               property, draft correspondence to Mark re same                         410.00/hr

         BB    Phone call with JKG and C. Kuperwasser regarding expert analysis.        1.60    NO CHARGE
                                                                                      290.00/hr

2/28/2022 JG   Review correspondences from Mark and Anthony re motion to sell           0.10    NO CHARGE
                                                                                      410.00/hr

         JG    Initial review of discovery requests                                     0.10
                                                                                      410.00/hr

         JG    Strategize re drafting discovery requests and answering discovery        0.40    NO CHARGE
               requests of defendants'                                                410.00/hr

         KH    Attend to matters re: various issue related to discovery needing to      0.40
               be taken, and responding to Defendant's discovery.                     360.00/hr

         BB    Draft Affidavit of Joseph DuMouchelle.                                   1.80
                                                                                      290.00/hr

         JG    Research re spoliation standard                                          0.10
                                                                                      410.00/hr

         BB    Review and analyze produced documents with particular attention          1.50
               to radiant diamond rings identified in pleadings.                      290.00/hr

         BB    Phone call to R. Heilman regarding jewelry.                              0.10
                                                                                      290.00/hr

         JG    Exchange correspondence with opposing counsel re depositing              0.10
               property into lockbox                                                  410.00/hr

         BB    Draft discovery requests.                                                1.30
                                                                                      290.00/hr

3/1/2022 KH    Draft second set of discovery to Zeid mans.                              2.10
                                                                                      360.00/hr

         BB    Continue drafting additional discovery requests.                         1.00
                                                                                      290.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50     Page 79 of 171
                                                                                               Page      49

                                                                                  Hrs/Rate            Amount

3/1/2022 BB   Review and analyze second set of discovery requests to Zeidman's.      0.50
                                                                                   290.00/hr

         BB   Review emails from A. Kochis regarding whereabouts of one oval         0.10
              diamond ring.                                                        290.00/hr

        BB    Email to R.Hielman regarding radiant diamond ring.                     0.10
                                                                                   290.00/hr

        KH    Continue research re: case cited during oral argument regarding        0.40
              spoliation.                                                          360.00/hr

3/2/2022 KH   Continue research and discussion with Joe re: spoliation and           0.50
              identifiable party.                                                  360.00/hr

        JG    Exchange correspondence with opposing counsel re lockbox               0.10
                                                                                   410.00/hr

        BB    Review and revise additional discovery requests to defendants.         0.70
                                                                                   290.00/hr

3/3/2022 JG   Call with Mark re establishing lockbox for jewelry, exchange           0.20
              correspondence with Anthony re same                                  410.00/hr

        JG    Exchange correspondence with opposing counsel re lockbox               0.10
                                                                                   410.00/hr

3/4/2022 JG   Zoom meeting with Charles re various issues, preparation for same      1.30
                                                                                   410.00/hr

        BB    Conference with JKG and C. Kuperwasser.                                1.00
                                                                                   290.00/hr

        JG    Review files re produced documents                                     0.10    NO CHARGE
                                                                                   410.00/hr

3/7/2022 JG   Review information re wire transfer to Zeidman's                       0.20
                                                                                   410.00/hr

        JG    Exchange correspondence with Mark and llene re lockbox                 0.10
              information                                                          410.00/hr

        JG    Exchange correspondence with Mark re lockbox, follow up re same        0.10
                                                                                   410.00/hr




  19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50     Page 80 of 171
                                                                                                   Page      50

                                                                                      Hrs/Rate            Amount

3/7/2022 JG   Review research re de bene esse depositions                                0.10
                                                                                       410.00/hr

        KH    Finalize discovery to Zeidman's.                                            0.20
                                                                                       360.00/hr

        KH    Continue research re: De Bene Esse Depositions.                             1.50
                                                                                       360.00/hr

        BB    Review and revise discovery requests to defendants.                        1.30
                                                                                       290.00/hr

        JG    Review pre-sentencing report                                               0.20
                                                                                       410.00/hr

        JG    Meeting re various issues                                                  0.40
                                                                                       410.00/hr

        KH    Meet with Joe and Brandi re: case status, various issues, next steps.      0.40    NO CHARGE
                                                                                       360.00/hr

        BB    Conference with JKG and KH regarding various issues and next               0.40      NO CHARGE
              steps.
                                                                                       290.00/hr

3/8/2022 JG   Arrangements for lockbox                                                   0.10
                                                                                       410.00/hr

        JG    Strategize re settlement approaches                                        0.20      NO CHARGE
                                                                                       410.00/hr

        JG    Draft correspondence to Anthony re safe deposit box                        0.10
                                                                                       410.00/hr

        JG    Strategize re protective order                                             0.10    NO CHARGE
                                                                                       410.00/hr

        KH    Receive and review Protective Order drafted by Noble counsel,              1.90
              draft revisions, send same to Kochis for review.                         360.00/hr

        JG    Review notice re new trial dates                                           0.10
                                                                                       410.00/hr

        JG    Review scheduling order                                                    0.10
                                                                                       410.00/hr




  19-56239-lsg     Doc 307       Filed 07/21/23      Entered 07/21/23 10:58:50         Page 81 of 171
                                                                                                  Page      51
                                                                                     Hrs/Rate            Amount

 3/8/2022 DJW   Strategize settlement approaches
                                                                                        0.50
                                                                                      590.00/hr

 3/9/2022 JG    Review correspondence from Charles re time, follow up re same           0.20
                                                                                      410.00/hr

         JG     Strategize re responses to requests to admit
                                                                                        0.10
                                                                                      410.00/hr

         KH     Begin answering Defendant's Second Interrogatories and RTP and          2.20
                First Request to Admit.                                               360.00/hr

         KH     Begin drafting correspondence to Ryan Heilman re: information           1.40
                needed in response to Zeldman's requests to admit.                    360.00/hr

         JG     Strategize re response to requests to admit                             0.10    NO CHARGE
                                                                                      410.00/hr

         JG     Assist in drafting discovery responses                                  0.20
                                                                                      410.00/hr

3/10/2022 JG    Exchange correspondence with opposing counsel re safety deposit         0.10
                box                                                                   410.00/hr

         JG     Exchange correspondence with opposing counsel re discovery              0.10
                responses and safety deposit box                                      410.00/hr

         JG     Review and revise proposed affidavit of Joe DuMouchelle                 0.20
                                                                                      410.00/hr

         KH     Receive and review Kochis changes to Protective Order.                  0.20
                                                                                      360.00/hr

         KH     Draft email to Kochis and seperate email to Ryan Heilman and            0.20
                Kochis re; revisions to protective order.                             360.00/hr

         JG     Call with Mark's office and arrangements for paying retainer to         0.10
                Kuperwasser                                                           410.00/hr

         JG     Review correspondence from Mark's office, call re Kuperwasser           0.10
                fees and retainer                                                     410.00/hr

         BB     Communication with opposing counsel regarding discovery                 0.10
                requests.                                                             290.00/hr




   19-56239-lsg      Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 82 of 171
                                                                                                   Page      52
                                                                                      Hrs/Rate            Amount

3/10/2022 BB   Communications with opposing counsel regarding setting up a               0.10
               safety deposit box.                                                     290.00/hr

3/11/2022 JG   Review various correspondences and strategize re safety deposit           0.10
               box                                                                     410.00/hr

         KH    Finalize research and begin drafting Motion for Bene Esse                 3.60
               Depositions.                                                            360.00/hr

         DJW   Review case status and consideration of settlement approaches             0.30
                                                                                       590.00/hr

3/12/2022 JG   Draft responses to requests to admit re motion for spoliation             0.30
                                                                                       410.00/hr

         JG    Review documents re answers to interrogatories re spoliation              0.60
                                                                                       410.00/hr

         BB    Communications with JKG regarding various discovery items.                0.10
                                                                                       290.00/hr

3/13/2022 JG   Strategize re responses to discovery requests                             0.10    NO CHARGE
                                                                                       410.00/hr

3/14/2022 BB   Review and analyze requests to admit related to GIA reports of            0.20
               Noble Jewelry items.                                                    290.00/hr

         KH    Email to and from Joe Grekin re: Zeldman's notice of motion to            0.20
               compromise with Noble and claims against Zeidmans.                      360.00/hr

3/15/2022 JG   Strategize re putting jewelry into safety deposit box, procedure and      0.10    NO CHARGE
               follow up                                                               410.00/hr

         KH    Continue drafting responses to interrogatories, including                 1.90
               identification of responsive documents.                                 360.00/hr

         JG    Review correspondences between Noble counsel and Zeidman's                0.10
               counsel re proposed protective order                                    410.00/hr

         JG    Review and revise responses to discovery                                  0.40
                                                                                       410.00/hr

         BB    Conference with JKG regarding case status and next steps.                 0.10
                                                                                       290.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50       Page 83 of 171
                                                                                                   Page      53
                                                                                      Hrs/Rate            Amount

3/16/2022 BB   Prepare for visit to bank.                                                0.30
                                                                                       290.00/hr

         BB    Travel to and from bank.                                                  0.60
                                                                                       290.00/hr

         BB    Meeting at Fifth Third Bank re safety deposit box.                        1.00
                                                                                       290.00/hr

3/17/2022 KH   Finalize responses to First Request to Admit and Second                   5.30
               Interrogatories.                                                        360.00/hr

         KH    Call with Ryan Heilman re: Noble answers to request to admit letter.      0.20
                                                                                       360.00/hr

         BB    Attention to case status and next steps.                                  0.10    NO CHARGE
                                                                                       290.00/hr

         JG    Strategize re responses to discovery                                      0.20    NO CHARGE
                                                                                       410.00/hr

3/18/2022 BB   REview and analyze requests to produce documents.                         0.80
                                                                                       290.00/hr

         BB    Review and analyze opposing counsel's meet and confer letter.             0.10
                                                                                       290.00/hr

         BB    Review and analyze frbp and local rules regarding requirements re         0.20
               discovery responses.                                                    290.00/hr

3/19/2022 BB   Begin drafting responses to Defendant's second requests for               1.40
               production of documents.                                                290.00/hr

         JG    Exchange correspondence with opposing counsel re expert's report,         0.10
               draft correspondence to Mark re same                                    410.00/hr

         JG    Review correspondence from opposing counsel demanding revision            0.10
               of discovery answers, draft correspondence to Ryan re same              410.00/hr

         JG    Review research re spoliation standard                                    0.20
                                                                                       410.00/hr

3/20/2022 BB   Communication to JKG regarding case status and next steps.                0.20
                                                                                       290.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50      Page 84 of 171
                                                                                               Page      54

                                                                                  Hrs/Rate            Amount

3/21/2022 JG   Exchange correspondence with Ryan re Anthony's demand letter re        0.10
               requests to admit                                                   410.00/hr

          JG   Strategize re various issues                                          0.10    NO CHARGE
                                                                                   410.00/hr

          JG   Call with Ryan re subpoena for documents re ownership                 0.20
                                                                                   410.00/hr

          BB   Phone call with R. Heilman.                                           0.20    NO CHARGE
                                                                                   290.00/hr

          KH   Review and provide comment to responses to RTP.                       0.70
                                                                                   360.00/hr

         JG    Strategize re responses to interrogatories and doc requests
                                                                                     0.10    NO CHARGE
                                                                                   410.00/hr

         BB    Finalize responses to discovery.                                      2.40
                                                                                   290.00/hr

         JG    Exchange correspondence with opposing counsel re expert report        0.10
               due dates                                                           410.00/hr

3/22/2022 JG   Review correspondences from opposing counsel re expert report         0.40
               adjournment and proposed order, strategize re same, mediation       410.00/hr

         JG    Review and revise subpoena to Noble                                   0.10
                                                                                   410.00/hr

         JG    Call with Mark re approach for mediation                              0.10
                                                                                   410.00/hr

         BB    Communication with opposing counsel regarding bank appointment.       0.10
                                                                                   290.00/hr

         BB    Communication with opposing counsel regarding verified                0.10
               interrogatories.                                                    290.00/hr

         BB    Draft subpoena to Noble.                                              1.00
                                                                                   290.00/hr

3/23/2022 JG   Draft responses to spoliation discovery requests                      2.30
                                                                                   410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23      Entered 07/21/23 10:58:50    Page 85 of 171
                                                                                                     Page      55

                                                                                        Hrs/Rate            Amount

3/23/2022 KH    Assist to draft responses to spoliation discovery re: sentencing           0.70
                adjournments and interest in Noble Jewelry.                              360.00/hr

         JG    ’ Initial review of discovery responses and documents produced
                                                                                           0.20
                                                                                         410.00/hr

         BB     Draft response to meet and confer letter.                                  3.60
                                                                                         290.00/hr

         JG     Draft responses to requests to produce re spoliation, review and           1.00
                revise responses to requests to admit                                    410.00/hr

         BB     Draft verification of discovery requests.                                  0.20
                                                                                         290.00/hr

3/24/2022 JG    Exchange correspondence with expert re responses to discovery              0.10
                requests                                                                 410.00/hr

         BB     Review verification requirement for interrogatories in federal court.      0.20
                                                                                         290.00/hr

         JG     Draft responses to requests to admit and document requests re              0.60
                spoliation                                                               410.00/hr

         BB     Review and analyze documents potentially responsive to requests            0.70
                for production.                                                          290.00/hr

         JG     Review notice re status conference                                         0.10      NO CHARGE
                                                                                         410.00/hr

         BB     Finalize verification of responses to interrogatories and send to          0.20
                opposing counsel.                                                        290.00/hr

         JG     Initiate review of criminal docket                                         0.10    NO CHARGE
                                                                                         410.00/hr

         JG     Review and revised responses to discovery requests                         0.20
                                                                                         410.00/hr

         BB     Review and analyze criminal docket for relevant sentencing                 0.50
                information and deadlines.                                               290.00/hr

         BB     Review and analyze documents produced in discovery.                        1.00
                                                                                         290.00/hr




   19-56239-lsg      Doc 307       Filed 07/21/23           Entered 07/21/23 10:58:50    Page 86 of 171
                                                                                                 Page      56
                                                                                    Hrs/Rate            Amount

3/24/2022 JG   Review joint submission to extend dates in criminal case, draft         0.30
               correspondence to opposing counsel re same                            410.00/hr

         JG    Initial review of documents produced in discovery and organization
                                                                                        0.30     NO CHARGE
               of same                                                               410.00/hr

         JG    Review and revise responses to interrogatories, responses to            0.40
               document requests                                                     410.00/hr

         JG    Call with Ryan Heilman re responses to discovery requests, other        0.40
               issues                                                                410.00/hr

         JG    Test organization for review of documents produced by defendants        0.10    NO CHARGE
                                                                                     410.00/hr

3/25/2022 JG   Review and revise correspondence to opposing counsel re                 0.20
               ownership interest of Noble                                           410.00/hr

         JG    Review and revise interrogatory responses per Mark's comments,          1.00
               draft correspondence to Mark re same, review and revise               410.00/hr
               responses to requests to admit and document requests, all related
               to spoliation motion

         BB    Review and analyze documents responsive to request for                  1.00
               production.                                                           290.00/hr

         JG    Finalize responses to discovery requests                                0.10
                                                                                     410.00/hr

         BB    Review and revise response to letter regarding second set of            0.70
               discovery responses.                                                  290.00/hr

         BB    Email to J. Larson re affidavit of Joseph DuMouchelle.                  0.10
                                                                                     290.00/hr

         JG    Review and revise response to meet and confer letters                   0.20
                                                                                     410.00/hr

         BB    Review and finalize response to opposing counsel's meet and             0.20
               confer letter.                                                        290.00/hr

         BB    Travel to and meet at bank with opposing counsel and Zeldman's to       0.80
               deposit Noble Jewelry.                                                290.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23      Entered 07/21/23 10:58:50      Page 87 of 171
                                                                                                  Page      57

                                                                                     Hrs/Rate            Amount

3/28/2022 JG   Review correspondence from Mark re ECG responding to doc                 0.20
               requests, call with Mark re same
                                                                                      410.00/hr

         BB    Phone call with JKG regarding document requests to ECG,                  0.10
                                                                                      290.00/hr

         BB    Phone call with JKG regarding subpoena.                                  0.10
                                                                                      290.00/hr

         BB    Phone call with M. Shapiro regarding status of requests to ECG.          0.10
                                                                                      290.00/hr

         BB    Review and analyze various documents regarding ECG and                   0.30
               document requests thereto.                                             290.00/hr

         BB    Various emails to M. Shapiro regarding documents sought from             0.20
               ECG.                                                                   290.00/hr

3/29/2022 JG   Review correspondence re DuMouchelle's refusal to sign affidavit         0.10
               and draft response                                                     410.00/hr

3/31/2022 BB   Review and analyze jewelry placed into safe deposit box as               0.80
               compared to discovery responses.                                       290.00/hr

4/2/2022 JG    Review order re sale of certain jewelry, review pictures of jewelry      0.10
               placed in escrow                                                       410.00/hr

         JG    Exchange correspondence with Mark re ECG failure to produce              0.10
               documents                                                              410.00/hr

4/3/2022 JG    Exchange correspondence with opposing counsel re mediation and           0.10
               dates, draft correspondence to Mark re same                            410.00/hr

         JG    Exchange correspondence with DuMouchelle's counsel re affidavit          0.10
               request                                                                410.00/hr

         JG    Exchange correspondence with Mark re mediation and adjourning            0.10
               dates, draft correspondence to opposing counsel re same                410.00/hr

4/4/2022 JG    Exchange correspondence with DuMouchelle's lawyer re affidavit,          0.10
               call re same                                                           410.00/hr

         JG    Review responses to discovery requests re spoliation motion              0.20
                                                                                      410.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50      Page 88 of 171
                                                                                                    Page      58
                                                                                       Hrs/Rate            Amount

 4/4/2022 JG   Strategize re discovery issues, negotiation of order adjourning dates       0.30     NO CHARGE
                                                                                        410.00/hr

         JG    Exchange correspondence with opposing counsel re order                     0.10
               adjourning dates                                                         410.00/hr

         BB    Strategize with JKG regarding current status and next steps.               0.30    NO CHARGE
                                                                                        290.00/hr

 4/5/2022 JG   Call with counsel for DuMouchelle re affidavit                             0.20
                                                                                        410.00/hr

 4/6/2022 JG   Review and make proposed revisions to proposed order re                    0.30
               adjourning dates and mediation, draft correspondence to Mark re          410.00/hr
               same


         JG    Call with Mark re various issues, including stipulation for mediation       0.50
               and adjourning dates, hearings for sale of jewelry, use of expert at     410.00/hr
               mediation

         JG    Initial brief review of responses to discovery                             0.10
                                                                                        410.00/hr

4/12/2022 JG   Exchange correspondence with Charles re time records for March             0.10
                                                                                        410.00/hr

4/15/2022 JG   Exchange correspondence with opposing counsel re identity of               0.10
               mediator                                                                 410.00/hr

4/18/2022 JG   Review correspondence from opposing counsel re contacting                  0.10
               mediator and identity of mediator, draft correspondence to Mark re       410.00/hr
               same


         JG    Exchange correspondence with Mark and opposing counsel re                  0.10
               approach to Judge Randon                                                 410.00/hr

4/20/2022 JG   Exchange correspondence with opposing counsel re contacting                0.10
               mediator                                                                 410.00/hr

4/21/2022 JG   Call with Judge Randon's chambers, correspondence to Judge                 0.50
               Randon's clerk re request for Judge to mediate case                      410.00/hr

4/22/2022 JG   Call with Ryan re status update, mediation                                 0.10
                                                                                        410.00/hr




    19-56239-lsg      Doc 307     Filed 07/21/23        Entered 07/21/23 10:58:50       Page 89 of 171
                                                                                                     Page      59
                                                                                        Hrs/Rate            Amount

4/26/2022 JG   Exchange correspondence with opposing counsel re identity of                0.10
               mediator and contacting Judge Randon                                      410.00/hr

         JG    Call with Anthony to Judge Randon's chambers re mediation                   0.10
                                                                                         410.00/hr

         JG    Review subpoena from Zeidman's to Noble, draft correspondence               0.10
               to Mark re mediator identity                                              410.00/hr

4/27/2022 JG   Exchange correspondence with opposing counsel re proposed                   0.10
               mediator                                                                  410.00/hr

4/28/2022 JG   Draft correspondence to Anthony re mediators                                0.10
                                                                                         410.00/hr

         JG    Review correspondence from opposing counsel identifying potential           0.10
               mediator and follow up re same                                            410.00/hr

4/29/2022 JG   Exchange correspondence with potential mediator re conflict check           0.10
                                                                                         410.00/hr

         JG    Review correspondence from Anthony re proposed order re                     0.20
               mediator, review same, draft response                                     410.00/hr

         JG    Review correspondence from potential mediator re disclosures,               0.10
               draft response re same, scheduling initial call                           410.00/hr

4/30/2022 JG   Review correspondences from opposing counsel and mediator re                0.10
               initial mediation call and stipulation                                    410.00/hr

 5/9/2022 JG   Preparation for initial mediation call, call with opposing counsel and      0.90
               mediator re basic procedural posture and issues in the case,              410.00/hr
               mechanics of mediation, follow up correspondence to Mark and
               Charles re same

         JG    Review correspondence from opposing counsel re mediation and                0.20
               call with opposing counsel re same                                        410.00/hr

         JG    Exchange correspondence with Mark re mediation                              0.10
                                                                                         410.00/hr

         JG    Exchange correspondence with Kuperwasser re expert report for               0.10
               mediation                                                                 410.00/hr




    19-56239-lsg     Doc 307      Filed 07/21/23        Entered 07/21/23 10:58:50        Page 90 of 171
                                                                                                Page      60
                                                                                   Hrs/Rate            Amount

 5/9/2022 BB   Premediation phone call.                                               0.50    NO CHARGE
                                                                                    290.00/hr

          BB   Follow up phone call with JKG regarding premediation call.
                                                                                      0.10    NO CHARGE
                                                                                    290.00/hr

5/10/2022 JG   Review subpoena to Noble filed by Zeidman's                            0.10
                                                                                    410.00/hr

         JG    Exchange correspondence with opposing counsel re response of           0.10
               Noble to subpoenas                                                   410.00/hr

         JG    Exchange correspondence with Anthony re mediation, production          0.10
               by Noble                                                             410.00/hr

         JG    Exchange correspondence with mediator re engagement issues,            0.20
               review letters re same from mediator and draft correspondence to     410.00/hr
               Mark re same

         JG    Call with Mark re various issues pertaining to mediation'              0.30
                                                                                    410.00/hr

5/12/2022 JG   Call with Ryan Heilman re production of documents, mediation           0.20
                                                                                    410.00/hr

         JG    Exchange correspondence with Charles re expert report,                 0.10
               scheduling meeting                                                   410.00/hr

         JG    Call with opposing counsel re mediation details                        0.10
                                                                                    410.00/hr

         KH    Receive and review sentencing memorandum re: dispute over              0.20    NO CHARGE
               value of harm.                                                       360.00/hr

5/13/2022 JG   Exchange correspondence with mediator and opposing counsel re          0.10
               agreement on mediation details                                       410.00/hr

         JG    Review order re evidentiary hearing establishing loss range for        0.10
               DuMouchelle sentencing, draft correspondence to Mark re same         410.00/hr

         JG    Prepare for and call with Charles re expert report                     0.50
                                                                                    410.00/hr

         BB    Phone call with C. Kuperwasser regarding expert report.                0.30
                                                                                    290.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50    Page 91 of 171
                                                                                                Page      61

                                                                                   Hrs/Rate            Amount

5/15/2022 JG   Draft correspondence to opposing counsel re revising mediator          0.10
               order                                                                410.00/hr

5/17/2022 JG   Exchange correspondence with opposing counsel re consent to file       0.10
               motion to compel                                                     410.00/hr

5/18/2022 JG   Review proposed order and exchange correspondence with                 0.10
               opposing counsel re same                                             410.00/hr

         BB    Review and analyze motions to compel.                                  0.60
                                                                                    290.00/hr

5/20/2022 JG   Exchange correspondence with Anthony re stipulated order, briefly      0.10
               review filing                                                        410.00/hr

5/23/2022 JG   Strategize re motion to compel                                         0.10
                                                                                    410.00/hr

         BB    Attend to matters re: response date for motion to compel.              0.10
                                                                                    290.00/hr

5/24/2022 JG   Call w/Brandi and Kim re response to motion to compel                  0.50    NO CHARGE
                                                                                    410.00/hr

         JG    Review order re cap required for mediator fees, review proposed        0.10
               order re same and draft correspondence re same                       410.00/hr

         KH    Call with Brandi and Joe re: response to Motion to Compel and          0.50      NO CHARGE
               preparation for mediation.                                           360.00/hr

         BB    Strategize with J KG nd KH regarding motions to compel.                0.40    NO CHARGE
                                                                                    290.00/hr

5/26/2022 JG   Review amended order entered                                           0.10
                                                                                    410.00/hr

         KH    Call with Noble and Ryan.                                              0.70
                                                                                    360.00/hr

         JG    Assist in drafting response to motion to compel                        0.30
                                                                                    410.00/hr

         KH    Call with Ryan Heilman re: responses to Motion to Compel.              0.30
                                                                                    360.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50     Page 92 of 171
                                                                                                 Page      62
                                                                                    Hrs/Rate            Amount

5/26/2022 KH   continue drafting response to Zeidman's Motion to Compel.                4.20
                                                                                     360.00/hr

5/27/2022 KH   Review documents and information related to ownership of Noble          0.70
               Jewelry.                                                              360.00/hr

         KH    Continue research re: rights of bailee to recover for damages to        4.10
               property.                                                             360.00/hr

         BB    Review documents and confirm their production in discovery.             0.20
                                                                                     290.00/hr

5/31/2022 BB   Research regarding bailee's right to sue.                               2.10
                                                                                     290.00/hr

         JG    Review and revise response to motion to compel                          0.70
                                                                                     410.00/hr

         KH    Finalize and file response to Zeidman's Motion to Compel.               7.90
                                                                                     360.00/hr

6/1/2022 KH    Phone call with Kristie Tobin re: request for update on lawsuit         0.60
               against Zeidmans. Follow up email re: same.                           360.00/hr

         BB    Email to K. Tobin regarding jewelry placed in safe deposit box.         0.10
                                                                                     290.00/hr

6/2/2022 JG    Review brief in support of Joseph DuMouchelle's request for lower       0.40
               sentence, and exhibits thereto                                        410.00/hr

         JG    Review correspondence from litigation funder, draft correspondence      0.10
               to Mark re same                                                       410.00/hr

6/3/2022 JG    Review Kuperwasser invoice                                              0.20
                                                                                     410.00/hr

6/6/2022 JG    Exchange correspondence with Mark re possible financing                 0.10
                                                                                     410.00/hr

         JG    Review Noble's response to motion to compel                             0.10
                                                                                     410.00/hr

         JG    Review and revise invoice                                               0.20
                                                                                     410.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50     Page 93 of 171
                                                                                                 Page      63
                                                                                    Hrs/Rate            Amount

 6/6/2022 JG   Review notice of hearing re motions to compel                           0.10    NO CHARGE
                                                                                     410.00/hr

          KH   Call to court re: scheduling of hearing on Motion to Compel.            0.20
                                                                                     360.00/hr

          BB   Conference regarding hearing regarding motion to compel.                0.10
                                                                                     290.00/hr

 6/7/2022 JG   Exchange correspondence with Anthony re date of hearing                 0.10
                                                                                     410.00/hr

         BB    Begin drafting expert report.                                           2.80
                                                                                     290.00/hr

 6/8/2022 JG   Review and revise invoice, draft correspondence to Charles re same      0.20
                                                                                     410.00/hr

 6/9/2022 JG   Review correspondences from Anthony and Ryan re scheduling              0.10
               hearing on motions to compel                                          410.00/hr

         JG    Exchange correspondence with opposing counsel re scheduling             0.10
               hearing                                                               410.00/hr

         JG    Review government's brief re sentencing issues re Joseph                0.10
                                                                                     410.00/hr

6/10/2022 BB   Finish drafting template of expert report.                              2.80
                                                                                     290.00/hr

         BB    Review and analyze motion to adjourn.                                   0.10
                                                                                     290.00/hr

6/12/2022 JG   Review correspondence from opposing counsel, draft response re          0.10
               stipulation to move hearing                                           410.00/hr

6/14/2022 JG   Review and comment and suggest revisions to expert report               0.80
                                                                                     410.00/hr

         BB    Continue drafting expert report and next steps.                         0.30
                                                                                     290.00/hr

6/21/2022 JG   Review correspondence from Mark re request from DOJ, review             0.50
               documents re same, call with Mark re same                             410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 94 of 171
                                                                                                    Page      64
                                                                                       Hrs/Rate            Amount

6/21/2022 JG   Exchange correspondences with Karen Reynolds re various issues,             0.40
               review files re information requested by USA                             410.00/hr

          BB   Review and analyze reply re motion to compel.                              0.80
                                                                                        290.00/hr

6/22/2022 BB   Prepare for hearing regarding motion to compel.                             2.00
                                                                                        290.00/hr

6/23/2022 JG   Strategize re results of hearing                                           0.10
                                                                                        410.00/hr

          BB   Prepare for hearing.
                                                                                           1.00
                                                                                        290.00/hr

         BB    Attend hearing re motion to compel.                                        3.40
                                                                                        290.00/hr

6/26/2022 BB   Additional revision of expert report of C. Kuperwasser.                    2.10
                                                                                        290.00/hr

6/27/2022 JG   Review and revise expert report                                            1.20
                                                                                        410.00/hr

         BB    Review and analyze expert report and revise to include timelines for       1.40
               transfer of various stones.                                              290.00/hr

         JG    Review and finalize draft of expert report                                 0.10
                                                                                        410.00/hr

         JG    Draft correspondence to Charles and call with Charles re expert            0.20
               report                                                                   410.00/hr

         BB    Review and analyze stipulated order.                                       0.10
                                                                                        290.00/hr

         BB    Communication to A. Kochis re stipulated order.                            0.10
                                                                                        290.00/hr

6/28/2022 JG   Strategize re various issues, including preparation for mediation and      0.30
               preparation of expert's report                                           410.00/hr

         JG    Call with Ryan re mediation, expert report, setting up interview           0.30
                                                                                        410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50        Page 95 of 171
                                                                                                 Page      65

                                                                                    Hrs/Rate            Amount

6/28/2022 BB   Communication with J. Larson re scheduling a meeting with J.            0.20
               DuMouchelle and expert.                                               290.00/hr

         BB    Conference with JKG regarding mediation and next steps.                 0.10
                                                                                     290.00/hr

6/30/2022 JG   Attention to expert report and expert interviews                        0.10
                                                                                     410.00/hr

 7/5/2022 BB   Email to J. Larson regarding meeting with C. Kuperwasser.               0.10
                                                                                     290.00/hr

         BB    Email to R. Heilman regarding meeting with C. Kuperwasser.               0.10
                                                                                     290.00/hr

         BB    Reponse to email from J. Larson regarding meeting with C.               0.10
               Kuperwasser.                                                          290.00/hr

         BB    Email to C. Kuperwasser regarding expert report and next steps.         0.10
                                                                                     290.00/hr

         BB    Draft mediation brief.                                                  4.70
                                                                                     290.00/hr

7/6/2022 BB    Continue drafting mediation brief.                                      3.10
                                                                                     290.00/hr

         BB    Communications with R. Heilman re document production.                  0.10
                                                                                     290.00/hr

7/7/2022 BB    Email to R. Heilman regarding status of document production.            0.10
                                                                                     290.00/hr

         BB    Follow up email to R. Heilman regarding status of document              0.10
               production.                                                           290.00/hr

7/8/2022 BB    Email to R. Heilman regarding status of document production.            0.10
                                                                                     290.00/hr

         BB    Follow up email to R. Heilman regarding status of document              0.10
               production.                                                           290.00/hr

         BB    Phone calll to R. Heilman regarding status of document production.      0.10
                                                                                     290.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50     Page 96 of 171
                                                                                                  Page      66
                                                                                     Hrs/Rate            Amount

 7/8/2022 BB   Text messages to R. Heilman regarding status of document
                                                                                        0.10
               production.
                                                                                      290.00/hr

          BB   Phone call with R. Heilman regarding content of document                 0.10
               production.
                                                                                      290.00/hr

          BB   Email from A. Kochis regarding status of document production.
                                                                                        0.10
                                                                                      290.00/hr

          BB   Email to A. Kochis regarding status of document production.              0.10
                                                                                      290.00/hr

          BB   Draft motion to compel document production.
                                                                                        1.70
                                                                                      290.00/hr

          BB   Email to J. Larson re interview with C. Kuperwasser.
                                                                                        0.10
                                                                                      290.00/hr

          BB   Email to C. Kuperwasser re status of expert report.
                                                                                        0.10
                                                                                      290.00/hr

          BB   Begin reviewing documents produced by Noble with particular              1.00
               attention to documents evidencing Noble's interest in jewelry.
                                                                                      290.00/hr

          BB   Continue drafting mediation brief.
                                                                                        2.00
                                                                                      290.00/hr

7/10/2022 JG   Review Dumouchelle's request for adjournment of sentencing               0.10
               hearing                                                                410.00/hr

         JG    Review various correspondences                                           0.20      NO CHARGE
                                                                                      410.00/hr

7/11/2022 JG   Strategize re preparation for mediation
                                                                                        0.10      NO CHARGE
                                                                                      410.00/hr

         BB    Finish drafting mediation brief.                                         3.30
                                                                                      290.00/hr

         BB    Continue reviewing documents produced by Noble, with particular          2.00
               attention to documents evidencing Noble's interest in the jewelry.
                                                                                      290.00/hr

7/12/2022 JG   Review correspondence re expert report and draft response                0.10
                                                                                      410.00/hr




    19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 97 of 171
                                                                                                 Page      67
                                                                                    Hrs/Rate            Amount

7/12/2022 JG   Strategize re expert report                                             0.10    NO CHARGE
                                                                                     410.00/hr

         JG    Review and revise mediation statement                                   1.10
                                                                                     410.00/hr

         JG    Attention to expert report and modifications                            0.10
                                                                                     410.00/hr

         JG    Review expert's changes to report, call with expert re same,            1.30
               additional changes                                                    410.00/hr

         BB    Continue reviewing documents produced by Noble with particular           4.20
               attention to any document showing Noble's interest in the jewelry.    290.00/hr

7/13/2022 JG   Review documents produced by Noble                                      0.20
                                                                                     410.00/hr

         KH    Receive, review and respond to emails from Brandi Dobbs and Joe         0.50    NO CHARGE
               Grekin re: issues spotted in discovery review.                        360.00/hr

         KH    Receive, review and respond to email from Kristie Tobin re: status      0.20
               update and mediation.                                                 360.00/hr

         KH    Brief review of Defendants Omnibus reply re: motion to compel for       0.30
               legal arguments related to conversion.                                360.00/hr

         KH    Assist with supplemental responses to discovery requests.               2.20
                                                                                     360.00/hr

         BB    Review and revise discovery responses.                                  5.60
                                                                                     290.00/hr

7/14/2022 KH   Receive and review pleadings from criminal case re: sentencing          0.50    NO CHARGE
               and possible delays.                                                  360.00/hr

7/15/2022 BB   Review and revise mediation brief.                                      5.20
                                                                                     290.00/hr

7/17/2022 JG   Review and revise mediation brief                                       2.40
                                                                                     410.00/hr

         JG    Review and revise mediation statement                                   1.20
                                                                                     410.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23      Entered 07/21/23 10:58:50      Page 98 of 171
                                                                                                  Page      68
                                                                                     Hrs/Rate            Amount

7/17/2022 JG   Review latest criminal filing - DuMouchelle's filing against lawyer      0.10
                                                                                      410.00/hr

7/18/2022 JG   Review and revise mediation brief
                                                                                        1.60
                                                                                      410.00/hr

         JG    Initial preparation for mediation, strategize re same                    0.30
                                                                                      410.00/hr

         JG    Exchange correspondence with Charles re mediation availability           0.10
                                                                                      410.00/hr

         JG    Call with Ryan re participation of Noble in mediation, draft             0.40
               correspondence to Ryan re same                                         410.00/hr

         BB    Review and revise mediation brief.                                       5.50
                                                                                      290.00/hr

         BB    Review exhibits to mediation brief.                                      0.20
                                                                                      290.00/hr

         JG    Review criminal pleadings re withdrawal of plea and sentencing           0.20
                                                                                      410.00/hr

         JG    Review correspondence from mediator re updated mediation letter,         0.10
               draft correspondence to Mark re same, draft correspondence to          410.00/hr
               Mark re mediation brief

7/19/2022 JG   Review DuMouchelle's request for new counsel                             0.10
                                                                                      410.00/hr

         JG    Review correspondence from mediator re briefs, conflicts, draft          0.10
               correspondence to Mark re same                                         410.00/hr

         JG    Strategize re Noble issues re mediation                                  0.70    NO CHARGE
                                                                                      410.00/hr

         JG    Review opposing party's mediation brief and strategize re same           0.70
                                                                                      410.00/hr

         JG    Exchange correspondence with Ryan re mediation                           0.10
                                                                                      410.00/hr

         JG    Meeting with Mark Shapiro preparing for mediation                        0.90
                                                                                      410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23         Entered 07/21/23 10:58:50    Page 99 of 171
                                                                                                 Page      69
                                                                                    Hrs/Rate            Amount

7/19/2022 BB    Attend premediation meeting with M. Shapiro and J. Grekin.
                                                                                       0.90
                                                                                     290.00/hr

          BB    Prepare for mediation.
                                                                                       2.50
                                                                                     290.00/hr

          JJS   Strategize with JKG re: mediation and 9019 issues re: Noble            0.60
                                                                                     390.00/hr

7/20/2022 KH    Review Zeidman’s response to Subpoenas to assist with mediation.
                                                                                       1.10
                Correspondence with Brandi Dobbs re: same.                           360.00/hr

         JG     Attend mediation
                                                                                       8.60
                                                                                     410.00/hr

          KH    Call with Joe Grekin re: settlement potential and strategy re:
                                                                                       0.40    NO CHARGE
                Zeldman's litigation.                                                360.00/hr

         BB     Attend mediation.
                                                                                       9.80    NO CHARGE
                                                                                     290.00/hr

7/21/2022 JG    Strategy conference re next steps, extending mediation                 1.00
                                                                                     410.00/hr

         JG     Strategize re next steps                                               0.30
                                                                                     410.00/hr

         JG     Call with mediator re next steps                                       0.20
                                                                                     410.00/hr

         BB     Conference with DJW and JKG regarding mediation, next steps.           1.30
                                                                                     290.00/hr

         DJW    Strategy conference with mediation yesterday, conduct, tone,           1.20
                dynamics, discussions, next steps, approaches going forward, etc.    590.00/hr

         DJW    Continued strategy conference re: next steps after first day of        0.30
                mediation                                                            590.00/hr

7/22/2022 JG    Strategize re next steps re settlement strategy                        0.20
                                                                                     410.00/hr

         JG     Call with Ryan and Kim re possible acquisition by Noble                0.60
                                                                                     410.00/hr




   19-56239-lsg      Doc 307        Filed 07/21/23     Entered 07/21/23 10:58:50    Page 100 of 171
                                                                                                 Page      70
                                                                                    Hrs/Rate            Amount

7/25/2022 JG   Call with mediator re next steps re settlement                          0.20
                                                                                     410.00/hr

         JG    Review opinion re DuMoucelle's criminal motions                         0.20
                                                                                     410.00/hr

         JG    Call with mediator re possible next steps                               0.20
                                                                                     410.00/hr

7/26/2022 JG   Review correspondences from Tobin asking for update on                  0.20
               mediation, draft response                                             410.00/hr

         JG    Call with counsel for ARK re mediation and related issues               0.60
                                                                                     410.00/hr

         JG    Review request for forfeiture judgment                                  0.10
                                                                                     410.00/hr

7/27/2022 JG   Review correspondences from Anthony and Todd, draft response            0.10
                                                                                     410.00/hr

         JG    Review meet and confer letter, new discovery                            0.30
                                                                                     410.00/hr

         JG    Review opinions in criminal case against JD, exchange                   0.40
               correspondences with Kristie re value of oval diamond ring            410.00/hr

         BB    Review and analyze meet and confer letter from A. Kochis.               0.10
                                                                                     290.00/hr

         BB    Review and analyze various orders regarding J. DuMouchelle's            0.70
               criminal case.                                                        290.00/hr

         JG    Call with Ryan re sentencing hearing                                    0.10
                                                                                     410.00/hr

7/28/2022 JG   Internal meeting re next steps after mediation                          0.50
                                                                                     410.00/hr

         KH    Meeting with Brandi and Joe re: discovery and case preparation.         0.50    NO CHARGE
                                                                                     360.00/hr

         JG     Review correspondence from opposing counsel re ownership of            0.10
               jewelry                                                               410.00/hr




   19-56239-lsg    Doc 307       Filed 07/21/23         Entered 07/21/23 10:58:50   Page 101 of 171
                                                                                                Page      71
                                                                                   Hrs/Rate            Amount

7/28/2022 JG   Review order granting amendment to forfeiture order                    0.10
                                                                                    410.00/hr

         JG    Review announcement re DuMouchelle sentencing, draft
                                                                                      0.10
               correspondence to Mark re same                                       410.00/hr

         JG    Draft correspondence to counsel for DuMouchelle re interview with      0.10
               expert                                                               410.00/hr

         JG    Call with Ryan re details and results of sentencing hearing            0.50
                                                                                    410.00/hr

         BB    Zoom meeting with JKG and KH regarding case status and next            0.50    NO CHARGE
               steps.                                                               290.00/hr

         BB    Email to R. Heilman regarding additional documents needed for          0.10
               discovery.                                                           290.00/hr

7/29/2022 JG   Call with Mark re sentencing of JD, subpoenaing documents from         0.50
               DOJ, continuing mediation efforts                                    410.00/hr

         JG    Exchange correspondence with counsel for JD re possible zoom           0.10
               meeting with Kuperwasser                                             410.00/hr

         BB    Review, analyze, and begin researching responses to Defendant's        1.00
               third set of interrogatories and related discovery requests.         290.00/hr

         BB    Phone call with R. Heilman and B. Noble regarding documents for        0.30
               production.                                                          290.00/hr

8/1/2022 JG    Review meet and confer letter from opposing counsel re ownership       0.20
               issue, strategize re same                                            410.00/hr

8/2/2022 JG    Call with Anthony and Todd re next steps in mediation, letter,         0.70
               mediation issues                                                     410.00/hr

         JG    Strategize re response to Anthony re ownership issues, meet and        0.20    NO CHARGE
               confer                                                               410.00/hr

         JG    Call with Mark re mediator call and follow up                          0.40
                                                                                    410.00/hr

         BB    Phone call with mediator, J. Grekin, and A. Kochis regarding           0.50    NO CHARGE
               settlement opportunities.                                            290.00/hr




   19-56239-lsg    Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50    Page 102 of 171
                                                                                               Page      72
                                                                                  Hrs/Rate            Amount

 8/2/2022 BB   Email to B. Noble regarding need for documents.                        0.20
                                                                                   290.00/hr

          BB   Prepare for blackboard meeting regarding spoliation.                  1.90
                                                                                   290.00/hr

 8/3/2022 BB   Respond to meet and confer letter.                                    1.00
                                                                                   290.00/hr

 8/4/2022 JG   Meeting with Ryan re Noble, settlement, alternatives re going         0.90
               forward                                                             410.00/hr

          BB   Review and analyze documents for responsiveness to discovery          3.30
               requests.                                                           290.00/hr

 8/5/2022 KH   Email to and from Brandi Dobbs re: access to quickbooks to prove      0.20
               insolvency.                                                         360.00/hr

 8/8/2022 JG   Draft correspondence to mediator re scheduling zoom meeting           0.10
                                                                                   410.00/hr

          BB   Communication with B. Noble regarding additional documents for        0.10
               discovery.                                                          290.00/hr

         BB    Review and analyze additional documents for discovery.                0.60
                                                                                   290.00/hr

 8/9/2022 BB   Review and analyze litigation risk letter from T. Almassian.          1.00
                                                                                   290.00/hr

         JG    Strategize re insolvency issue, quickbooks                            0.30
                                                                                   410.00/hr

         JG    Strategize re settlement issues                                       0.20
                                                                                   410.00/hr

         BB    Conference regarding access to Debtor's quickbooks records.           0.30      NO CHARGE
                                                                                   290.00/hr

         BB    Phone call with A. Kochis regarding discovery, settlement.            0.40
                                                                                   290.00/hr

8/10/2022 JG   Response to inquiries from opposing counsel re requesting             0.10
               government documents                                                410.00/hr




   19-56239-lsg    Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50   Page 103 of 171
                                                                                               Page      73

                                                                                  Hrs/Rate            Amount

8/10/2022 JG   Prepare for and call with Todd re next steps, settlement issues       0.80
                                                                                   410.00/hr

          BB   Phone call with mediator regarding case status and potential           0.80
               avenues for settlement.                                             290.00/hr

8/14/2022 JG   Exchange correspondence with Charles re additional time to be         0.10
               billed, follow up re same                                           410.00/hr

8/15/2022 BB   Email to A. Kochis re settlement and documents held by                0.10
               government.                                                         290.00/hr

          BB   Email to P. Whitlow regarding documents showing ownership of          0.10
               engagement ring.                                                    290.00/hr

         BB    Review and analyze documents received from P. Whitlow regarding       0.20
               jewelry.                                                            290.00/hr

         BB    Phone call with A. Kochis regarding documents from the                0.10
               government and settlement.                                          290.00/hr

         BB    Prepare responses to discovery requests/                              5.60
                                                                                   290.00/hr

8/17/2022 JG   Strategize re settlement issues                                       0.10
                                                                                   410.00/hr

         BB    Email to P. Whitlow regarding settlement                              0.20
                                                                                   290.00/hr

         BB    Phone call from P. Whitlow regarding ownership of jewelry.            0.10
                                                                                   290.00/hr

         BB    Review and analyze insurance documents from Noble.                    0.50
                                                                                   290.00/hr

8/18/2022 JG   Strategize re discovery issues                                        0.10
                                                                                   410.00/hr

         BB    Email to A. Kochis regarding settlement.                              0.10
                                                                                   290.00/hr

8/21/2022 JG   Exchange correspondence with Heilman re possible affidavits from      0.20
               previous consignors                                                 410.00/hr




   19-56239-lsg    Doc 307       Filed 07/21/23      Entered 07/21/23 10:58:50    Page 104 of 171
                                                                                                  Page      74
                                                                                     Hrs/Rate            Amount

8/22/2022 JG   Call with opposing counsel re settlement                                 0.70
                                                                                      410.00/hr

         KH    Begin preparation of trial outline re: causes of action and proofs.      2.40
                                                                                      360.00/hr

         KH    Blackboard causes of action in preparation for continued discovery       2.10    NO CHARGE
               and trial.                                                             360.00/hr

         JG    Blackboard causes of action                                              2.10
                                                                                      410.00/hr

         BB    Email to A. Kochis re settlement.                                        0.10
                                                                                      290.00/hr

         BB    Blackboard claims and evidence supporting the same.                      2.10    NO CHARGE
                                                                                      290.00/hr

         BB    Phone call with A. Kochis re settlement.                                 0.80
                                                                                      290.00/hr

         BB    Analyze and outline claims related to spoliation of evidence.            1.90
                                                                                      290.00/hr

8/23/2022 JG   Exchange correspondence with mediator re progress on settlement          0.10
                                                                                      410.00/hr

         JG    Call with Pete Schneider re collecting on restitution                    0.30
                                                                                      410.00/hr

         JG    Call with Mark re settlement issues                                      0.30
                                                                                      410.00/hr

         KH    Research re: conversion damages and strict liability issues.             2.30
                                                                                      360.00/hr

         JG    Strategize re settlement                                                 1.00
                                                                                      410.00/hr

         BB    Prepare discovery responses and related documents for production.        4.80
                                                                                      290.00/hr

8/24/2022 BB   Draft response to Defendant's Third Request for Production.              0.40
                                                                                      290.00/hr




   19-56239-lsg     Doc 307      Filed 07/21/23        Entered 07/21/23 10:58:50     Page 105 of 171
                                                                                                 Page      75
                                                                                    Hrs/Rate            Amount

8/24/2022 BB   Draft Plaintiffs Second Supplemental Response to Defendant's            2.70
               First Request for Admissions and related Requests for Production.
                                                                                     290.00/hr

         JG    Review conversion research, and perform additional conversion           1.80
               research, review expert reports and value charts, draft settlement    410.00/hr
               correspondence for client's review

          BB   Email to P. Whitlow regarding status of affidavits.
                                                                                       0.10
                                                                                     290.00/hr

         BB    Email to R. Heilman regarding engagement ring.                          0.10
                                                                                     290.00/hr

8/25/2022 BB   Finalize discovery production.
                                                                                       0.80
                                                                                     290.00/hr

         JG    Preparation for and conversation with opposing counsel re               0.30
               settlement, draft correspondence to opposing counsel re same,         410.00/hr
               review correspondence from Mark re same

         JG    Review correspondence from Mark to USA Karen Reynolds re                0.10    NO CHARGE
               documents to produce re DuMouchelle
                                                                                     410.00/hr

         BB    Review email from M. Shapiro regarding government documents.            0.10
                                                                                     290.00/hr

8/26/2022 JG   Attention to responses to discovery                                     0.10
                                                                                     410.00/hr

         BB    Review and revise responses to discovery.                               0.50
                                                                                     290.00/hr

8/28/2022 JG   Exchange correspondence with opposing counsel re responses to           0.10
               discovery requests                                                    410.00/hr

8/29/2022 JG   Review and revise responses to discovery                                0.60
                                                                                     410.00/hr

         BB    Finalize discovery responses.                                           0.80
                                                                                     290.00/hr

         BB    Emial to A. Kochis re discovery responses.                              0.10
                                                                                     290.00/hr




   19-56239-lsg    Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 106 of 171
                                                                                                Page      76
                                                                                   Hrs/Rate            Amount

8/30/2022 BB   Email from M. Shapiro re interrogatories.                              0.10
                                                                                    290.00/hr

         BB    Email to M. Shapiro re verification.                                   0.10
                                                                                    290.00/hr

         BB    Email from T. Almassian re mediation.                                   0.10
                                                                                    290.00/hr

         BB    Email to A. Kochis re verification.                                    0.10
                                                                                    290.00/hr

         BB    Review and analyze verification.                                       0.10
                                                                                    290.00/hr

 9/1/2022 JG   Exchange correspondence with mediator re end of mediation and          0.10
               report                                                               410.00/hr

         JG    Review notice filed by mediator, draft correspondence to opposing      0.10
               counsel re response to settlement offer                              410.00/hr

 9/5/2022 JG   Exchange correspondence with Anthony re settlement                     0.10
                                                                                    410.00/hr

 9/6/2022 JG   Exchange correspondence with opposing counsel re settlement            0.10
                                                                                    410.00/hr

 9/7/2022 JG   Call with opposing counsel re settlement                               0.20
                                                                                    410.00/hr

 9/8/2022 JG   Call with Mark re Zeidman's counter-offer                              0.20
                                                                                    410.00/hr

9/12/2022 JG   Call with Mark re counteroffer                                         0.10
                                                                                    410.00/hr

9/13/2022 JG   Exchange correspondence with Anthony re counteroffer                   0.10
                                                                                    410.00/hr

         JG    Exchange correspondence with Mark re government documents              0.10
               from DuMouchelle                                                     410.00/hr

         JG    Call with opposing counsel re settlement offer                         0.30
                                                                                    410.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50    Page 107 of 171
                                                                                                   Page      77
                                                                                      Hrs/Rate            Amount

9/13/2022 JG   Strategize re settlement issues, allocation of risk                        0.70     NO CHARGE
                                                                                       410.00/hr

         JG    Call with Mark re obtaining documents from USA office, settlement          0.40
               issues                                                                  410.00/hr

         JG    Attention to documents held by government, information from docket         0.10
                                                                                       410.00/hr

9/14/2022 JG   Call with Anthony re new settlement offer                                  0.20
                                                                                       410.00/hr

9/16/2022 BB   Conference with JKG regarding status of settlement and next steps.        0.10
                                                                                       290.00/hr

         BB    Email to C. Kuperwasser regarding meeting at bank to review               0.10
               jewelry.                                                                290.00/hr

         BB    Email to A. Kochis regarding meeting at bank to review jewelry.           0.10
                                                                                       290.00/hr

9/19/2022 BB   Emails with C. Kuperwasser regarding examination of jewelry at            0.10
               bank.                                                                   290.00/hr

9/20/2022 JG   Review correspondences from Heilman re additional documents               0.10
               produced                                                                410.00/hr

9/22/2022 JG   Exchange correspondence with Mark re criminal docket entries,             0.10
               settlement status                                                       410.00/hr

         BB    Email to C. Kuperwasser confirming meeting.                               0.10
                                                                                       290.00/hr

9/23/2022 JG   Call with Charles re value of diamonds, time necessary to sell, etc.      0.40
                                                                                       410.00/hr

         BB    Attend meeting at bank to facilitate expert examination of jewelry.       0.80
                                                                                       290.00/hr

         BB    Review and analyze jewelry to send details to C. Kuperwasser.             0.50
                                                                                       290.00/hr

9/27/2022 JG   Call with Heilman re various issues                                       0.70
                                                                                       410.00/hr




   19-56239-lsg    Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50      Page 108 of 171
                                                                                                  Page      78
                                                                                     Hrs/Rate            Amount

 9/27/2022 JG   Exchange correspondence with opposing counsel re status of              0.10
                settlement negotiations                                               410.00/hr

 9/28/2022 JG   Exchange correspondence with Anthony re timing of settlement            0.20
                response, value of jewelry issue                                      410.00/hr

 10/1/2022 JG   Calls with Mark and opposing counsel re next steps in settlement        0.40
                process
                                                                                      410.00/hr

 10/4/2022 JG   Draft correspondence to Mark re settlement offer, exchange              0.30
                correspondence with Anthony re same                                   410.00/hr

          JG    Exchange correspondence with Mark re settlement counter                 0.10
                                                                                      410.00/hr

          JG    Exchange correspondences with Mark re counteroffer                      0.10
                                                                                      410.00/hr

 10/6/2022 JG   Call with Anthony re latest counter                                     0.20
                                                                                      410.00/hr

          JG    Draft correspondence to Anthony re settlement offer, draft              0.40
                correspondence to Mark re same                                        410.00/hr

 10/7/2022 JG   Exchange correspondence with Anthony and Mark re latest                 0.10
                counter-offer                                                         410.00/hr

          JG    Call with opposing counsel re questions re latest settlement offer      0.20
                                                                                      410.00/hr

          JG    Call with Mark re opposing party questions re latest settlement         0.20
                offer, procedure for checking value of oval diamond ring              410.00/hr

          JG    Draft correspondence to Charles re questions re method for              0.20
                determining value of jewelry                                          410.00/hr

 10/9/2022 JG   Exchange correspondence with Charles re inspection of jewelry           0.10
                                                                                      410.00/hr

10/10/2022 JG   Exchange correspondence with Mark re transporting oval diamond          0.10
                ring for inspection                                                   410.00/hr

          JG    Call with Anthony re short delay in responding to questions re          0.10
                counter offer                                                         410.00/hr




    19-56239-lsg     Doc 307          Filed 07/21/23   Entered 07/21/23 10:58:50     Page 109 of 171
                                                                                                 Page      79
                                                                                    Hrs/Rate            Amount

10/10/2022 JG   Exchange correspondence with Mark re settlement term re jewelry        0.10
                inspection                                                           410.00/hr

10/12/2022 JG   Calls with Mark re coordinating with Charles and questions re          0.20
                inspection of jewelry                                                410.00/hr

          JG    Calls with Charles and Mark re GIA report necessity and procedure      0.50
                for inspection                                                       410.00/hr

          JG    Strategize re settlement issues                                        0.20
                                                                                     410.00/hr

          JG    Draft proposed order re inspection and adjourning dates                0.30
                                                                                     410.00/hr

10/13/2022 JG   Draft proposed order permitting inspection of jewelry                  0.90
                                                                                     410.00/hr

          JG    Exchange correspondence with Mark re proposed order re jewelry         0.10
                inspection                                                           410.00/hr

          JG    Call with Mark re order re inspecting jewelry                          0.10
                                                                                     410.00/hr

          JG    Review correspondence from Mark and attached order with redlined       0.40
                changes, review changes, call with Mark re same and estimate         410.00/hr
                necessary to settle, draft correspondence to Anthony re order and
                estimate necessary to settle

10/14/2022 JG   Call with Anthony re proposed order re jewelry inspection              0.30
                                                                                     410.00/hr

10/16/2022 JG   Exchange correspondence with Mark re jewelry inspection                0.10
                                                                                     410.00/hr

          JG    Call with Mark re jewelry inspection issues                            0.20
                                                                                     410.00/hr

10/17/2022 JG   Call with opposing counsel re jewelry inspection issues                0.10
                                                                                     410.00/hr

          JG    Review correspondence from Anthony, review proposed order with         0.20
                Anthony's changes, draft correspondence to Mark re same, next        410.00/hr
                steps




    19-56239-lsg     Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50     Page 110 of 171
                                                                                                 Page      80

                                                                                    Hrs/Rate            Amount

10/17/2022 JG   Exchange correspondences with Mark re proposed order re jewelry         0.20
                inspection, draft correspondence to Anthony re same                  410.00/hr

10/18/2022 JG   Draft correspondence to Charles re inspection order                    0.10
                                                                                     410.00/hr

10/19/2022 JG   Exchange correspondences with Charles re inspection order              0.10
                                                                                     410.00/hr

10/20/2022 JG   Review correspondence from Charles re inspection at GIA, draft         0.20
                correspondence to opposing counsel and client re same                410.00/hr

          JG    Calls with Charles and Mark re proposed jewelry inspection order,      0.40
                lack of ability to inspect at GIA                                    410.00/hr

          JG    Call with Anthony re jewelry inspection order                          0.10
                                                                                     410.00/hr

          JG    Revise order re jewelry inspection to account for Kupperwasser         0.50
                inspection, draft correspondence to Mark re same                     410.00/hr

10/21/2022 JG   Exchange correspondence with Mark and with Anthony re proposed         0.10
                stipulated order re jewelry inspection                               410.00/hr

          JG    Exchange correspondence with opposing counsel re stipulated            0.30
                order, arrangements re filing of order, draft stipulation            410.00/hr

10/25/2022 JG   Exchange correspondence with Charles re status of order and call       0.10
                from Noble                                                           410.00/hr

10/26/2022 JG   Review order setting hearing on stipulation, exchange                  0.10
                correspondence with Anthony re same                                  410.00/hr

10/28/2022 JG   Call with Charles re arrangements for inspection of jewelry            0.30
                                                                                     410.00/hr

 11/1/2022 JG   Call with opposing counsel re hearing re proposed stipulation          0.10
                                                                                     410.00/hr

 11/2/2022 JG   Call with Mark re preparation for hearing on stipulation               0.30
                                                                                     410.00/hr

          JG    Preparation for hearing re stipulated order                            0.20
                                                                                     410.00/hr




    19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50   Page 111 of 171
                                                                                                 Page      81
                                                                                    Hrs/Rate            Amount

11/2/2022 JG   Attend hearing re proposed stipulation re jewelry inspection             3.00
                                                                                     410.00/hr

         JG    Attend hearing re jewelry inspection                                    1.40    NO CHARGE
                                                                                     410.00/hr

11/3/2022 JG   Review and revise proposed jewelry inspection order per comments
                                                                                       0.60
               of court, draft correspondence to opposing counsel and Mark re        410.00/hr
               same


         JG    Review changes proposed by both opposing counsel and Mark to            0.20
               proposed jewelry inspection order, draft correspondence to Mark re    410.00/hr
               same


         JG    Review correspondences from Mark and opposing counsel re                0.10
               jewelry inspection order, draft return correspondences re same        410.00/hr

         JG    Draft correspondence to Charles re sending mounting to GIA              0.10
                                                                                     410.00/hr

         JG    Exchange correspondence with Charles re sending the mounting to         0.10
               the GIA                                                               410.00/hr

11/4/2022 JG   Call with Mark re transporting mounting, changes to inspection          0.40
               order, draft changes re same, draft correspondence to opposing        410.00/hr
               counsel and Mark re same

11/5/2022 JG   Exchange correspondence with Anthony re form of order re jewelry        0.10
               inspection, draft correspondence to Mark re same                      410.00/hr

11/6/2022 JG   Exchange correspondence with mediator re invoice, draft                 0.10
               correspondence to Mark re same                                        410.00/hr

11/7/2022 JG   Exchange correspondence with Mark re mediator invoice                   0.20
                                                                                     410.00/hr

         JG    Finalize stip and order re inspection of jewelry                        0.10
                                                                                     410.00/hr

11/8/2022 JG   Review correspondences from Mark re mediator invoice                    0.10
                                                                                     410.00/hr

11/9/2022 JG   Review entered order re jewelry inspection, call with Anthony re        0.10
               same, follow up on schedule issue                                     410.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50     Page 112 of 171
                                                                                                       Page      82
                                                                                          Hrs/Rate            Amount

 11/9/2022 JG   Draft correspondences to Mark re addressing issues of security etc.          0.10
                under jewelry inspection order                                             410.00/hr

          JG    Review correspondence from Anthony scheduling jewelry                        0.10
                inspection and draft correspondence to Mark re same                        410.00/hr

          JG    Exchange correspondence with Mark and draft correspondence to                0.10
                Anthony re arrangements to transport oval diamond ring                     410.00/hr

11/10/2022 JG   Exchange correspondence with Mark, draft correspondence to                   0.10
                Charles, re jewelry inspection arrangements                                410.00/hr

          JG     Review correspondence from Anthony re scheduling issues re                  0.10
                jewelry inspection and draft return correspondence, follow up, draft       410.00/hr
                correspondence to Charles re same

11/11/2022 JG   Exchange correspondence with Anthony re jewelry inspection, date             0.10
                to begin same and details, follow up re same and arrange presence          410.00/hr
                of representative

          JG    Call with Charles re jewelry inspection issues                               0.30
                                                                                           410.00/hr

11/17/2022 JG   Call with Mark re various issues including primarily initiating jewelry      0.20
                inspection process                                                         410.00/hr

          JG    Strategize with Brandi re initiating jewelry inspection process              0.10    NO CHARGE
                                                                                           410.00/hr

          JG    Strategize re jewelry inspection process - checking with GIA to              0.10    NO CHARGE
                make sure there is no hold on oval diamond                                 410.00/hr

          BB    Review and analyze order regarding meeting at the bank.                      0.30
                                                                                           290.00/hr

          BB    Meeting at bank with A Kochis and Zeidmans re shipment of ring.               1.10
                                                                                           290.00/hr

          BB    Phone call with GIA re flags.                                                0.40
                                                                                           290.00/hr

          BB    Draft email to GIA re potential flag.                                        0.60
                                                                                           290.00/hr




    19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50          Page 113 of 171
                                                                                                Page      83

                                                                                   Hrs/Rate            Amount

11/21/2022 BB   Email to C Kuperwasser re status of stone and GIA.                    0.10
                                                                                    290.00/hr

          BB    Email to Client re status of stone and GIA.                           0.10
                                                                                    290.00/hr

          BB    Email to A Kochis re status of stone and GIA.                         0.10
                                                                                    290.00/hr

11/30/2022 JG   Exchange correspondence with opposing counsel, draft                  0.10
                correspondence to Charles re stone inspection                       410.00/hr

          JG    Call with Charles re next steps re diamond inspection                 0.10
                                                                                    410.00/hr

          JG    Call with Mark re next steps in diamond inspection process and        0.20
                related issues                                                      410.00/hr

          JG    Calls with Charles and opposing counsel re security issue             0.20
                                                                                    410.00/hr

          JG    Call with Ryan re status update                                       0.40
                                                                                    410.00/hr

 12/1/2022 JG   Call with Charles re diamond                                          0.20
                                                                                    410.00/hr

 12/5/2022 JG   Exchange correspondence with Anthony re returning diamond to          0.10
                safe                                                                410.00/hr

 12/8/2022 BB   Email to A. Kochis re bank.                                           0.10
                                                                                    290.00/hr

 12/9/2022 JG   Call with Mark re appraisal of diamond, settlement, next steps        0.40
                                                                                    410.00/hr

          JG    Strategize re settlement options                                      0.10
                                                                                    410.00/hr

          BB    Email to A Kochis re bank.                                            0.10
                                                                                    290.00/hr

12/12/2022 JG   Review correspondence from Mark and research attached                 0.40
                                                                                    410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50   Page 114 of 171
                                                                                                    Page      84
                                                                                       Hrs/Rate            Amount

12/13/2022 JG   Call with Ryan Heilman re settlement issues, appraisal of diamond
                                                                                          0.20
                                                                                        410.00/hr

          JG    Call with Mark re settlement issues, questions for Noble, calls with      0.30
                Ryan re same                                                            410.00/hr

12/14/2022 JG   Review order re scheduling dates                                          0.10
                                                                                        410.00/hr

          JG    Call with opposing counsel re settlement issues, next steps               0.50
                                                                                        410.00/hr

12/15/2022 JG   Exchange correspondence with opposing counsel re GIA report and           0.20
                questions regarding oval diamond and report, draft correspondence       410.00/hr
                to Charles re same

          BB    Meeting at bank with A. Kochis and opposing party.                        1.10
                                                                                        290.00/hr

12/16/2022 JG   Review correspondence from Charles re diamond value and                   0.20
                inspection, draft correspondences to opposing counsel and to Mark       410.00/hr
                re same


          JG    Exchange correspondence with Mark re GIA report                           0.10
                                                                                        410.00/hr

12/18/2022 JG   Exchange correspondence with opposing counsel re brink's bill,            0.10
                draft correspondence to Mark re same                                    410.00/hr

12/20/2022 JG   Review letter from opposing counsel re substantive and settlement         0.20
                issues, draft correspondence to Mark re same                            410.00/hr

          JG    Call with Ryan Heilman re settlement issues, funding issues               0.40
                                                                                        410.00/hr

12/21/2022 JG   Call with Mark re various issues, including negotiations with Bill        0.40
                Noble and Zeidman's                                                     410.00/hr

          JG    Draft correspondence to Charles re request for phone call                 0.10
                                                                                        410.00/hr

          JG    Exchange correspondence with Charles re scheduling call                   0.10    NO CHARGE
                                                                                        410.00/hr




    19-56239-lsg    Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50      Page 115 of 171
                                                                                                     Page      85
                                                                                        Hrs/Rate            Amount

12/22/2022 JG    Strategize with Dan re various issues                                      0.50     NO CHARGE
                                                                                         410.00/hr

          DJW    Strategy conference re: litigation approaches going forward               0.50
                                                                                         495.00/hr

12/23/2022 JG    Call with Charles and Mark, subsequent call with Mark, re oval             0.80
                 diamond ring and strategize re next steps and options                   410.00/hr

  1/3/2023 JG    Exchange correspondence with opposing counsel re response to               0.20
                 communication demanded, strategize re deadlines and various             450.00/hr
                 issues related to settlement

          JG     Strategize re various issues including settlement, expert report,         0.40    NO CHARGE
                 responding to letter from opposing counsel, compelling production       450.00/hr
                 of federal government documents

          KH     Meet with Joe and Brandi re: expert report, settlement potential,         0.40    NO CHARGE
                 possible sale to Noble, turnover of documents from government.          385.00/hr

          BB     Strategize re various issues including settlement, expert report,         0.40    NO CHARGE
                 responding to letter from opposing counsel, compelling production       290.00/hr
                 of federal government documents

  1/4/2023 DJW   Revise draft response to settlement letter                                 1.20
                                                                                         590.00/hr

  1/5/2023 JG    Draft correspondence to Mark re federal documents                         0.10
                                                                                         450.00/hr

          JG     Exchange correspondence with Mark re contacting federal                   0.20
                 government re documents                                                 450.00/hr

          JG     Draft response to letter from opposing counsel re settlement and          0.80
                 legal positions, review mediation brief, previous settlement            450.00/hr
                 correspondence, consignment agreement re same

          JG     Call with Ryan re Noble position on funding litigation                    0.30
                                                                                         450.00/hr

 1/6/2023 JG     Call with Mark re settlement issues, Noble offer for limited funding      0.30
                                                                                         450.00/hr




    19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50      Page 116 of 171
                                                                                                   Page      86
                                                                                      Hrs/Rate            Amount

 1/6/2023 JG   Review various documents pertaining to value re response to letter        0.60
               from opposing counsel                                                   450.00/hr

         JG    Draft correspondence to opposing counsel re status of response to         0.10
               settlement letter                                                       450.00/hr

 1/9/2023 JG   Draft response to letter from opposing counsel                            1.10
                                                                                       450.00/hr

         JG    Strategize re response to Kochis letter, case strategy, settlement         0.50
               issues and spoliation                                                   450.00/hr

         JG    Strategize re expert report re spoliation                                 0.40
                                                                                       450.00/hr

         JG    Review and revise response to Kochis letter                               0.40
                                                                                       450.00/hr

         DJW   Revise draft response to settlement letter and strategize settlement       1.20
               issues                                                                  590.00/hr

         BB    Review and analyze letters, consider revisions.                            1.60
                                                                                       290.00/hr

1/11/2023 JG   Call with Mark re various issues, including subpoena to government        0.20
                                                                                       450.00/hr

         JG    Call with Heilman re interest in purchasing oval diamond ring             0.10
                                                                                       450.00/hr

         JG    Call with opposing counsel re settlement                                  0.10
                                                                                       450.00/hr

         JG    Call with opposing counsel re settlement offer                            0.20
                                                                                       450.00/hr

         JG    Draft correspondence to Mark re latest settlement offer                   0.20
                                                                                       450.00/hr

         JG    Strategize re latest settlement offer                                     0.20
                                                                                       450.00/hr

         JG    Strategize re settlement offer, waterfall, various obligations            0.20    NO CHARGE
                                                                                       450.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50      Page 117 of 171
                                                                                                     Page      87
                                                                                        Hrs/Rate            Amount

1/11/2023 JJS   Strategize with J KG re: settlement                                        0.20    NO CHARGE
                                                                                         430.00/hr

1/12/2023 JG    Exchange correspondences with Mark re production of federal                0.10
                documents and settlement offer                                           450.00/hr

         JG     Call with Mark re settlement proposal                                      0.30
                                                                                         450.00/hr

         DJW    Review revised settlement offer, potential impact and potential            0.50
                response and discussion with Trustee                                     590.00/hr

1/13/2023 JG    Review agreement with Noble and settlement waterfall                       0.40
                                                                                         450.00/hr

         JG     Draft correspondence to Mark re settlement                                 0.10
                                                                                         450.00/hr

         JG     Strategize re settlement                                                   0.10
                                                                                         450.00/hr

         DJW    Attend to proposed settlement ideas, approaches and strategies             0.50
                                                                                         590.00/hr

         DJW    Identify alternative settlement approaches                                 0.50
                                                                                         590.00/hr

1/16/2023 JG    Preparation for meeting with Mark re settlement issues                     0.90
                                                                                         450.00/hr

         JG     Meeting with Mark re settlement issues, potential issues with sale of      1.60
                jewelry                                                                  450.00/hr

         BB     Draft export report of Charles Kuperwasser re spoliation.                  4.60
                                                                                         290.00/hr

1/17/2023 JG    Call with opposing counsel re counter-offer                                0.20
                                                                                         450.00/hr

         JG     Call with Mark re counter-offer made and reaction to same                  0.10
                                                                                         410.00/hr

1/18/2023 JG    Call with opposing counsel re settlement offer                             0.20
                                                                                         410.00/hr




   19-56239-lsg      Doc 307      Filed 07/21/23        Entered 07/21/23 10:58:50       Page 118 of 171
                                                                                                Page      88
                                                                                   Hrs/Rate            Amount

1/18/2023 JG   Review local rules re settlement                                       0.10
                                                                                    410.00/hr

1/19/2023 JG   Call with Mark Shapiro re settlement                                   0.20
                                                                                    450.00/hr

         JG    Call with Anthony agreeing to settlement and strategizing re next       0.10
               steps
                                                                                    450.00/hr

         JG    Call with Ryan re settlement                                           0.20
                                                                                    450.00/hr

         JG    Exchange correspondence with opposing counsel re notice of             0.10
               settlement and review same                                           450.00/hr

1/20/2023 JG   Call with counsel for Ritter                                           0.30
                                                                                    450.00/hr

         JG    Draft correspondence re sale of oval diamond ring and information      0.30
               re same
                                                                                    450.00/hr

         JG    Strategize re production of documents                                  0.10    NO CHARGE
                                                                                    450.00/hr

1/25/2023 JG   Draft settlement agreement, stipulations and orders as exhibits        3.90
                                                                                    450.00/hr

         JG    Draft assignment                                                       0.80
                                                                                    450.00/hr

         JG    Draft correspondence to Mark re settlement agreement                   0.10
                                                                                    450.00/hr

         JG    Draft motion to compromise                                             0.40
                                                                                    450.00/hr

1/26/2023 JG   Draft motion to compromise                                             0.80
                                                                                    450.00/hr

         JG    Draft motion to compromise                                             1.20
                                                                                    450.00/hr

         JG    Review and revise settlement agreement, call with Mark re same,        0.30
               draft correspondence to opposing counsel re same                     450.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50   Page 119 of 171
                                                                                              Page      89

                                                                                 Hrs/Rate            Amount

1/26/2023 JG   Draft correspondence to Mark re motion to compromise                 0.10
                                                                                  450.00/hr

1/27/2023 JG   Exchange correspondences with Mark re 9019 motion and                0.10
               settlement agreement, draft correspondence to Anthony re 9019      450.00/hr
               motion

1/30/2023 JG   Exchange correspondence with Anthony re 9019 motion                  0.10
                                                                                  450.00/hr

1/31/2023 JG   Calls with opposing counsel and Mark re 9019 motion                  0.40
                                                                                  450.00/hr

2/3/2023 JG    Review correspondence from opposing counsel, review of proposed      0.60
               changes to settlement docs and 9019 motion                         450.00/hr

2/5/2023 JG    Exchange correspondence with Charles re status of case               0.10
                                                                                  450.00/hr

         JG    Review changes proposed to 9019 motion by opposing counsel and       0.60
               propose changes back, draft correspondence to Mark re same,        450.00/hr
               draft correspondence to Anthony re same

         JG    Review opposing counsel's changes to settlement agreement and        0.30
               propose changes to same                                            450.00/hr

2/6/2023 JG    Exchange correspondence with opposing counsel re 9019 motion         0.10
                                                                                  450.00/hr

         JG    Exchange correspondence with Mark re 9019 motion                     0.10
                                                                                  450.00/hr

         JG    Review proposed revisions to settlement agreement from opposing      0.50
               counsel and comment on same                                        450.00/hr

         JG    Draft correspondences to Mark and to opposing counsel re             0.20
               settlement agreement proposed changes                              450.00/hr

2/7/2023 JG    Exchange correspondence with opposing counsel re settlement          0.10
               agreement                                                          450.00/hr

         JG    Draft proposed changes to settlement agreement, draft                0.60
               correspondence to opposing counsel and Mark re same                450.00/hr




  19-56239-lsg     Doc 307      Filed 07/21/23     Entered 07/21/23 10:58:50     Page 120 of 171
                                                                                                   Page      90
                                                                                      Hrs/Rate            Amount

 2/8/2023 JG   Call with opposing counsel re settlement agreement and 9019
                                                                                         0.90
               motion
                                                                                       450.00/hr

          JG   Call with Mark re negotiations on settlement agreement
                                                                                         0.20
                                                                                       450.00/hr

2/14/2023 JG   Review Anthony's changes to settlement agreement, draft proposed
                                                                                         0.90
               changes and comments
                                                                                       450.00/hr

2/15/2023 JG   Call with Mark re settlement agreement status of negotiations,
                                                                                         0.10
               releases
                                                                                       450.00/hr

2/16/2023 JG   Call with opposing counsel re settlement agreement final (hopefully)
                                                                                         0.20
               proposed changes
                                                                                       450.00/hr

2/17/2023 JG   Call with Heilman re release of Noble in settlement agreement
                                                                                         0.10
                                                                                       450.00/hr

2/19/2023 JG   Review proposed changes to settlement agreement from opposing
                                                                                         0.30
               counsel, draft correspondence re same to Mark
                                                                                       450.00/hr

2/20/2023 JG   Exchange correspondence with Mark re settlement agreement, final
                                                                                         0.20
               review of changes to same, draft correspondence to opposing
                                                                                       450.00/hr
               counsel re same

2/21/2023 JG   Exchange correspondence with Anthony re next steps re settlement
                                                                                         0.10
                                                                                       450.00/hr

         JG    Call with Anthony re settlement agreement, approaching Noble,
                                                                                         0.20
               draft correspondence to Heilman re same, draft correspondence to        450.00/hr
               Anthony re motion

2/22/2023 JG   Exchange correspondences with Heilman and opposing counsel re
                                                                                         0.10
               settlement agreement                                                    450.00/hr

2/23/2023 JG   Call with Ryan Heilman and opposing counsel re: settlement                0.20
               agreement                                                               450.00/hr

2/24/2023 JG   Call with Ryan Heilman re: settlement agreement                           0.40
                                                                                       450.00/hr

2/26/2023 JG   Exchange correspondence with Anthony, draft correspondence to
                                                                                         0.10
               Mark, re safe deposit box renewal                                       450.00/hr




   19-56239-lsg    Doc 307      Filed 07/21/23       Entered 07/21/23 10:58:50        Page 121 of 171
                                                                                                Page      91
                                                                                   Hrs/Rate            Amount

2/27/2023 JG   Call with Ryan and Bill Noble re settlement agreement
                                                                                      1.00
                                                                                    450.00/hr

         JG    Exchange correspondence with opposing counsel and Mark re
                                                                                      0.10
               renewing safety deposit box
                                                                                    450.00/hr

          JG   Call Mark re proposal from Noble re oval diamond ring
                                                                                      0.20
                                                                                    450.00/hr

2/28/2023 JG   Review settlement agreement, review assignment agreement, draft
                                                                                      0.40
               correspondence to Mark re proposal by Noble re oval diamond ring     450.00/hr

         JG    Review opposing counsel's proposed changes to 9019 motion, draft
                                                                                      0.10
               correspondence to Mark re same                                       450.00/hr

         JG    Call with Ryan Heilman re proposal re oval diamond ring
                                                                                      0.10
                                                                                    450.00/hr

         JG    Draft correspondence to opposing counsel re 9019 motion                0.10
                                                                                    450.00/hr

         DJW   Discuss settlement issues re: approaches and Noble matters             0.30
                                                                                    590.00/hr

         JG    Discuss settlement issues re: approaches and Noble matters             0.30    NO CHARGE
                                                                                    450.00/hr

 3/6/2023 JG   Draft correspondence to Heilman re reaction to settlement              0.10
               agreement                                                            450.00/hr

3/10/2023 JG   Call with Heilman re payment of Bill out of estate settlement          0.20
                                                                                    450.00/hr

         JG    Call with Heilman re Noble offer to settle waterfall
                                                                                      0.20
                                                                                    450.00/hr

3/13/2023 JG   Review correspondence from Anthony, review calculations re             0.30
               settlement with Noble, call Mark re same                             450.00/hr

         JG    Call with Heilman re settlement with Noble                             0.10
                                                                                    450.00/hr

         DJW   Strategize settlement approaches and Bill Noble positions              0.30
                                                                                    590.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50   Page 122 of 171
                                                                                                     Page      92

                                                                                        Hrs/Rate            Amount

3/13/2023 DJW   Attend to potential financing efforts                                      0.80
                                                                                         590.00/hr

3/15/2023 JG    Call with opposing counsel re status of negotiations with Noble            0.10
                                                                                         450.00/hr

3/22/2023 JG    Review file re Bill Noble offer, draft correspondence to Mark (and to       0.50
                Ryan) re same                                                            450.00/hr

         JG     Strategize re motion for settlement, related issues, negotiations          0.20    NO CHARGE
                                                                                         450.00/hr

3/23/2023 JG    Calls with Mark and Heilman re settlement with Noble                        0.20
                                                                                         450.00/hr

         JG     Strategize re coverage on vacation                                         0.10    NO CHARGE
                                                                                         450.00/hr

         JG     Exchange correspondence with counsel for insurance company re              0.10
                status of settlement                                                     450.00/hr

         JG     Draft correspondence to Heilman re settlement response                     0.10
                                                                                         450.00/hr

3/24/2023 JG    Calls with Ryan re status of settlement offer                              0.20
                                                                                         450.00/hr

         BB     Call with JKG re case status and next steps.                               0.10
                                                                                         290.00/hr

3/28/2023 BB    EM w/ A. Kochis re settlement.                                             0.10
                                                                                         290.00/hr

         BB     EM to R. Heilman regarding status of settlement negotiations.              0.10
                                                                                         290.00/hr

         BB     Call with A. Kochis re settlement                                          0.20
                                                                                         290.00/hr

3/29/2023 BB    EM from R. Heilman re settlement.                                          0.10
                                                                                         290.00/hr

         BB     Email to M. Shapiro re settlement.                                         0.10
                                                                                         290.00/hr




   19-56239-lsg     Doc 307        Filed 07/21/23       Entered 07/21/23 10:58:50       Page 123 of 171
                                                                                                 Page      93

                                                                                    Hrs/Rate            Amount

3/29/2023 BB   EM to R. Heilman re settlement.                                         0.10
                                                                                     290.00/hr

3/31/2023 BB   Email to M. Shapiro re settlement.                                      0.10
                                                                                     290.00/hr

         BB    Email from M. Shapiro re settlement.                                    0.10
                                                                                     290.00/hr

         BB    Email to R. Heilman re settlement.                                      0.10
                                                                                     290.00/hr

4/3/2023 JG    Draft correspondence to Heilman re next steps, modification of          0.10
               9019 motion                                                           450.00/hr

         JG    Call with Anthony re preparation for final pretrial conference and      0.10
               settlement with Noble                                                 450.00/hr

         JG    Strategize re modifying 9019 motion to add settlement with Noble        0.10    NO CHARGE
                                                                                     450.00/hr

         JG    Call with opposing counsel re final pretrial conference                 0.10
                                                                                     450.00/hr

         BB    EM from A. Kochis re settlement.                                        0.10
                                                                                     290.00/hr

         BB    Revise 9019 Motion to incorporate settlement with B. Noble.             1.50
                                                                                     290.00/hr

4/4/2023 JG    Call with Mark re status update, hearing re status                      0.20
                                                                                     450.00/hr

         JG    Hearing re joint pretrial/status conference                             1.50
                                                                                     450.00/hr

         JG    Review and revise 9019 motion re Noble Agreement                        0.40
                                                                                     450.00/hr

4/5/2023 JG    Review notice of status conference                                      0.10
                                                                                     450.00/hr

         JG    Call with Ryan Heilman re settlement, 9019 motion, status               0.20
               conference                                                            450.00/hr




  19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 124 of 171
                                                                                                  Page      94
                                                                                     Hrs/Rate            Amount

 4/5/2023 JG   Review of changes to 9019 motion, draft correspondences to               0.20
               counsel and Mark re same                                               450.00/hr

 4/7/2023 JG   Review correspondences from Heilman, opposing counsel, and               0.40
               Mark re motion to compromise, make suggested changes to same,
                                                                                      450.00/hr
               draft correspondence to all re changes

         JG    Exchange correspondence with counsel re 9019 motion                      0.10
                                                                                      450.00/hr

         JG    Exchange correspondence with counsel re executing settlement
                                                                                        0.10
               agreement                                                              450.00/hr

         JG    Draft correspondence to counsel re execution of settlement               0.10
               agreement                                                              450.00/hr

4/10/2023 JG   Call with Mark re motion to compromise and execution of                  0.10
               settlement agreement                                                   450.00/hr

         JG    Call with Heilman, exchange correspondence with opposing                 0.20
               counsel, draft correspondence to Mark re execution of settlement       450.00/hr
               agreement

4/11/2023 JG   Exchange correspondence with Mark, draft correspondence to               0.10
               Heilman re settlement agreement execution                              450.00/hr

         JG    Exchange correspondence with opposing counsel re motion to               0.10
               compromise and execution of settlement agreement                       450.00/hr

4/12/2023 JG   Exchange correspondence with Heilman and opposing counsel re             0.10
               execution of settlement agreement and filing of motion to              450.00/hr
               compromise

         JG    Attention to preparation and filing of 9019 motion                       0.20
                                                                                      450.00/hr

         JG    Draft correspondence to opposing counsel re service issue                0.10
                                                                                      450.00/hr

         JG    Attention to filing and service on motion, notice, order, exhibits       0.30
                                                                                      450.00/hr

         JG    Call with Mark's office re required redaction, address same, motion      0.50    NO CHARGE
               and order re same                                                      450.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50    Page 125 of 171
                                                                                                   Page      95
                                                                                      Hrs/Rate            Amount

4/13/2023 JG   Review correspondence from Jay Welford re questions re                    0.40
               settlement, draft response, review file re answers                      450.00/hr

          JG   Review 9037 re motion to redact, modifications to same, review            0.70    NO CHARGE
               correspondence from court re same                                       450.00/hr

          JG   Call with court clerk re filing of motion for compromise and              0.20
               removing status conference from docket                                  450.00/hr

         JG    Address service issues re motion to compromise                            0.30
                                                                                       450.00/hr

4/14/2023 JG   Review docket re motion to compromise, motion to restrict access,         0.40
               call with opposing counsel re same                                      450.00/hr

         JG    Call with judge’s office re motion to compromise, canceling April 28      0.10
               conference                                                              450.00/hr

         JG    Call with Mark re service issues                                          0.10
                                                                                       450.00/hr

4/16/2023 JG   Exchange correspondences with opposing counsel re service                 0.10
               issues, notification to court re motion to compromise                   450.00/hr

4/19/2023 JG   Begin working on fee application                                          0.20
                                                                                       450.00/hr

4/20/2023 JG   Initial preparation of fee application                                    0.40
                                                                                       450.00/hr

         DJW   Assist in drafting fee application                                        0.20
                                                                                       590.00/hr

         JG    Draft fee application                                                     0.70
                                                                                       450.00/hr

4/21/2023 JG   Continue drafting fee application                                         0.10
                                                                                       450.00/hr

4/24/2023 JG   Draft fee application                                                     1.30
                                                                                       450.00/hr

4/25/2023 JG   Review notice from court canceling April 28 hearing                       0.10
                                                                                       450.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23        Entered 07/21/23 10:58:50     Page 126 of 171
                                                                                                     Page      96
                                                                                        Hrs/Rate            Amount

4/25/2023 JG    Draft fee application                                                       0.10
                                                                                         450.00/hr

          DJW   Strategize preparation for motion for settlement and concurrence           0.20
                from Zeidman's counsel                                                   590.00/hr

4/26/2023 JG    Call with Anthony re filing concurrence                                    0.20
                                                                                         450.00/hr

4/27/2023 JG    Calls with Heilman re contact with Charles, call with Charles re same      0.20
                                                                                         450.00/hr

4/28/2023 JG    Call with Cheryl London re status conference cancellation, draft           0.10
                correspondence to Anthony re same                                        450.00/hr

 5/1/2023 JG    Strategize re status of fee application and motion to compromise           0.10    NO CHARGE
                                                                                         450.00/hr

 5/8/2023 JG    Draft fee application                                                      1.30
                                                                                         450.00/hr

         JG     Review file re certificate of no response timing                           0.10
                                                                                         450.00/hr

         JG     Review certificate of no response                                          0.10    NO CHARGE
                                                                                         450.00/hr

5/10/2023 JG    Exchange correspondence with creditor re status of motion to               0.10
                compromise                                                               450.00/hr

         JG     Call with creditor re value of Oval Diamond Ring                           0.30
                                                                                         450.00/hr

5/15/2023 JG    Call with Court re CNR, status                                             0.10
                                                                                         450.00/hr

         JG     Exchange correspondence with opposing counsel re status of 9019            0.10
                motion                                                                   450.00/hr

5/19/2023 JG    Review NOH re motion to compromise                                         0.10
                                                                                         450.00/hr

5/22/2023 JG    Exchange correspondence with opposing counsel re preparation for           0.10
                hearing on motion to compromise                                          450.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23          Entered 07/21/23 10:58:50     Page 127 of 171
                                                                                                   Page      97

                                                                                      Hrs/Rate            Amount

5/23/2023 JG   Call with Mark re hearing on motion to compromise, various related        0.20
               issues                                                                  450.00/hr

5/25/2023 JG   Call with Anthony re preparation for hearing                              0.20
                                                                                       450.00/hr

5/30/2023 JG   Prepare for and participate in hearing on motion to compromise            2.40
                                                                                       450.00/hr

         JG    Call with opposing counsel re implementing settlement agreement           0.10
                                                                                       450.00/hr

         JG    Call with Heilman re next steps, delivery of oval diamond ring to         0.20
               Noble                                                                   450.00/hr

5/31/2023 JG   Call with Mark re settlement approval and next steps, transferring        0.30
               jewelry                                                                 450.00/hr

         JG    Review settlement agreement for requirements after approval and           0.20
               orders from Court approving same and dismissing case                    450.00/hr

         JG    Call with Anthony re transfer of jewelry                                  0.10
                                                                                       450.00/hr

         JG    Attention to fee application for expert                                   0.10    NO CHARGE
                                                                                       450.00/hr

         JG    Call with Heilman re transport of oval diamond, arrangements              0.20
                                                                                       450.00/hr

         JJS   Strategize issues with JKG re: expert witness fee application             0.10
                                                                                       430.00/hr

6/1/2023 JG    Attention to fee applications                                             0.10    NO CHARGE
                                                                                       450.00/hr

         JG    Exchange correspondence with opposing counsel and Mark re wire            0.10
               transfer                                                                450.00/hr

         KH    Assist to draft S&W Fee Application.                                      0.40
                                                                                       385.00/hr

         JG    Exchange correspondence with Mark's office and Heilman re check           0.10
               to Noble                                                                450.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23          Entered 07/21/23 10:58:50   Page 128 of 171
                                                                                                Page      98
                                                                                   Hrs/Rate            Amount

 6/1/2023 JG   Call with Heilman re arranging for transfer of oval diamond ring,      0.10
               draft correspondence to Kochis re same                               450.00/hr

 6/2/2023 JG   Review correspondence from Kochis and draft correspondence to          0.10
               Kochis and Heilman re jewelry transfer                               450.00/hr

         JG    Exchange correspondence with Kochis and Heilman re jewelry             0.10
               transfer                                                             450.00/hr

 6/6/2023 JG   Assist in revising fee application                                     0.30    NO CHARGE
                                                                                    450.00/hr

         KH    Continue drafting Fee Application.                                     2.20
                                                                                    385.00/hr

 6/7/2023 KH   Continue drafting Fee Application                                      0.40
                                                                                    385.00/hr

 6/8/2023 KH   Finalize S&W Fee Application for Adversary Proceeding.                 1.60
                                                                                    385.00/hr

6/12/2023 JG   Review and revise fee application                                      0.80
                                                                                    450.00/hr

         JG    Calls re jewelry transfer with Ryan and Mark                           0.20
                                                                                    450.00/hr

         BB    Draft receipt of Oval Diamond Ring.                                    0.30
                                                                                    290.00/hr

         BB    Attend meeting at bank to transfer jewelry, oversee transfer of        3.50
               assets to Noble and Trustee.                                         290.00/hr

         BB    Draft Receipt regarding oval diamond ring.                             0.20
                                                                                    290.00/hr

         BB    Email to A. Kochis re transfer of oval diamond ring.                   0.10
                                                                                    290.00/hr

6/13/2023 JG   Review correspondence from opposing counsel re stipulation and         0.20
               order dismissing, review settlement agreement and assignment re      450.00/hr
               same, draft response

         JG    Review and revise fee application                                      0.50
                                                                                    450.00/hr




   19-56239-lsg     Doc 307       Filed 07/21/23      Entered 07/21/23 10:58:50    Page 129 of 171
                                                                                                  Page      99
                                                                                     Hrs/Rate            Amount

6/19/2023 JG   Attention to fee application and revisions, steps going forward on        0.20
               same
                                                                                      450.00/hr

6/20/2023 KH   Finalize S&W Fee App and send to client for review.                       1.50
                                                                                      385.00/hr

6/21/2023 JG   Call with Mark re fee application                                         0.30     NO CHARGE
                                                                                      450.00/hr

         JG    Review and revise fee application per Mark's specifications              0.20
                                                                                      450.00/hr

         JG    Assist in drafting fee application for Kuperwasser                       0.20      NO CHARGE
                                                                                      450.00/hr

6/23/2023 JG   Attention to Kuperwasser fee application                                 0.10
                                                                                      450.00/hr

6/29/2023 JG   Attention to Kuperwasser fee application, time records                   0.20
                                                                                      450.00/hr

 7/5/2023 JG   Strategize re Kuperwasser fee application                                0.10    NO CHARGE
                                                                                      450.00/hr

         JG    Draft correspondence to Charles re fee application                       0.10
                                                                                      450.00/hr

         BB    Begin drafting fee application for expert.                               1.30
                                                                                      290.00/hr

 7/6/2023 JG   Exchange correspondence with Charles re fee application                  0.10
                                                                                      450.00/hr

 7/8/2023 BB   Review and revise application for fees of expert to reflect updated      0.40
               costs and fees.                                                        290.00/hr

7/11/2023 JG   Review and revise Kuperwasser fee application                            0.80      NO CHARGE
                                                                                      450.00/hr

         BB    Review and revise fee application.                                       0.50
                                                                                      290.00/hr

7/12/2023 JG   Draft correspondence to Charles re fee application draft                 0.10
                                                                                      450.00/hr




   19-56239-lsg    Doc 307        Filed 07/21/23       Entered 07/21/23 10:58:50     Page 130 of 171
                                                                                                Page     100
                                                                                   Hrs/Rate            Amount

7/12/2023 JG    Exchange correspondence with Charles re fee application
                                                                                      0.10
                                                                                    450.00/hr

7/13/2023 JG    Review and revise fee application for Kuperwasser re request of
                                                                                      0.20
                Charles                                                             450.00/hr

         JG     Finalize Kuperwasser application re changes requested by client
                                                                                      0.70
                                                                                    450.00/hr

7/14/2023 JG    Draft correspondence to Mark re Kuperwasser fee application
                                                                                       0.10
                                                                                    450.00/hr

7/16/2023 JG   Exchange correspondence with Mark re fee application                   0.10
               Kuperwasser, follow up re same                                       450.00/hr

7/17/2023 JG   Strategize re fee applications status
                                                                                      0.10      NO CHARGE
                                                                                    450.00/hr

7/18/2023 JG   Finalize fee applications
                                                                                      0.20    NO CHARGE
                                                                                    450.00/hr

7/19/2023 JG   Attention to filing fee applications                                   0.20      NO CHARGE
                                                                                    450.00/hr


         For professional services rendered
                                                                                    915.00      $293,883.50




   19-56239-lsg     Doc 307       Filed 07/21/23       Entered 07/21/23 10:58:50   Page 131 of 171
                                        User Summary
Name
                                                                     Hours       Rate      Amount
BRANDI BLASSES
                                                                    191.10     290.00   $55,419.00
BRANDI BLASSES
                                                                    114.20     280.00   $31,976.00
BRANDI BLASSES
                                                                     33.00       0.00        $0.00
DANIEL J. WEINER
                                                                     10.90     590.00    $6,431.00
DANIEL J. WEINER
                                                                      0.50     495.00      $247.50
DANIEL J. WEINER
                                                                      3.90     485.00    $1,891.50
DANIEL J. WEINER                                                      0.30       0.00        $0.00
DAWN PERFECT - LAW CLERK
                                                                      1.00     160.00      $160.00
JEFFERY SATTLER
                                                                      5.30     330.00    $1,749.00
JEFFERY SATTLER
                                                                      0.30       0.00        $0.00
JOHN J. STOCKDALE, JR.
                                                                      0.10     430.00       $43.00
JOHN J. STOCKDALE, JR.
                                                                      0.60     390.00      $234.00
JOHN J. STOCKDALE, JR.
                                                                      0.20       0.00        $0.00
JOSEPH GREKIN
                                                                     54.30     450.00   $24,435.00
JOSEPH GREKIN
                                                                    149.50     410.00   $61,295.00
JOSEPH GREKIN
                                                                     72.30     395.00   $28,558.50
JOSEPH GREKIN
                                                                     28.80       0.00        $0.00
KIM HILLARY
                                                                     29.20     385.00   $11,242.00
KIM HILLARY
                                                                     66.10     360.00   $23,796.00
KIM HILLARY
                                                                    130.90     345.00   $45,160.50
KIM HILLARY
                                                                     13.90       0.00        $0.00
MICHAEL E. BAUM
                                                                      0.50     485.00      $242.50
NANCY MACK - PARALEGAL
                                                                      2.70     170.00      $459.00
NANCY MACK - PARALEGAL
                                                                      3.40     160.00     $544.00
NANCY MACK - PARALEGAL
                                                                      2.00       0.00        $0.00




     19-56239-lsg   Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50     Page 132 of 171
                          EXHIBIT

                                           6




19-56239-lsg
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                Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 133 of 171
                                 Daniel J. Weiner, Co-Founder and Senior Partner
                                 40950 Woodward Avenue, Suite 100
                                 Bloomfield Hills, Michigan 48304
                                 T: 248.971.1546
                                 F: 248.971.1547
                                 dweiner@schaferandweiner.com

                                 PRACTICES

                                 Bankruptcy and Reorganizations
                                 Commercial Law
                                 Commercial Litigation




In 1985, Mr. Weiner co-founded Schafer and Weiner, PLLC with the late Arnold Schafer
and grew this firm into a nationally recognized force of talented and creative problem
solvers for debtors and creditors of all shapes and sizes. Now approaching its 37th year of
excellence, Schafer and Weiner sets the standard for law firms of any size with unparalleled
commitment, creativity and results.

Mr. Weiner grew up in the courtroom earning special trial awards at Hofstra University
School of Law and soon litigated complex cases for multinational automotive suppliers,
publicly traded retailers, gaming conglomerates and developers. Mr. Weiner learned to
leverage his courtroom skills with his willingness to outwork his adversaries to achieve
remarkable results, whether in the courtroom or at the negotiating table.

Mr. Weiner soon channeled these energies into the arena of business reorganizations,
gaining outstanding outcomes for Chapter 11 Debtors, Unsecured Creditors’ Committees,
secured lenders and trustees. While by no means limited to the manufacturing sector, his
tactical insights into the automotive supply chain regularly lead to results beyond
expectations.

To continually sharpen his skills, Mr. Weiner often publishes and lectures to professionals
and valued clients. He writes as a contributing author for the Turnaround Management
Association, Journal of Corporate Renewal - Co-author (When the New Sheriff Comes to Town:
Michigan’s Emergency Manager Law, June, 2014), and (Auto Industry Changes Threaten
Delicately Balanced System, Spring 2009), co-author for The Institute of Continuing Legal
Education (Litigation in Bankruptcy Court, Handling Consumer and Small Business Bankruptcies
in Michigan 2009), co-author for the Collier Bankruptcy Practice Guide (Partnership and Partner
Bankruptcies 2006), contributing author to Bankruptcy and Its Impact on LLC Membership
Interests, published by The Institute of Continuing Legal Education, 2006 LLC & Business

19-56239-lsg     Doc 307     Filed 07/21/23    Entered 07/21/23 10:58:50       Page 134 of 171
Entity Update, and co-author for the Michigan Business Law Journal (Swords and Shields –
Prepayment Premiums In and Out of Bankruptcy 2003).

                          ADMISSIONS & QUALIFICATIONS

State Bar of Michigan, 1980
U.S. District Court, Eastern District of Michigan, 1980
The Florida Bar, 1983
U.S. Court of Appeals, Sixth Circuit, 1987
U.S. District Court, Western District of Michigan, 1992
U.S. District Court, Northern District of Indiana, 2005
U.S. District Court, District of Colorado, 2021


                                        EDUCATION

Hofstra University School of Law, J.D. 1980
Michigan State University Honors College, B.A., High Honors, 1977


                                         SEMINARS

June, 2015, panel participant at ABI 22nd Annual Central States Bankruptcy Workshop
presenting: Critical Concepts for Avoiding Lender Liability (What All Lenders Should Know).

October, 2014, presenter at AutoConnect in Nashville, Tennessee: Financial Trends in the
Industry from the Lens of Legal, Lender and Private Equity.

September, 2013, panel participant as supplier counsel at Turnaround Management
Association MidAmerican Regional Conference presenting:        Shifting Gears in
Restructuring: From Automotive to Health Care and Government.

March, 2013, panel participant as debtor’s counsel at Association for Corporate
Growth/Turnaround Management Association, presenting: To Sell or not to Sell? That’s
the $363mm (Section 363) Bankruptcy Question.

May, 2010, speaker to The Michigan Association of Certified Public Accountants' Mega
Conference, presenting Helping the Fox Count the Hens – a CPA's Role in Chapter 11.

March, 2010, acted as debtor's counsel in a presentation to the Turnaround Management
Association on Middle Market Reorganization: The Nine Lives of Middle Market Re-Org.

October, 2009, moderator at Automotive Supplier Finance Summit: Auto Suppliers'
Perspectives on the Market.



19-56239-lsg     Doc 307      Filed 07/21/23      Entered 07/21/23 10:58:50   Page 135 of 171
October, 2007, speaker at International Forum on Automotive Industry Topics sponsored
by Export Development Canada: Legal Terms and Conditions: What you don't read CAN hurt
you; Adding Insult to Injury: What's Your Preference?

September, 2006, speaker at International Forum on Automotive Industry Topics sponsored
by Export Development Canada: Surviving Automotive Credit Roulette … Strategies to Increase
Recoveries of Insured Canadian Exporters to the U.S. Automotive Industry.

January, 2006, lecturer to Institute of Continuing Legal Education: 2006 LLC & Business
Entity Update.

October, 2004, speaker at International Forum on Automotive Industry Topics sponsored
by Export Development Canada and PricewaterhouseCoopers: Get (a) Lien and
Mean: Asserting and Enforcing Liens on Molds and Tools under Michigan Law.

April, 2004, speaker to Turnaround Management Association Detroit Chapter: Use of an
Expert Witness in Bankruptcy Court.

October, 2003, speaker to Burglar and Fire Alarm Association of Michigan Fall
Conference: Iron Rules for Failure … Everything You Need to do to be Unsuccessful!

June, 2003, speaker to Export Development Canada/Deloitte & Touche Automotive
Roundtable: Lien On Me—How To Do It Under Michigan Law.

October, 2002, speaker to Export Development Canada: If It Looks Like Trouble …

April, 2002, speaker to Young Entrepreneurs’ Organization and World Entrepreneurs’
Organization: Covering Your A$$et$.

June, 2000, appointed to Mediation Panel of the United States Bankruptcy Court for the
Eastern District of Michigan.

November, 1999, speaker to National Association of Credit Management: Bankruptcy or
Work Out—What’s Your Preference?

September, 1999, speaker to Stout Risius Ross:

   •   Turning Opposition into Opportunity
   •   Accountants Representing Parties in Chapter 11 Cases—How Do I Get Paid?
   •   Cash Collateral, Adequate Protection and Post-Petition Financing—Show Me the $$$$

April, 1999, speaker to Detroit Bar Association: Laboring Under the Employment of Bankruptcy
and ERISA: Understanding the Interplay.

June, 1997, speaker to Federal Bar Association Bankruptcy Section: Financially Troubled Auto
Suppliers.

May, 1989, speaker to Michigan State Medical Society: Defensive Planning: Protecting Your
Assets in Michigan’s Liability Climate.

19-56239-lsg     Doc 307    Filed 07/21/23       Entered 07/21/23 10:58:50   Page 136 of 171
March, 1989, speaker to Wayne County Medical Society: Protected Assets & Permissible
Transfers.

April, 1988, lecturer to Institute of Continuing Legal Education: Representing the Debtor in a
Chapter 7 Case.

September 1, 1987, appointed Special Assistant Attorney General to represent Michigan
Department of Transportation in highway condemnation matters.

August, 1987, lecturer to St. Joseph’s Hospital, Surgery Department: Bankruptcy
Considerations in Light of Medical Malpractice.

                                      PUBLICATIONS

Daniel J. Weiner & Jeffrey J. Sattler, Unforgiven No Longer: Ninth Circuit BAP Authorizes
Discharge of Old Tax Debt from Untimely Returns, 35 Am. Bankruptcy Institute Journal 7,
July 2016 (cover story)

Author, Lender Liability – Easy to Claim, Not So Easy to Discovery (PSST – Look over Here …).
Presented at Critical Concepts for Avoiding Lender Liability (What All Lenders Should Know),
ABI 22nd Annual Central States Bankruptcy Workshop, June 2015.

Co-author, When the New Sheriff Comes to Town:           Michigan’s Emergency Manager Law,
Turnaround Management Association, June 2014.

Co-author, Auto Industry Changes Threaten Delicately Balanced System, Turnaround
Management Association, spring 2009.

Co-author, Litigation in Bankruptcy Court, Handling Consumer and Small Business Bankruptcies
in Michigan, The Institute of Continuing Legal Education (2009).

Contributing author, Partnership and Partner Bankruptcies, Collier Bankruptcy Practice Guide,
Release 73, Chapter 20, Nov. 2006.

Contributing author, Bankruptcy and Its Impact on LLC Membership Interests, The Institute of
Continuing Legal Education, 2006 LLC & Business Entity Update.

Co-author, Swords and Shields—Prepayment Premiums In and Out of Bankruptcy, The Michigan
Business Law Journal, fall 2003.

                                    PUBLISHED CASES

In re Live Primary, LLC, 626 B.R. 171; 2021 Bankr LEXIS 459 (Bankr SDNY, Mar. 1, 2021).

In re Energy Conversion Devices, Inc., 483 B.R. 119 (Bankr. E.D. Mich. 2012).

In re Energy Conversion Devices, Inc., 474 B.R. 503 (Bankr. E.D. Mich. 2012).



19-56239-lsg     Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50       Page 137 of 171
Simon v. Gerdau MacSteel, Inc. (In re Am. Camshaft Specialties, Inc.), 444 B.R. 347 (Bankr. E.D.
Mich. 2011).

Dery v. Cumberland Cas. & Sur. Co. (In re 5900 Assocs., Inc.), 468 F.3d 326 (6th Cir. 2006).

Buffalo Molded Plastics, Inc. v. Omega Tool Corp. (Buffalo Molded Plastics, Inc.), 344 B.R. 394
(Bankr. W.D. Pa. 2006).

In re Nartron Corp., 330 B.R. 573 (Bankr. W.D. Mich. 2005).

Strach v. Casino Windsor, 351 F. Supp. 2d 641 (E.D. Mich. 2004).

McClarty v. Colletta (In re D.C.T., Inc.), 295 B.R. 236 (Bankr. E.D. Mich. 2003).

In re D.C.T., Inc., 283 B.R. 442 (Bankr. E.D. Mich. 2002).

Malone v. Windsor Casino Ltd., 14 Fed. Appx. 634 (6th Cir. 2001).

Int’l Bhd. of Teamsters, AFL-CIO v. Kitty Hawk Int’l, Inc. (In re Kitty Hawk, Inc.), 255 B.R. 428
(Bankr. N.D. Tex. 2000).

Shue & Voeks, Inc. v. Amenity Design & Mfg., Inc., 511 N.W.2d 700 (Mich. Ct. App. 1993).

In re Grand Traverse Dev. Co. Ltd. P’ship, 151 B.R. 792 (W.D. Mich. 1993).

Grand Traverse Dev. Co. Ltd. P’ship v. Brd. Trs. Gen. Ret. Sys. of Detroit (In re Grand Traverse Dev.
Co. Ltd. P’ship), 150 B.R. 176 (Bankr. W.D. Mich. 1993).

In re Grand Traverse Dev. Co. Ltd. P’ship, 147 B.R. 418 (Bankr. W.D. Mich. 1992).

In re Mt. Pleasant Ltd. P’ship, 144 B.R. 727 (Bankr. W.D. Mich. 1992).

Noveck v. Miller, 752 F. Supp. 817 (E.D. Mich. 1990).

Bassey & Selesko, P.C. v. Condon, 694 F. Supp. 327 (E.D. Mich. 1988).

In re Dealer Support Servs. Int’l, Inc., 73 B.R. 763 (Bankr. E.D. Mich. 1987).


                              PROFESSIONAL MEMBERSHIPS

American Bankruptcy Institute
Export Development Canada
Federal, American Bar Associations (Member, Section on Litigation)
State of Michigan Bar Association
The Turnaround Management Association




19-56239-lsg      Doc 307      Filed 07/21/23     Entered 07/21/23 10:58:50         Page 138 of 171
                                    PRIOR EXPERIENCE

October 15, 1984—October 14, 1985, Law Offices of Daniel J. Weiner and of counsel to
Arnold Schafer, P.C.

May, 1980—October 15, 1984, Associate, Hertzberg, Jacob & Weingarten, P.C.




                                  OTHER DISTINCTIONS

Voted the 2023 “Lawyer of the Year” for Bankruptcy and Creditor Rights/Insolvency and
Reorganization Law in Troy, Michigan by The Best Lawyers in America.

Selected for inclusion as one of Michigan’s Top Business Attorneys – Crains’ Detroit
Business® (September 2022).

Honored with the Inaugural Lifetime Achievement Award, Turnaround Management
Association (Detroit Chapter), May, 2022.

Received the Martindale-Hubbell Peer Review “AV Preeminent” Rating for Legal Ability &
Ethical Standards (1990 - 2023).

Selected for inclusion in the Michigan Super Lawyers® list, a peer review survey that selects
the top 5% of attorneys (2007 - 2022); Selected for inclusion in Super Lawyers – Corporate
Counsel Edition – July, 2009 (Business Services).

Selected for inclusion in The Best Lawyers in America (2014 - 2023), the oldest and most
respected peer-review publication in the legal profession.

Selected for inclusion in Leading Lawyers Advisory Board, as a Leading Lawyer for 2022, a
peer-review publication in the legal profession.

Received Oakland County Bar Association Award Honoring 40 Years of Legal Service,
October, 2020.

Selected for inclusion in DBusiness Magazines’ list of Top Lawyers for 2015, 2016 and 2017.

June 2000 appointed to Mediation Panel of the United States Bankruptcy Court for the
Eastern District of Michigan (continuing).

April 1, 1986 appointed, but did not serve, as Federal Bankruptcy Trustee for Eastern
District of Michigan.

Phi Beta Kappa; Phi Kappa Phi.




19-56239-lsg     Doc 307     Filed 07/21/23    Entered 07/21/23 10:58:50       Page 139 of 171
                                        INTERESTS

Collecting wine, improving his golf game and playing in a Klezmer band. He’s also a
Tigers, Red Wings, Lions and Pistons sports nut.



                                          MOTTO

The Art of War – Sun Tzu Principles:

One hundred victories in one hundred battles is not the most skillful.
Subduing the other’s military without battle is the most skillful.




19-56239-lsg     Doc 307     Filed 07/21/23   Entered 07/21/23 10:58:50   Page 140 of 171
                                Michael E. Baum, Managing Partner
                                40950 Woodward Avenue, Suite 100
                                Bloomfield Hills, Michigan 48304
                                T: 248.540.3340
                                F: 248.971-1515
                                MBaum@schaferandweiner.com

                                PRACTICES

                                Bankruptcy Law
                                Commercial Law




Two years after Schafer and Weiner, PLLC was founded, the late Arnold Schafer and Daniel
Weiner extended an invitation to Mr. Baum to join the firm and assist with its growth.

Nearly three decades later, the firm enjoys an excellent national reputation with a broad
range of national and local clients involving insolvency, bankruptcy and litigation. The
roster includes automotive suppliers, hospitals, health care facilities, auto dealerships,
gaming entities and real estate developers.

Mr. Baum has a reputation for unbridled creativity. He is known to both formulate and
implement answers and solutions in many challenging and difficult situations.

Balancing his toughness in a courtroom, Mr. Baum is well regarded as an expert in
workouts with superb negotiating skills. As counsel to debtors, trustees, unsecured
creditors’ committees and secured creditors, Mr. Baum has worked diligently and
consistently to obtain results beyond the expectations of clients. In addition to being a
contributing editor to the American Bankruptcy Institute Journal, Mr. Baum has also
published articles for the Michigan Real Property Review and the Michigan Practitioner Series.
He has also lectured in many seminars sponsored by numerous professional associations
including the ABI.

Mr. Baum has served on the Advisory Committee to the U.S. Bankruptcy Court for the
Eastern District of Michigan and currently serves as the chairperson of the Rules
Subcommittee. Additionally, Mr. Baum is the Co-Chair of the Mediation Panel of the U.S.
Bankruptcy Court for the Eastern District of Michigan.




19-56239-lsg     Doc 307     Filed 07/21/23    Entered 07/21/23 10:58:50      Page 141 of 171
                           ADMISSIONS & QUALIFICATIONS

State Bar of Michigan, 1978
U.S. District Court, Eastern District of Michigan, 1980
U.S. District Court, Western District of Michigan, 1980
U.S. Court of Appeals, Sixth Circuit, 1990
U.S. Tax Court, 2001
U.S. Court of Appeals, Fourth Circuit, 2003
U.S. District Court, Southern District of Texas

                                        EDUCATION

Wayne State University, J.D., 1978
Beth Yehuda Rabbinical College, Ph.D., 1976
Wayne State University, B.S., Computer Science with Distinction, 1974

                                       PUBLICATIONS

Unpaid FICA in Chapter 11: Navigating the Minefield, 38 Mich. Bus. L.J. (official publication of the
State Bar of Michigan), Spring 2018

Leading Corporate Turnaround How Leaders Fix Troubled Companies By: Stuart Slatter,
David Lovett and Laura Barlow, Reviewed by: Contributing Editor Michael E. Baum, Esq.,
American Bankruptcy Institute Journal, July, 2013


Distress to Success: A Survival Handbook for Struggling Business and Buyers of Distressed
Opportunities By: Bobby Guy, Reviewed by: Contributing Editor, Michael E. Baum, Esq., American
Bankruptcy Institute Journal, February, 2012

Cybernotice: The Next Frontier in Court Efficiency, Written by: Contributing Editor Michael E.
Baum, Esq., American Bankruptcy Institute Journal, July/August, 2004


Schafer, Baum & McWhorter, Michigan Practitioner’s Series: Family Law and Practice, Divorce
and Bankruptcy Law, Chp. 9, West. Pub. 1997

Author, Bankruptcy v Assignment of Rents: A Case to be Decided, 19 Mich Real Prop Rev 7, 1992

                              PROFESSIONAL MEMBERSHIPS

Rules Advisory Committee to the U.S. Bankruptcy Court – E.D. (Mich.), Co-Chairperson

American Bankruptcy Institute; Former Contributing Editor

American Bar Association Sections on Business Law, General Practice, Litigation
19-56239-lsg Doc 307 Filed 07/21/23 Entered 07/21/23 10:58:50 Page 142 of 171
Mediation Panel, U.S. Bankruptcy Court, Eastern District of Michigan, Co-Chairperson

State Bar of Michigan Sections on Business Law, Real Property, Bankruptcy, Debtor/Creditor
Rights Committee

Wayne State University Law School Moot Court Board; Director of Oral Advocacy, 1978

                                  OTHER DISTINCTIONS

Certified Specialist, Business Bankruptcy Law, American Board of Certification.

Foreign Languages: Hebrew and Bankruptcy

Selected for inclusion in the Leading Lawyers Magazine (2014-2018), a recognized peer-review
publication in the legal profession

Selected for inclusion in the Michigan Super Lawyers® list, a peer review survey that selects the
top 5% of attorneys (2007-2021)

Received the Martindale-Hubbell Peer and Judiciary Review “AV Preeminent” Rating for
Legal Ability and Ethical Standards (2004-2021)

Adjunct Professor at University of Detroit – School of Business
Strategic and Legal Bankruptcy Course
September through December 2012

                                          SEMINARS

CBA Event: The Business of Being in the Business (of Bankruptcy)
September 20, 2012, Peking House, Royal Oak, Michigan

3rd Annual Consumer Bankruptcy Institute
Individual Chapter 11 Cases: A How-To Guide
May 11, 2012, The Inn at St. John’s, Plymouth, Michigan

U.S. Bankruptcy Court Mediation Training
U.S. Bankruptcy Court, Eastern District of Michigan
November 19, 2010

2009 Detroit Consumer Bankruptcy Conference at a Glance
The Special Challenges of High-Income Debtors
(including the Means Test and Individual Chapter 11 Cases)
November 11, 2009




19-56239-lsg     Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50      Page 143 of 171
                                 Joseph K. Grekin, Partner
                                 40950 Woodward Avenue, Suite 100
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                                 T: 248.540.3340
                                 F: 248.971.1525
                                 jgrekin@schaferandweiner.com


                                 PRACTICES

                                 Bankruptcy Law
                                 Business Litigation
                                 Commercial Law
                                 Debtor/Creditor Rights
                                 Receiverships


Joseph Grekin is an experienced litigator, negotiator and counselor, with expertise in
commercial, bankruptcy, receivership and general insolvency issues. Mr. Grekin
specializes in representing clients at a tactical or financial disadvantage, using creative
and novel methods and arguments to fight tenaciously and professionally to achieve
favorable results for his clients.

Mr. Grekin has represented businesses, individuals, and receivers for nearly twenty-five
years in state, federal, bankruptcy, appellate and administrative courts in several states.
He has extensive experience managing large and complex files, including commercial
and bankruptcy litigation, bankruptcy issues, and receivership practice relating to tens
of millions of dollars.

In particular, Mr. Grekin has been a cutting-edge advocate in the field of
debtor/creditor issues in the litigation context, and has successfully advocated for his
clients in several published cases on a wide variety of issues. He has extensive trial
experience on commercial and insolvency issues, which makes him an able negotiator
and advisor not just in litigation, but in other commercial and bankruptcy venues as
well, from business formation to insolvency counseling. Mr. Grekin is a member of the
National Association of Federal Equity Receivers.

                           ADMISSIONS & QUALIFICATIONS

State Bar of Michigan, 1995

U.S. District Court, Eastern District of Michigan, 1996

19-56239-lsg     Doc 307      Filed 07/21/23   Entered 07/21/23 10:58:50   Page 144 of 171
U.S. District Court, Western District of Michigan, 2004

U.S. Court of Appeals, Sixth Circuit, 1996

U.S. Court of Appeals, Second Circuit, 2018


                                       EDUCATION

University of Michigan Law School, J.D., cum laude, 1994
University of Michigan, B.A., with honors and high distinction, 1991



                                        SEMINARS

May 2021, presenter at Oakland County Bar Association, We Can Work It Out: Receiverships In
The Age Of Covid-19 And Beyond

August 2019, presenter for Detroit Bar Association, Receiverships Racing Forward – What’s
Around the Next Curve?

July 2018, moderated panel at NAFER Offshore Insolvency and Asset Recovery Conference in
Chicago on cross-border insolvency and comparisons between Chapter 11 bankruptcies and
Cayman insolvency proceedings

April 2018, presenter at Oakland County Bar Association, Seeking Injunctive and Other Equitable
Relief in Business Court

November 2016, presenter at Oakland County Bar Association, Cutting Edge Topics in
Fraudulent Transfer Law

On-Demand Webcast, 2015 - ICLE Presentation – Handling Contract Disputes

October 2013, presenter, Schafer and Weiner, PLLC, What They Don’t Tell You – The Secrets to
Being a Great Expert Witness

May 2010, presenter at Mega Conference, The Michigan Association of Certified Public
Accountants, Helping the Fox Count the Hens – A CPA’s Role in Chapter 11

November 2009, presenter at Mega Conference, The Michigan Association of Certified Public
Accountants’ Financial Planning and Advanced Federal Tax Conference, Tax Issues with
Bankruptcy

2001-02, guest lecturer, Pennsylvania State University, The Art of Rhetoric and Argument



19-56239-lsg     Doc 307     Filed 07/21/23   Entered 07/21/23 10:58:50       Page 145 of 171
                                        PUBLICATIONS

Co-author, Commercial Real Estate Receivership, 38 Mich. Bus. L.J. 3 (official publication of the
State Bar of Michigan), Fall 2018

Co-author, Applying Claim Preclusion in Michigan: A Call for Clarity, 36 Mich. Bus. L.J. 1 (official
publication of the State Bar of Michigan), Spring 2016

Co-author, Think You Know the Common Interest Privilege? Guess Again!, 36 Mich. Bus. L.J. 1
(official publication of the State Bar of Michigan), Spring 2016

Co-author, Expert Witnesses in Bankruptcy: Avoiding a Trap for the Unwary, 34 Mich. Bus. L.J. 2
(official publication of the State Bar of Michigan), Summer 2014


                                        PUBLISHED CASES

Simon v. ASIMCO Techs., Inc. (In re Am. Camshaft Specialties, Inc.), 410 B.R. 765 (2009)


Delta Engineered Plastics, LLC v Autolign Mfg. Group, Inc, 286 Mich App 155; 777 NW2d 502
(2009)

Mayco Plastics, Inc. v. TRW Vehicle Safety Sys., Inc. (In re Mayco Plastics, Inc.), 389 B.R. 7 (Bankr.
E.D. Mich. 2008)

Stocker v Tri-Mount/Bay Harbor Bldg. Co., Inc., 268 Mich App 194; 706 NW 2d 878 (2005)

Guzzo v Thompson, 393 F.3d 652 (6th Cir. 2004)

Bradacs v Jiacobone, 244 Mich 263; 625 NW 2d 108 (2001)

Bartell v Lohiser, 25 F.3d 550 (6th Cir. 2000)

Chmielewski v Xermac, Inc. 457 Mich 593; 580 NW 2d 817 (1998)


                                 REPRESENTATIVE MATTERS

Obtained jury verdict in excess of $1.35 million against client’s treasurer on the basis of
conversion and fraud despite limited documentation due to efforts by treasurer, who
controlled the books of the company, to conceal his actions.

Defended appraiser in lawsuit seeking over $1,000,000 in damages in federal court based on
allegations of fraud, breach of fiduciary duty, conversion and conspiracy; the Court dismissed
the case without a trial based on Mr. Grekin’s motion.

Represented single-asset real estate Chapter 11 debtor in proceeding to determine whether the
debtor’s plan of reorganization was feasible, prevailed in evidentiary hearing despite debtor’s
 19-56239-lsg Doc 307 Filed 07/21/23 Entered 07/21/23 10:58:50 Page 146 of 171
inability as of the date of the hearing to make payments to the lender going forward as
required by the Bankruptcy Code, and assisted in obtaining subsequent favorable settlement
with lender.

Counsel for federal equity receiver over operating manufacturer with $20 million in annual
gross sales, advised on continuance of operations, marketing, sales, and prosecution of
potential claims.

Defense of real estate developers in multiple actions by lenders based on guaranties and
promissory notes, negotiated settlements reducing debt by over $10 million without
permitting any collection proceedings against clients.

Counsel to a large pension trust fund in the foreclosure of a $10 million resort development in
northern Michigan, successfully defending against counterclaims alleging lender liability and
establishing priority of the trust’s mortgage over multiple construction liens.

Brought adversary proceeding as special counsel to Chapter 7 trustee against corporate parent
of bankrupt automotive supplier based on preferences, fraudulent transfers and substantive
consolidation which resulted in a seven-figure settlement and the likely distribution to all
unsecured creditors of 100 cents on the dollar for all approved claims.

In an action on behalf of a toolmaker which contracted with a now bankrupt tier two
automotive supplier to build tools for a tier one supplier, where typical mold builder lien
claims were potentially defective, brought action against tier one automotive supplier based
on novel agency theory; settled for about 60 cents on the dollar.

Represented Chapter 7 trustee in various matters related to the liquidation of the assets of a
nursing home, including but not limited to the evaluation of and drafting objections to claims,
and providing counsel regarding complex adversary proceeding prosecuted by special
counsel.

Represented business owner in preparing and filing a Chapter 7 bankruptcy proceeding,
successfully negotiated settlement with the Chapter 7 trustee in which business owner was
able to retain ownership of business, which provided business owner with employment and
salary, all while discharging substantial unsecured debts.

Defended prominent local businessman in lawsuit brought by lender based on alleged
defaults under loan documents, brought counterclaim against lender for conversion of
cashier’s checks, and negotiated settlement whereby client received payment from lender.


                             PROFESSIONAL MEMBERSHIPS


American Bar Association
National Association of Federal Equity Receivers
Oakland County Bar Association
19-56239-lsg     Doc 307    Filed 07/21/23    Entered 07/21/23 10:58:50     Page 147 of 171
State Bar of Michigan
State Court Civil Mediator



                                 OTHER DISTINCTIONS

Chairman of the Debtor/Creditor Committee, which received the Award for the Committee of
the Year 2017 from the Oakland County Bar Association (2014-2017)

Received the Martindale-Hubbell Peer Review "AV Preeminent" Rating for Ethical Standards
and Legal Ability (2014, 2017)

Selected for inclusion in Top Lawyers in Metro Detroit by D Business (2011, 2013)

Selected for inclusion in the Michigan Super Lawyers® list, a peer review survey that selects the
top 5% of attorneys (2011, 2014-2017)

Former Member Board of Directors, Motor City Brass Band

Former Member, Ferndale Chamber of Commerce

Former Member, Continuing Legal Education Committee of the Oakland County Bar
Association

Former Volunteer, Farmington Downtown Development Authority

Volunteer judge for the University of Michigan First Year Moot Court Competition

                                        INTERESTS

Music

Mr. Grekin performed in hundreds of venues as a trombone player for several musical groups,
primarily in the Metro Detroit area. Mr. Grekin was honored to participate in the following
musical groups, among others:

The Motor City Brass Band
The Klezmaniacs
The Michigan Alumni Pep Band
The Michigan Basketball Band
The Michigan Marching Band

Running and Fitness

Mr. Grekin has competed in and finished three half–marathons and dozens of 10k races in the
Metro Detroit area, most recently the 10k at the 40th annual Dexter-Ann Arbor Run. Mr.
Grekin has also biked through several European countries, primarily with his gorgeous wife.
19-56239-lsg Doc 307 Filed 07/21/23 Entered 07/21/23 10:58:50 Page 148 of 171
Motto

“Let your plans be dark and impenetrable as night, and when you move, fall like a
thunderbolt.”

Sun Tzu, The Art of War




19-56239-lsg    Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 149 of 171
                                  John J. Stockdale, Jr., Partner
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                                  Bloomfield Hills, Michigan 48304
                                  T: 248.540.3340
                                  F: 248.282.2157
                                  JStockdale@schaferandweiner.com


                                  PRACTICES
                                  Bankruptcy
                                  Business and Transaction Law
                                  Commercial Litigation
                                  Debtor/Creditor Law
                                  Real Estate


John J. Stockdale, Jr. practices in the areas of bankruptcy, debtor/creditor, real estate,
business transactions and related litigation. John has represented clients in business and
personal bankruptcies, buy and sell side business and commercial transactions and
workouts; real estate transactions and foreclosures; and debt collection and defense. John
has represented clients in a variety of industries including, without limitation, building
trades, food service, and retail.

John focuses his practice on small and mid-size businesses. He understands and has special
insight into the issues affecting those businesses because, for the twelve (12) years prior to
joining Schafer and Weiner, he owned and operated a publishing company providing
business valuation and lost profits case law reports to attorneys and accountants. John is a
member of the American Bankruptcy Institute and a member of Michigan State Bar,
Business Law Section.

                           ADMISSIONS & QUALIFICATIONS

State Bar of Michigan, 2008
U.S. District Court, Eastern District of Michigan, 2008
U.S. District Court, Western District of Michigan, 2012
U.S. Sixth Circuit Court of Appeals, 2020
John has also been admitted pro hac vice in courts across the United States including South
Carolina, Iowa, Texas, and California.




19-56239-lsg     Doc 307      Filed 07/21/23   Entered 07/21/23 10:58:50      Page 150 of 171
                                        EDUCATION

Thomas M. Cooley Law School, J.D., summa cum laude, 2008
The Citadel, the Military College of South Carolina, B.A., 1992


                                         SEMINARS

John is an adjunct professor at Western Michigan University’s Thomas M. Cooley Law School,
where he teaches secured transactions.

Additionally, John presented on the following topics at the United States Bankruptcy Court for
the Eastern District of Michigan, Southern Division’s Chapter 11 Roundtable on November 4,
2016: (1) filing requirements when a debtor owns a subsidiary or affiliated business (FRBP
2015.3 and Form 26); (2) investing debtor-owned funds (11 U.S.C. 345); and (3) the effect of
listing “unknown” on a debtor’s schedules.

John has presented to the Michigan Association of Certified Public Accountants on recent
court decisions involving business valuation and damage calculations. Most recently, John
was a panelist at the Michigan Association of Certified Public Accountants’ Anti-Fraud,
Litigation & Business Valuation, and Mergers & Acquisitions Conference in Livonia, Michigan
on May 24, 2016. John presented on the topic of Skepticism from Audits, to Forensics, to
Valuation, which discussed an accounting expert’s application of skepticism concepts in
business valuation and bankruptcy matters.



                                      PUBLICATIONS

Unpaid FICA in Chapter 11: Navigating the Minefield, 38 Michigan Business Law Journal (Spring
2018)

Applying Claim Preclusion in Michigan: A Call for Clarity, 36 Michigan Business Law Journal 1
(Spring 2016)

In re Till: Efficient Markets and the Prime-Plus Formula in ‘Cram-Down’ Interest Rate Cases, The
Value Examiner, January/February, 2013

Analyzing a Professional’s Personal Goodwill under Chapter 7 of the Bankruptcy Code: Just Whose
Asset Is It? BVR’s Guide to Personal v Enterprise Goodwill (BVR 2010)

Temple v United States: More Negative Treatment for the Quantitative Marketability Discount
Model, Michigan Tax Lawyer, State Bar of Michigan, Fall, 2006




19-56239-lsg     Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50       Page 151 of 171
                                        REPORTED CASES

United States v. Central Processing Services, LLC (In re Central Processing Services, LLC), 2020 U.S.
Dist. Lexis 49387 (E.D. Mich. 2020)

United States v. Central Processing Services (In re Central Processing Services, LLC), 2020 U.S. Dist.
Lexis 171061 (E.D. Mich. 2020)

United States v. Central Processing Services (In re Central Processing Services, LLC), 2020 U.S. Dist.
Lexis 171260 (E.D. Mich. 2020)

In re Central Processing Services, LLC, 611 B.R. 563 (Bankr. E.D. Mich. 2019)

In re Central Processing Services, LLC, 606 B.R. 710 (Bankr. E.D. Mich. 2019)

In re Central Processing Services, LLC, 607 B.R. 625 (Bankr. E.D. Mich. 2019)

DPT Holdings, LLC v. VLF Auto., 2019 Mich. Cir. Lexis 824 (Oakland County Circuit Court)

SKG International, Inc. v. SKG Italia, S.p.A., et al, 2017 U.S. Dist. Lexis 100647 (E.D. Mich. 2017)

In re St. James Nursing & Physical Rehab. Ctr., Inc., 559 B.R. 186 (Bankr. E.D. Mich. 2016)

In re Associated Community Services, Inc., 520 B.R. 650 (Bankr. E.D. Mich. 2014)

RC Leasing v. Viking Medical Supply, 2014 Mich. Cir. Lexis 105 (Oakland County Circuit Court)

In re D & W, Ltd., LLC, 467 B.R. 427 (Bankr. E.D. Mich. 2012)


                                 REPRESENTATIVE MATTERS

Chapter 11 Bankruptcies


In re Authentiki, LLC, et al. (Bankr. W.D. Mich. 2020) (Counsel for Debtors), John represented
the debtors in these Subchapter V, Chapter 11 Cases and through the Coronavirus Pandemic.
As a result of John’s efforts, the Debtors confirmed a consensual plan of reorganization that
substantively consolidated the Debtors and provided an approximately 52% distribution to the
unsecured creditors while maintaining 52 jobs in a boutique, tiki-themed, Grand Rapids
restaurant.

In re Inspired Concepts, LLC (Bankr. E.D. Mich. 2020) (Counsel for Unsecured Creditors
Committee), John represented the unsecured creditors committee in this chapter 11 case




19-56239-lsg      Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50         Page 152 of 171
involving twelve restaurants throughout Michigan. As a result of John’s efforts, the unsecured
creditors distribution increased from zero to ten percent on a junior secured basis.

In re Dream Big Restaurants, LLC (Bankr. D. S.C. 2019) (Counsel for Debtor), John represented
the Debtor in this chapter 11 case involving the sale of eight McDonald’s franchises in
Greenville and Greer, South Carolina through a confirmed plan of liquidation. As a result of
John’s efforts, equity avoid nearly $10 million personal guaranty liability related to the
franchise agreement, bank debt, and merchant cash advances.

In re Central Processing Services, LLC (Bankr. E.D. Mich. 2019) (counsel for Debtor), John
represented the Debtor in this dismissed chapter 11 case involving a mail fulfillment business
servicing the charitable fundraising industry. This case involved significant federal tax issues
and generated six written opinions favorable to the Debtor.

In re BCDG, LP (Bankr. S.D. Iowa 2016) (Counsel for Unsecured Creditors Committee), John
represented the unsecured creditors committee in this chapter 11 case involving the quick
sale of six McDonalds franchises in Des Moines, Iowa. First, John successfully negotiated a
$170,000 contribution to the unsecured creditors from the purchaser of the franchises. Then,
John negotiated with the various creditor consistencies to craft and confirm a consensual
plan of liquidation that brought in an additional $183,000 from the senior secured lender
and reduced the claim pool from $12 million to $4.1 million. John’s efforts ensured that the
unsecured creditors received a meaningful distribution where the debtor did not
contemplate any distribution to the unsecured creditors in this bankruptcy case.

In re St. James Nursing & Physical Rehab. Ctr., Inc. (Bankr. E.D. Mich. 2016) (Counsel for
Debtor), John successfully represented the debtor throughout the chapter 11 reorganization
case of this nursing home through a contested confirmation hearing involving nine
objections to confirmation.

In re Associated Community Services, Inc. (Bankr. E.D. Mich. 2014) (Counsel for Debtor) John
represented a telephone call center having more than 800 employees throughout the
chapter 11 process from preparing first day motions through confirmation of a plan of
reorganization. This case involved significant corporate restructuring including relocating
the business operations during the bankruptcy case. Additionally, the case involved
millions of alleged unpaid withholding tax liabilities which were successfully negotiated to
permit secured and priority tax payments to exceed the five-year maximum set by the
bankruptcy code. Moreover, John successfully opposed a class action claim reducing the
unsecured creditors pool by $10,000,000.

In re Electric Transportation Engineering Corporation (Bankr. D. Ariz. 2014) (Counsel for
Unsecured Creditors Committee) John assisted the committee by providing advice on the
intersection between securities law exemptions and exemptions from securities laws available
under the Bankruptcy Code. This advice was provided in connection with taking the debtor
private pursuant to a contemplated plan of reorganization.




19-56239-lsg     Doc 307    Filed 07/21/23    Entered 07/21/23 10:58:50      Page 153 of 171
In re Acme Acres (Bankr. E.D. Mich. 2013) (Counsel for Debtor) John represented four related
corporate debtors in these administratively consolidated chapter 11 cases. The debtors
sought bankruptcy to resolve $1 million in pension fund withdrawal and contribution
claims asserted by the Central States Southeast and Southwest Pension Fund arising after
the debtors’ collective bargaining agreement expired. Prior to filing, John negotiated the
terms of the plan of reorganizations with the debtors’ secured lender, which was
memorialized in a plan support agreement. After extensive litigation with the Pension
Fund, including an evidentiary hearing on confirmation of the plan of reorganization, the
debtors’ plan of reorganization was confirmed that provided a 13% payment to the Pension
Fund.

Transactional Matters


Debt Restructure Transaction. During 2019, John assisted a small investment company
restructure its debtor-party store’s indebtedness. This matter involved the structuring,
drafting, and closing (i) a redemption of stock held by the investment company in the party
store and (ii) a release and exchange of collateral supporting the investment company’s loan to
the party store’s affiliate.

Business Sale. During 2019, John represented a retiring fifty-percent member of an injection
molding business, which serviced the automotive sector, sell his business interest, together
with an interest in a related land holding company, to a strategic purchaser.

Member Unit Option Award. During 2018, John represented a spirits manufacturer with
awarding a minority interest in the business to the second generation, which managed the
retail and back office operations of the business. This engagement included substantially
revising the business’s limited liability company operating agreement and preparing a
member unit option agreement.

Negotiation of Stock Investment. During 2018, John represented a potential investor into a
software developer. During this engagement, John negotiated a stock subscription agreement,
shareholder agreement, and warrant on behalf of the investor. The transaction did not close
when the investor’s due diligence was unsatisfactory.

Article 9 Acquisition of Auto Supplier. During 2018, John represented a private equity firm with
acquiring the assets of a failing auto supplier. John analyzed various options to complete the
proposed acquisition where the debtor-entity was cash poor and beset with judgment
creditors. The acquisition of the business assets was accomplished under Article 9 of the
Uniform Commercial Code, which allowed the senior lender to quickly foreclose upon and sell
the auto supplier’s assets to the private equity firm free and clear of junior liens. Additionally,
John assisted with the private equity firm’s purchase of the auto supplier’s real estate through
a special purpose entity and its acquisition of the underlying bank debt through a separate
special purpose entity.




19-56239-lsg     Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50       Page 154 of 171
Business Debt and Industrial Property. During 2018, John assisted a real estate developer with
the acquisition and sale of industrial real estate in Grand Rapids, Michigan. This engagement
included, among other things, the formation of a single purpose acquisition entity, the
purchase of a distressed loan and mortgage from a national bank, structuring and drafting
loan and participation agreements to fund the note acquisition, and the preparation of a
litigation strategy to obtain on the real estate. After exerting strategic pressure on the owners,
John prepared, and the parties executed, a deed in lieu of foreclosure agreement transferring
the industrial property to the acquisition vehicle. Shortly thereafter, John assisted the real
estate developer sell the industrial real property at a significant profit.

Commercial Real Estate: John assisted the seller successfully close the sale of commercial
property in Howell, Michigan in 2017.

Vacant Land. John assisted a non-profit purchaser acquire vacant land in Stockbridge,
Michigan from a municipality in 2017.

Article 9 Sale of Truck Body Business: During late-2016, John assisted an aluminum truck-body
manufacturer with analyzing various insolvency-related exit strategies. When management
identified a purchaser, John worked with lender’s counsel and purchaser’s counsel to structure
a transaction that could be closed quickly while minimizing the purchaser’s exposure as a
successor. As a result, the business was sold to the purchaser in a sale under Article 9 of the
Uniform Commercial Code, whereby a debtor’s assets are surrendered to the lender, who then
sells them to the purchaser. Since the sale, the business has dissolved under state law.

Business Sale: During 2016, John assisted the seller of a deli-meat distributor to sell part of his
business. This engagement involved the negotiation and drafting of purchase documents and
seller financing documents.

Negotiation of Employment and Member Option Agreements. During 2015, John assisted a
distressed oilfield company negotiate the sale of its business to special purpose vehicle owned
by private equity. The transaction included negotiation of former equity’s employment
agreement including related member unit options in the acquirer as well as negotiation of the
acquirer’s LLC operating agreement.

                                   OTHER DISTINCTIONS

Selected for inclusion in the Michigan Super Lawyers® list (2019-2020)

Selected for inclusion in the Rising Stars℠ list (2009-2018)
Certificates of Merit – Thomas M. Cooley Law School, Bankruptcy, Business Organizations,
Property I and II, Taxation, Criminal Law, Civil Procedure I and II, Wills Estates & Trusts,
Tax of Business Entities, Torts I and II, and Securities Regulation

President’s Achievement Award, 2008




19-56239-lsg     Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50       Page 155 of 171
Recipient: Association of Corporate Counsel Scholarship, 2008
Edward H. Rakow Award in Business and Securities Law, Eastern District of Michigan
Federal Bar Association, 2007

Associate Editor, Thomas M. Cooley Law Review
Distinguished Student Award, 2007


                                        INTERESTS

In his spare time, John enjoys fishing, table-top gaming and finding and restoring antiques
and automobiles.




19-56239-lsg     Doc 307    Filed 07/21/23   Entered 07/21/23 10:58:50     Page 156 of 171
                                      Kim K. Hillary, Partner
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                                      Bloomfield Hills, Michigan 48304
                                      T: 248.540.3340
                                      F: 248.282.2155
                                      KHillary@schaferandweiner.com


                                      PRACTICES

                                      Bankruptcy Litigation
                                      Bankruptcy Reorganization
                                      Commercial Law
                                      Commercial Litigation




Ms. Hillary has been assisting debtors and creditors to minimize the disruption and negative
impact of debtor insolvencies and to resolve commercial disputes for more than 15 years.
Her experience and expertise allow her to formulate creative solutions for seemingly hopeless
situations in order to drastically improve outcomes for her clients.

In addition to representing clients as a negotiator and litigator in a variety of commercial
disputes, Ms. Hillary has represented small business and individual debtors in bankruptcies,
lender workouts and out-of-court restructurings. Her Chapter 11 bankruptcy practice
includes negotiating debtor financing and cash collateral orders, plans of reorganization, and
the representation of Unsecured Creditor’s Committees. She has also represented both
debtors and creditors in all aspects of lender workouts, including negotiating and
restructuring troubled debt, drafting forbearance agreements, complex loan agreements and
documenting secured transactions.

                                        ADMISSIONS

State Bar of Michigan, 2004

U.S. District Court, Eastern District of Michigan, 2004

U.S. District Court, Western District of Michigan, 2007




19-56239-lsg    Doc 307       Filed 07/21/23   Entered 07/21/23 10:58:50    Page 157 of 171
                                  REPRESENTATIVE CASES

Beskrone v. Employee Health Ins. Mgmt., Inc. (In re Affirmative Ins. Holdings, Inc.), Case,
No. 18-50296 (Bankr. D. Del. 2018) (lead counsel for defendant) (preference action
successfully defended)

Collins v. Deshikachar (In re Deshikachar) (6th Cir. 2016) (co-lead counsel for amicus curiae,
Mediation Panel of Bankr. E.D. Mich.) (debtor’s appeal of order enforcing settlement
agreement reached in mediation)

Cosby v. Baltrip (In re Baltrip) (Bankr. E.D. Mich. 2015) (lead bankruptcy counsel for
wrongful death claimant) (two-year adversary proceeding for nondischargeability litigated
to successful settlement)

Continental Surfaces of Pittsburgh, LLC (Bankr. W.D. Pa. 2015) (lead counsel for committee)
(chapter 11 case converted to chapter 7)

In re Purtell (Bankr. E.D. Mich. 2015) (lead counsel for debtors) (chapter 11 for individual
debtors with overwhelming tax debt)

Bay City Shovels, Inc. (Bankr. E.D. Mich. 2014) (lead counsel for debtor) (chapter 11 for
manufacturer of catapults for aircraft carriers for the Department of Defense)

                                       PUBLICATIONS

Turning Back The Hands Of Time With Chapter 11 Bankruptcy, Washtenaw County Bar
Association, 48 Res Ipsa Loquitur 2, January 2019

We’re From Bankruptcy And We REALLY Are Here To Help, Washtenaw County Bar Association,
47 Res Ipsa Loquitur 1, January/February 2018

Co-author, Unforgiven No Longer: Ninth Circuit BAP Authorizes Discharge of Old Tax Debt from
Untimely Returns, 35 Am. Bankr. Inst. J. 7, July 2016 (cover story).

The Absence of Adverse Domination Statutes is Leaving an Exploitable Void in Corporate Law,
Washtenaw County Bar Association, 46 Res Ipsa Loquitur 3, May/June 2016

Think You Know the Common Interest Privilege? Guess Again!, 36 Mich. Bus. L.J. 1 (official
publication of the State Bar of Michigan), Spring 2016

Applying Claim Preclusion in Michigan: A Call for Clarity, 36 Mich. Bus. L.J. 1 (official publication
of the State Bar of Michigan), Spring 2016

Hey Bank, Say it Ain't So!, Washtenaw County Bar Association, 45 Res Ipsa Loquitur 5,
September/October 2015



19-56239-lsg      Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50        Page 158 of 171
The Absolute Priority Rule Should Not Apply to Individual Chapter 11 Debtors, 12 ABI Committee
News - Bankruptcy Litigation Committee 21, July 2015

The Shell Game: Not a Game for Unwitting or Meek Creditors - Part II, Washtenaw County Bar
Association 45 Res Ipsa Loquitur 2, March 2015

The Shell Game: Not a Game for Unwitting or Meek Creditors - Part I, Washtenaw County Bar
Association 45 Res Ipsa Loquitur 2, January 2015

A California ABC Can Spell Trouble for Midwestern Creditors, Washtenaw County Bar Association
44 Res Ipsa Loquitur 6, November 2014

Co-author, Expert Witnesses in Bankruptcy: Avoiding a Trap for the Unwary, 34 Mich. Bus. L.J. 2
(official publication of the State Bar of Michigan), September 2014

Co-author, When the New Sheriff Comes to Town: Michigan's Emergency Manager
Law, Turnaround Management Association, Journal of Corporate Renewal 16, June 2014

The Golden Age in Michigan's Homestead Exemption, Washtenaw County Bar Association 44 Res
Ipsa Loquitur 3, May/June 2014

Section 547(c)(2)'s Industry Standard--In the Eighth Circuit, Whose Industry Is It?, 11 ABI
Committee News - Unsecured Trade Creditors Committee 5, December 2013

In the Sixth Circuit, Landlords Beware!, 10 ABI Committee News - Real Estate Committee 4,
December 2013

                               PROFESSIONAL MEMBERSHIPS

American Bankruptcy Institute
Downriver Bar Association
Flint Bay City Bankruptcy Association
Grand Valley State University Seidman College of Business Advisory Panel for Southeastern
Michigan

Michigan State University College of Law Alumni Association Board of Directors
Northeast Michigan Bankruptcy Bar Association
State of Michigan Bar Association
Washtenaw County Bar Association
Wayne State University Wayne Biz Corporate Mentor Program




19-56239-lsg      Doc 307     Filed 07/21/23     Entered 07/21/23 10:58:50        Page 159 of 171
                                   PRIOR EXPERIENCE

Law Clerk to Bankruptcy Judge Walter Shapero, E.D. Mich. – Detroit, 2012

Law Clerk to Bankruptcy Judge Daniel S. Opperman, E.D. Mich. – Bay City/Flint, 2011-
2012

Law Clerk to Bankruptcy Judge Thomas J. Tucker, E.D. Mich. – Detroit, 2010-2011

Law Clerk to Chief Bankruptcy Judge Phillip J. Shefferly, E.D. Mich. – Detroit, 2010-2011

Bankruptcy Attorney for Trott & Trott, PC – Farmington Hills, 2009-2010

Extern to Bankruptcy Judge Walter Shapero, E.D. Mich. – Detroit, 2008

Extern to Chapter 13 Trustee Carl L. Bekofske – Flint, 2007A



                                  HONORS & AWARDS

NCBJ Next Generation Program, Member

Glenn A. Niemeyer Award, Recipient




19-56239-lsg     Doc 307    Filed 07/21/23    Entered 07/21/23 10:58:50      Page 160 of 171
                                  Brandi M. Blasses, Associate
                                  40950 Woodward Avenue, Suite 100
                                  Bloomfield Hills, Michigan 48304
                                  T: 248.540.3340
                                  F: 248.971.1575
                                  bdobbs@schaferandweiner.com


                                  PRACTICES
                                  Bankruptcy Law
                                  Business Litigation
                                  Commercial Law
                                  Debtor/Creditor Rights
                                  Receiverships



Brandi focuses her practice on bankruptcy and restructuring, along with related
debtor/creditor litigation. She successfully counsels and advises individuals and
businesses on intricate issues under the Bankruptcy Code, Uniform Commercial Code,
Uniform Voidable Transactions Act, and Fair Debt Collection Practices Act. Brandi has
a great feel for litigation and uses her litigation skills to leverage great outcomes for her
clients.

Brandi graduated from the University of Michigan Law School where she was a member
of the Michigan Journal of Law Reform, the Michigan Mock Trial Team, and the Veterans
Clinic. She holds a Bachelor of Science in Paralegal Studies from the University of Toledo.

Brandi also taught a bankruptcy course entitled, Bankruptcy and Consumer Protection, at
the University of Toledo


                           ADMISSIONS & QUALIFICATIONS

State Bar of Michigan, 2019
U.S. District Court, Eastern District of Michigan, 2019




19-56239-lsg     Doc 307      Filed 07/21/23   Entered 07/21/23 10:58:50     Page 161 of 171
                                      EDUCATION


University of Michigan Law School, J.D., cum laude, 2019
University of Toledo, 2016


                             PROFESSIONAL MEMBERSHIPS

State Bar of Michigan
Detroit Bar Association
American Bankruptcy Institute


                                OTHER DISTINCTIONS


Board Member, Turnaround Management Association
Board Member, Barrister’s Section of Detroit Bar Association
Board Member, University of Toledo Advisory Board


                                       INTERESTS

In her free time, Brandi enjoys martial arts, hiking and baking




19-56239-lsg     Doc 307     Filed 07/21/23   Entered 07/21/23 10:58:50   Page 162 of 171
                          EXHIBIT

                                           7




19-56239-lsg
 {00595473.1}
                Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 163 of 171
  SUMMARY OF COSTS AND EXPENSES INCURRED BY APPLICANT


 EXPENSE                                                                       AMOUNT
 Copies (0.20 cents/page)                                                         164.60
 Court Reporter                                                                     76.50
 Federal Express                                                                    74.43
 Postage                                                                            86.25
 Research – PACER/LEXIS                                                          2,373.95
 UCC                                                                                 6.00
 Total                                                                          $2,781.73




  {01007767.2}                                                                  Exhibit 7
19-56239-lsg      Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 164 of 171
          Additional Charges :

1/29/2021 $Postage
                                                                                                    6.60
          Service of Complaint

2/28/2021 $Research
                                                                                               131.81
          Lexis Nexis

3/15/2021 $EXP
                                                                                                    6.00
          UCC Search

3/31/2021 $EXP
                                                                                               453.63
          Pacer

6/22/2021 $Court Reporter
                                                                                                76.50
          Transcript of Hearing on Zeidman's Motion to Dismiss

6/30/2021 $Research
                                                                                                10.10
          Pacer




    19-56239-lsg        Doc 307   Filed 07/21/23      Entered 07/21/23 10:58:50   Page 165 of 171
                                                                                       Page      101
                                                                                              Amount

 7/1/2021 SResearch
                                                                                              191.90
          Lexis Nexis

7/31/2021 SResearch
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          Lexis Nexis

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   19-56239-lsg         Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 166 of 171
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   19-56239-lsg      Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 167 of 171
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10/31/2021 SResearch
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           Lexis Nexis

11/30/2021 SResearch
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    19-56239-lsg         Doc 307   Filed 07/21/23   Entered 07/21/23 10:58:50   Page 168 of 171
                                                                                                   Page     104
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11/30/2021 $Research
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           Pacer

           $Research
                                                                                                           14.41
           Lexis Nexis

  1/1/2022 $Research
                                                                                                          393.25
           Lexis Nexis

 1/19/2022 $Copies (.20)
                                                                                                            4.00
           Zeidman"s responses to Discovery

           $Copies (.20)
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           ZeidmarT's responses to Discovery

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           Zeidman"s responses to Discovery

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           Zeidman"s responses to Discovery

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           Zeidman"s Discovery Response

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                                                                                                            3.30
           Pacer


           $Research
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           Lexis Nexis

 2/2/2022 $FederalExpress
                                                                                                           38.38

2/16/2022 $Postage
                                                                                                            2.56
          Serve Request to Admit, Interrogatories and Requests to Produce re: motion for adverse
          inference

2/18/2022 $FederalExpress
                                                                                                           36.05

2/28/2022 $Research
                                                                                                           26.93
          Lexis Nexis




    19-56239-lsg         Doc 307   Filed 07/21/23     Entered 07/21/23 10:58:50         Page 169 of 171
                                                                                                 Page      105
                                                                                                        Amount

 3/8/2022 $Postage
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          Serve 2nd and 3rd Discovery Requests to Defendants

3/31/2022 ^Research
                                                                                                        348.61
          Lexis Nexis

          $Research
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          Pacer

4/30/2022 $Research
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          Pacer

5/31/2022 $Research
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6/30/2022 $Research
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 7/1/2022 $Research
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          Lexis Nexis

          $ Research
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4/10/2023 $Postage
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          Mailing of Notice to Compromise

4/13/2023 $Postage
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         Motion to restrict public access of information to Joseph DuMouchelle Fine & Estate
         Jewelers

 5/1/2023 $Research
                                                                                                           8.40
         Pacer




   19-56239-lsg         Doc 307   Filed 07/21/23      Entered 07/21/23 10:58:50          Page 170 of 171
                                                                                         Page      106
                                                                                                Amount
7/19/2023 $Copies (.20)
                                                                                                 21.20
          Service of Notice Re: S & W's and Accountant's Fee Application

          $ Postage
                                                                                                 33.39
          Service of Notice Re: S & W's and Accountant's Fee Application


          Total costs
                                                                                            $2,781.73




   19-56239-lsg         Doc 307   Filed 07/21/23     Entered 07/21/23 10:58:50   Page 171 of 171
